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Exhibit A

Plan

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:

ENERGY FUTURE HoLDINGs CoRP., et alj

Debtors.

 

\./\/\/\/\/V\/

Chapter 11
Case No. 14-10979 (CSS)

(Jointly Administered)

THIRD AMENDED JOINT PLAN OF REORGANIZATION
OF ENERGY FUTURE HOLDINGS CORP., ETAL.,
PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 

KIRKLAND & ELLIS LLP
601 Lexington Avenue

NeW York, NeW York 10022
Telephone: (212) 446-4800
Facsimile: (212) 446-4900
__and__

300 North LaSalle

Chicago, Illinois 60654
Telephone: (312) 862-2000
Facsimile: (312) 862-2200

Counsel to the Debtors and Debtors in Possession
--and--

PROSKAUER ROSE LLP
Three First National Plaza

70 W. Madison Street, Suite 3800
Chicago, lllinois 60602
Telephone: (312) 962-3550
Facsimile: (312) 962-3551

Co-Counsel to the Debtor Energy Future Holdings Corp.

--and--

 

RICHARDS, LAYTON & FINGER, P.A.
920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

BIELLI & KLAUDER, LLC
1204 North King Street
Wilmington, Delaware 19801
Telephone: (302) 803-4600
Facsimile: (302) 397-2557

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://Www.efhcaseinfo.com.

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CRAVATH, SWAINE AND MOORE LLP
Worldwide Plaza

825 Eighth Avenue

New York, New York 10019

Telephone: (212) 474- 1978

Facsimile: (212) 474-3700

JENNER & BLOCK LLP
919 Third Avenue

NeW Yorl<, NeW York 10022
Telephone: (212) 891- 1600
Facsimile: (212) 891-1699

Co-Counsel to the Debtor Energy Future Intermediate
Holding Company LLC

__and__
MUNGER, TOLLES & OLSON LLP
355 South Grand Avenue, 35th Floor
Los Angeles, Califomia 90071
Telephone: (213) 683-9100

Facsimile: (213) 683-4022

Co-Counsel to the TCEH Debtors

Dated: August 23, 2016

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STEVENS & LEE, P.C.

1105 North Market Street, Suite 700
Wilmington, Delaware 19801
Telephone: (302) 425-3310
Facsimile: (610) 371-7927

MCELROY, DEUTSCH, MULVANEY
& CARPENTER, LLP

300 Delaware Avenue, Suite 770
Wilmington, Delaware 19801

Telephone: (302) 300-4515

Facsimile: (302) 654-4031

 

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INTRODUCTION

The Debtors (as defined herein) propose this third amended joint plan of reorganization (the “Bla_n”) for the
resolution of the outstanding claims against, and interests in, the Debtors pursuant to the Bankruptcy Code.
Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to them in Article I.A of
the Plan. Holders of Claims and Interests should refer to the Disclosure Statement for a discussion of the Debtors’
history, businesses, assets, results of operations, historical financial information, events during the Chapter 11 Cases,
and projections of future operations, as Well as a summary and description of the Plan and certain related matters.
The Disclosure Statement also contains a summary and description prepared by the EFH/EFIH Plan Supporters of
the Plan and certain related matters. The Debtors are the proponents of the Plan within the meaning of section 1129
of the Bankruptcy Code. The Chapter 11 Cases have been consolidated for procedural purposes only and are being
jointly administered pursuant to an order of the Bankruptcy Court. Accordingly, the Plan constitutes a separate plan
of reorganization for each of the Debtors. For the avoidance of doubt and notwithstanding anything herein to the
contrary, the Plan may be continued and consummated as to each of the TCEH Debtors and EFH Shared Services
Debtors separate from, and independent of, confirmation and/or consummation of the Plan as to any of the EFH
Debtors or EFIH Debtors.

ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
PLAN ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

ARTICLE I.
DEFINED TERMS, RULES OF INTERPRETATION,
COMPUTATION OF TIME, AND GOVERNING LAW

A. Dejl`ned Terms.
As used in the Plan, capitalized terms have the meanings set forth below.
1. “2005 Oncor Transfer” means those certain 2005 transactions pursuant to which the equity of
Oncor’s predecessor, TXU Electric Delivery Company LLC, was dividended from EFCH’s predecessor, TXU US
Holdings Company, to EFH Corp.’s predecessor, TXU Corp.
2. “2007 Acquisition” means the transactions that occurred in October 2007 in which TEF and Texas
Holdings and their direct and indirect equity holders became the direct and indirect equity holders of each of the

Debtors.

3. “20]] Amena' and Extend Transaclions” means those certain transactions effectuated by TCEH
and EFCH in April 2011, including the TCEH Credit Amendment and the issuance of the TCEH First Lien Notes.

4. “2013 Revolver Extension” means those certain transactions effectuated by TCEH and EFCH in
Ianuary 2013, including the maturity extension of revolving credit commitments due 2013, the Incremental

Amendment Agreement, and the incurrence of the TCEH 2012 Incremental Term Loans.

5. “2015 Compensation Order” means the order entered by the Bankruptcy Court on December 17,
2014 [D.I. 3052], authorizing the Debtors to implement the Debtors’ 2015 compensation programs.

6. “2016 Compensation Ora’er” means the order entered by the Bankruptcy Court on February 18,
2016 [D.I. 7883] authorizing the Debtors to implement the Debtors’ 2016 compensation programs.

7. “503(b)(9) Claim” means a Claim or any portion thereof entitled to administrative expense priority
pursuant to section 503(b)(9) of the Bankruptcy Code.

8. “Aa’a’itional Interest” means additional interest payable on the EFIH First Lien Notes, the EFIH
Second Lien Notes, or the EFIH Unsecured Notes, as applicable, under the registration rights agreements

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associated with such notes so long as EFIH has not registered such notes in accordance with the Securities Act, on
the terms set forth in such registration rights agreements

9. “Aajusled Company Cash Amount” means the “Adjusted Company Cash Amount” as defined in
the Merger Agreement.
10. “Administrative Claim” means a Claim for costs and expenses of administration of the Estates

under sections 503(b) (including 503(b)(9) Claims), 507(b), or 1114(e)(2) of the Bankruptcy Code, other than DIP
Claims, including: (a) the actual and necessary costs and expenses incurred after the Petition Date through the
Effective Date of preserving the applicable Estates and operating the businesses of the Debtors; (b) Allowed
Professional Fee Claims; (c) all fees and charges assessed against the Estates under chapter 123 of title 28 of the
United States Code, 28 U.S.C. §§ 1911~1930; and (d) all Intercompany Claims authorized pursuant to the Cash
Management Order.

11. “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which: (a) with respect to General Administrative Claims, shall be 30 days after the
Effective Date; and (b) with respect to Professional Fee Claims, shall be 45 days after the Effective Date.

12. “Ajj'iliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

13. “Allowed” means With respect to any Claim or Interest, except as otherwise provided herein: (a) a
Claim or lnterest as to which no objection has been Filed prior to the Claims Objection Deadline and that is
evidenced by a Proof of Claim or Interest, as applicable, timely Filed by the applicable Bar Date or that is not
required to be evidenced by a Filed Proof of Claim or Interest, as applicable, under the Plan, the Bankruptcy Code,
or a Final Order; (b) a Claim or Interest that is scheduled by the Debtors as neither disputed, contingent, nor
unliquidated, and as for which no Proof of Claim or lnterest, as applicable, has been timely Filed in an unliquidated
or a different arnount; or (c) a Claim or Interest that is upheld or otherwise allowed (i) pursuant to the Plan, (ii) in
any stipulation that is approved by the Bankruptcy Court, (iii) pursuant to any contract, instrument, indenture, or
other agreement entered into or assumed in connection herewith, or (iv) by Final Order (including any such Claim
to which the Debtors had objected or which the Bankruptcy Court had disallowed prior to such Final Order);
provided, however, that unless otherwise expressly specified in the Plan, the consummation of the Plan and the
occurrence of the Effective Date is not intended to impair the right of any Holder or any of the Indenture Trustees
to prosecute an appeal from, or otherwise petition for review of, any order or judgment of the Bankruptcy Court (or
any other court of competent jurisdiction) disallowing any Claim; provided, further, for the avoidance of doubt, all
parties reserve all rights in connection with any such appeal or petition, including (a) the right of any of the
Reorganized Debtors to move for the dismissal of any such appeal or petition on grounds of equitable mootness or
any other prudential basis and (b) the right of any Holder or any of the Indenture Trustees to oppose any such
motion on any grounds, including on grounds that the relief sought in the appeal or petition is contemplated by or
provided for under the Plan. Except as otherwise specified in the Plan or any Final Order, the amount of an
Allowed Claim shall not include interest or other charges on such Claim nom and after the Petition Date.
Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section 502(d) of the
Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount that it owes such
Debtor or Reorganized Debtor, as applicable.

14. “Amended and Restated Split Participant Agreement” means that certain Amended and Restated
Split Participant Agreement, by and among Oncor Electric, Reorganized TCEH, and OpCo, to be entered into on or
before the TCEH Effective Date, which shall govern the rights and obligations of each party thereto with respect to
certain employment matters, which shall be in form and substance acceptable to the Debtors, the TCEH Supporting
First Lien Creditors, and the Plan Sponsor, and which shall be included in the Plan Supplement.

15. “Approval Order” means the order (which may be the TCEH Confirmation Order), which shall (a)
be in form and substance acceptable to the Debtors and the TCEH Supporting First Lien Creditors, and the Plan
Sponsor, (b) authorize and direct EFH Corp., EFIH, and Reorganized TCEH (and, in the case of the Tax Matters
Agreement, EFIH Finance) to enter into (i) the Tax Matters Agreement, (ii) the Transition Services Agreement, if
any, (iii) the Amended and Restated Split Participant Agreement, and (iv) the Separation Agreement; and (c)
contain terms and conditions consistent with each of the agreements in the foregoing clause (b).

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16. “Assumed Executory Contract or Unexpired Lease” means any EFH/EF]H Assumed Executory
Contract or Unexpired Lease or any TCEH Assumed Executory Contract or Unexpired Lease.

17. “Assumed Executory Contract and Unexpired Lease List” means, as applicable, the EFH/EFIH
Assumed Executory Contract and Unexpired Lease List or the TCEH Assumed Executory Contract and Unexpired
Lease List.

18. “AST&T’ means American Stock Transfer & Trust Company, LLC.

19. “Auditor” means the “Auditor” as defined in, and designated to conduct the Post-Closing Audit in
accordance with, the Merger Agreement.

20. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as amended
from time to time.

21. “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware
having jurisdiction over the Chapter 11 Cases or any other court having jurisdiction over the Chapter 11 Cases,
including, to the extent of the Withdrawal of any reference under 28 U.S.C. § 157, the United States District Court
for the District of Delaware.

22. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

23. “Bar Date” means the applicable date established by the Bankruptcy Court by which respective
Proofs of Claims and Interests must be Filed.

24. “Basis Step- Up” means the net increase in the aggregate U.S. federal income tax basis of the assets
transferred or deemed transferred to the Preferred Stock Entity pursuant to the Spin-Off Preferred Stock Sale equal
to the aggregate utilized amount of the net losses, net operating losses, and net capital losses (but only to the extent
such net capital losses are deductible under applicable tax law against gain recognized on the Spin-Off Preferred
Stock Sale) (in each case, including carryovers) available to the EFH Group as of the TCEH Effective Date
(deterrnined (a) as if the “consolidated year” (within the meaning of Section 1503(e)(2)(B) of the Intemal Revenue
Code) of the EFH Group ended on the TCEH Effective Date, and (b) without regard to any income, gain, loss or
deduction generated as a result of the Spin-Off Preferred Stock Sale or transactions occurring outside the ordinary
course of business on the TCEH Effective Date after the Spin-Off Preferred Stock Sale (other than any Deferred
Intercompany and ELA Items (if any) and other transactions expressly contemplated by the Plan, any plan support
agreement, or any definitive documentation related thereto)), such amount to be determined in accordance with the
relevant procedures under the Plan Support Agreement, as modified consistent with the Tax Matters Agreement;
provided however, that any such Basis Step-Up shall not exceed the built-in gain in the assets subject to the Spin-
Off Preferred Stock Sale.

25 . “BNY” means, collectively: (a) BNYM; and (b) BNYMTC.
26. “BNYM” means The Bank of New York Mellon.

27. “BNYMTC” means The Bank of New York Mellon Trust Company, N.A.

28. “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).
29. “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items

in legal tender of the U.S., less the amount of any outstanding checks or transfers at such time.

30. “Cash Collateral Order” means the Final Order (A) Authorizing Use of Cash Collateralfor Texas
Competitive Electric Holdings Company LLC and Certain of its Debtor Afjl`liates, (B) Granting Adequate

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Protection, and (C) Modlfving the Automatic Stay [D.I. 855], as further amended, modified, and supplemented
from time to time, including D.I. 5922 and D.I. 5923.

31. “Cash Management Order” means the Final Order (A) Authorizing the Debtors to (I) Continue
Usl`ng T heir Existing Cash Management System, (II) Maintain Existing Bank Accounts and Business Forms, and
(III) Continue Usl'ng Certain Investment Accounts; (B) Authorizing Continued Intercompany Transactions and
Nettz`ng of Intercompany Claims; and (C) Granting Postpetition Intercompany Claims Administrative Expense
Priority [D.I. 801].

32. “Causes ofAction” means any claims, interests, damages, remedies, causes of action, demands,
rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens,
indemnities, guaranties, and franchises of any kind or character whatsoever, whether known or unknown, foreseen
or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated, secured or
unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort,
law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or otherwise contest
Claims or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy
Code; and (d) such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in
section 558 of the Bankruptcy Code.

33. “Chapter 11 Cases” means, collectively: (a) when used with reference to a particular Debtor, the
case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and (b) when used
with reference to all the Debtors, the procedurally consolidated and jointly administered chapter 11 cases pending
for the Debtors in the Bankruptcy Court.

34. “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

35. “Clal'ms and Noticing Agent” means Epiq Bankruptcy Solutions, LLC, retained as the Debtors’
notice and claims agent pursuant to the Order Approving the Retention and Appointment of Epiq Bankruptcy
Solutions as the Claims and NoticingAgent for the Debtors [D.I. 321],

36. “Claims Objection Deadline” means the later of: (a) the date that is 180 days after the Effective
Date; and (b) such other date as may be fixed by the Bankruptcy Court, after notice and hearing, upon a motion

Filed before the expiration of the deadline to object to Claims or Interests.

37. “Claims Register” means the official register of Claims maintained by the Claims and Noticing
Agent.

38. “Class” means a category of Claims or Interests as set forth in Article III of the Plan.
39. “CM/ECF’ means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

40. “Collective Pro]?zssional Fee Claims” means Professional Fee Claims incurred by a Professional
for the collective benefit of two or more of TCEH, EFH Corp., and EFIH.

41. “Committees” means, collectively: (a) the TCEH Committee; and (b) the EFH/EFIH Committee.

42. “Company Disclosure Letter” means “Company Disclosure Letter” as such term is defined in the
Merger Agreement.
43. “Competitive Tax Sharing Agreement” means that certain Federal and State Income Tax

Allocation Agreement Among the Members of the Energy Future Holdings Corp. Consolidated Group (as amended
and restated from time to time), dated May 15, 2012, by and among EFH Corp. and certain of its direct and indirect
subsidiaries

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44. “Computershare Trust” means, collectively: (a) Computershare Trust Company, N.A.; and (b)
Computershare Trust Company of Canada.

45. “Conjl`rmalion” means the entry of the EFH Confirmation Order and/or the TCEH Confirmation
Order, as applicable, on the docket of the Chapter 11 Cases.

46. “Confirmation Date” means EFH Confirmation Date and/or the TCEH Confirmation Date, as
applicable.
47. “Conj'l`rmation Hearing” means the one or more hearings held by the Bankruptcy Court to

consider Confirmation of the Plan as to one or more Debtors pursuant to section 1129 of the Bankruptcy Code.

48. “Con]irmation Order” means the EFH Confirmation Order and/or the TCEH Confirmation Order,
as applicable. The Confirmation Order may be comprised of one or more orders entered by the Bankruptcy Court.

49. “Conjlict Matters” means for each of EFH Corp., EFIH, and EFCH/TCEH, as defined in the
respective resolutions of the applicable Board of Directors or Board of Managers dated November 7, 2014 and
December 9, 2014 including the determination of whether any matter constitutes a “Conflict Matter.”

50. “Consummation” means the occurrence of the EFH Effective Date and/or the TCEH Effective
Date, as applicable.

51. “Contributed TCEH Debtors” means those one or more TCEH Debtors mutually agreed on by
EFH Corp. and the TCEH Supporting First Lien Creditors whose equity will be contributed by Reorganized TCEH
to the Preferred Stock Entity in the Spin-OffPreferred Stock Sale, if any.

52. “Conlributl`on” means, as part of the Spin-Off, immediately following the cancelation of Claims
against the TCEH Debtors, the transfer to Reorganized TCEH by TCEH and the EFH Debtors of their applicable
portion of the TCEH Assets, in exchange for the consideration described in Article IV.B.2 of the Plan.

53. “Cure Claim” means a Claim based upon the Debtors’ defaults on an Executory Contract or
Unexpired Lease at the time such Executory Contract or Unexpired Lease is assumed by the Debtors pursuant to
section 365 of the Bankruptcy Code.

54. “Dealer Managers” means the dealer managers under that certain dealer manager agreement
approved under the EFIH First Lien Approval Order.

55. “Debtor” means one of the Debtors, in its individual capacity as a debtor and debtor in possession
in its respective Chapter 11 Case. As used herein, the term “Debtor” shall refer to the TCEH Debtors when
referencing the plan of reorganization of the TCEH Debtors, shall refer to the EFH Debtors when referencing the
plan of reorganization of the EFH Debtors, shall refer to the EFIH Debtors when referencing the plan of
reorganization of the EFIH Debtors, and shall refer to the EFH Shared Services Debtors when referencing the plan
of reorganization of the EFH Shared Services Debtors.

56. “Debtor Intercompany Claim” means a Claim by any Debtor against any other Debtor.

57. “Debtors” means, collectively: (a) the TCEH Debtors; (b) the EFIH Debtors; (c) the EFH
Debtors; and (d) the EFH Shared Services Debtors. As used herein, the term “Debtors” shall refer to the TCEH
Debtors when referencing the plan of reorganization of the TCEH Debtors, shall refer to the EFH Debtors when
referencing the plan of reorganization of the EFH Debtors, shall refer to the EFIH Debtors when referencing the
plan of reorganization of the EFIH Debtors, and shall refer to the EFH Shared Services Debtors When referencing
the plan of reorganization of the EFH Shared Services Debtors.

58. “Deferred Intercompany and ELA Ilems” means intercompany items (as such term is defined in
Treasury Regulations Section l.1502-13(b)(2)) or any excess loss account (as such term is defined in Treasury

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Regulations Section 1.1502-19(a)), in each case, of any subsidiary of TCEH (other than TCEH Finance) that are
accelerated into income as a result of the Distribution pursuant to Treasury Regulations Section 1.1502-13(d) or
Section 1.1502-19.

59. “DIP Agenls” means, collectively: (a) the TCEH DIP Agent; and (b) the EFIH First Lien DIP
Agent.

60. “DIP Agreements” means, collectively: (a) the TCEH DIP Credit Agreement; and (b) the EFIH
First Lien DIP Credit Agreement.

61. “DIP Claims” means, collectively: (a) the TCEH DIP Claims; and (b) the EFIH First Lien DIP
Claims.

62. “DIP Facilities” means, collectively: (a) the TCEH DIP Facility; (b) the EFIH First Lien DIP
Facility; and (c) the Refinanced TCEH DIP Facility.

63. “DIP Lenders” means the DIP Agents, the TCEH DIP L/C Issuers, the banks, financial
institutions, and other lenders party to the DIP Facilities from time to time, and each arranger, bookrunner,
syndication agent, manager, and documentation agent under the DIP Facilities; provided, however, that as used in
definition of “Released Parties” and Releasing Parties,” the definition of DIP Lenders shall include Citibank, N.A.,
in its capacity as administrative and collateral agent under the Refinanced TCEH DIP Facility, and such letter of
credit issuers, banks, financial institutions, and other lenders party to such facility from time to time, and each other
arranger, bookrunner, syndication agent, manager, and documentation agent under the Refinanced TCEH DIP
Facility.

64. “DIP Orders” means, collectively: (a) the TCEH DIP Order; and (b) the EFIH First Lien Final
DIP Order.

65 . “Direct Professional Fee Claims” means Professional Fee Claims incurred by a Professional for
the benefit of only one of the following: (a) the EFH Debtors; (b) the EF]H Debtors; or (c) the TCEH Debtors.

66. “Disallowed Makewhole Claim” means a Makewhole Claim as to which the Bankruptcy Court has
entered an order disallowing the Claim, and such order has not been stayed or reversed or remanded on appeal as of
the EFH Effective Date.

67. “Disbursing Agent” means the Reorganized Debtors or the Entity or Entities authorized to make or
facilitate distributions under the Plan as selected by the Debtors or the Reorganized Debtors, as applicable, in
consultation with the Plan Sponsor and the TCEH Supporting First Lien Creditors, provided that (a) the EFH Notes
Trustee shall be the Disbursing Agent for Classes A4, A5, A6, and B5; and (b) the EFIH Unsecured Notes Trustee
shall be the Disbursing Agent for distributions to Holders of EFIH Unsecured Note Claims.

68. “Disclosure Statement” means, as applicable, the TCEH Disclosure Statement and/or the EFH
Disclosure Statement.

69. “Disclosure Statement Order” means, as applicable, the TCEH Disclosure Statement Order and/or
the EFH Disclosure Statement Order.

70. “Disinterested Directors and Managers” means the disinterested directors and managers of EFH
Corp., EFIH, and EFCH/TCEH.
71. “Disinterested Directors Settlement” means the settlement negotiated by and among the

Disinterested Directors and Managers regarding Debtor Intercompany Claims set forth in the Initial Plan.

72. “Disputed” means with regard to any Claim or Interest, a Claim or Interest that is not yet Allowed.

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73. “Distribution” means, as part of the Spin-Off, and following the Contribution and the Reorganized
TCEH Conversion, distribution of (a) the Reorganized TCEH Common Stock; (b) the net Cash proceeds of the
New Reorganized TCEH Debt (or at the TCEH Supporting First Lien Creditors’ election, all or a portion of such
New Reorganized TCEH Debt) and the Spin-Off Preferred Stock Sale, if any, (c) the Spin-Off TRA Rights (if any);
and (d) proceeds from the TCEH Settlement Claim, if determined as of the TCEH Effective Date, and to the extent
not determined as of the TCEH Effective Date, the right to receive recoveries under the TCEH Settlement Claim;
provided, that following the TCEH Effective Date, Reorganized TCEH will nominally hold the right to receive
recoveries under the TCEH Settlement Claim but the Holders of` Allowed TCEH First Lien Secured Claims will
hold all legal and equitable entitlement to receive recoveries under the TCEH Settlement Claim, in the case of
clauses (a), (b), and (c) above, received in the Contribution to Holders of Allowed TCEH First Lien Secured
Claims.

74. “Distribution Date” means the Effective Date and any Periodic Distribution Date thereafter.

75. “Distribution Record Date” means other than with respect to any publicly-held securities, the
record date for purposes of making distributions under the Plan on account of Allowed Claims and Allowed
Interests (other than DlP Claims), which date shall be the date that is five (5) Business Days after the Confirmation
Date, as applicable, or such other date as designated in an order of the Bankruptcy Court; provided, however, that
the Distribution Record Date for all Holders of EFH Unexchanged Note Claims, EFH Legacy Note Claims, and
EFH LBO Note Claims shall be [_], 2016; provided further, however, that the Distribution Record Date for the
Holders of Allowed Class C3 Claims shall be the date that is five (5) Business Days after the TCEH Confirmation
Date, or such other date as designated in an order of the Bankruptcy Court, regardless of whether distributions on
account of such Claims are made on the TCEH Effective Date or the EFH Effective Date,

76. “DTC’ means the Depository Trust Company.

77. “EFCH” means Energy Future Competitive Holdings Company LLC, a Delaware limited liability
company.

78. “EFCH 2037 Note Claim” means any Claim derived from or based upon the EFCH 2037 Notes.
79. “EFCH 2037 Note Indenture” means that certain Indenture, as amended or supplemented from

time to time, dated December 1, 1995, by and between EFCH, successor to TXU US Holdings Company, as issuer,
and the EFCH 2037 Notes Trustee.

80. “EFCH 2037 Notes” means, collectively: (a) the EFCH Fixed 2037 Notes; and (b) the EFCH
Floating 2037 Notes.

81. “EFCH 2037 Notes Trustee” means BNYMTC, or any successor thereto, as trustee under the
EFCH 2037 Note Indenture.

82. “EFCH Fixed 2037 Notes” means the 8.175% fixed rate notes due January 30, 2037, issued by
EFCH pursuant to the EFCH 2037 Note Indenture.

83. “EFCH Floating 2037 Notes” means the 1.245% floating rate notes due January 30, 2037, issued
by EFCH pursuant to the EFCH 2037 Note Indenture.

84. “Eyj"ective Date” means the EFH Effective Date and/or the TCEH Effective Date, as applicable
with respect to any particular Debtor.

85. “Ejfective Dates” means, collectively: (a) the EFH Effective Date; and (b) the TCEH Effective
Date,

86. “EFH 2019 Note Indenture” means that certain Indenture, as amended or supplemented from time
to time, dated November 16, 2009, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

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87 . “EFH 2019 Notes” means the 9.75% unsecured notes due October 15, 2019, issued by EFH Corp.
pursuant to the EFH 2019 Note Indenture.

88. “EFH 2020 Note Indenture” means that certain Indenture, as amended or supplemented from time
to time, dated January 12, 2010, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

89. “EFH 2020 Notes” means the 10.0% unsecured notes due January 15, 2020, issued by EFH Corp.
pursuant to the EFH 2020 Note Indenture.

90. “EFH Beneficiary Claims” means, collectively: (a) the Allowed EFH Non-Qualified Benefit
Claims; (b) the Allowed EFH Unexchanged Note Claims; and (c) the Allowed General Unsecured Claims Against
EFH Corp.; provided, however, that any of the foregoing Claims shall cease to constitute EFH Beneficiary Claims
if the Class comprised of such Claims fails to accept or fails to reject the Plan consistent with the Voting Indication
(as such term is defined in the EFH/EFIH Committee Settlement), if any.

91. “EFH Committee Settlement Escrow” means an escrow account in an amount equal to
$9,450,000.00, which shall be funded from and reduce the TCEH Cash Payment dollar for dollar; provided that
such escrow account shall provide that distributions from such account shall be made jirst to Reorganized TCEH in
an amount equal to the EFH Committee Settlement Payment Amount, and second, to the extent the EFH
Committee Settlement Escrow Amount exceeds the EFH Committee Settlement Payment Amount, such excess
amounts shall be distributed in a manner consistent with the distribution of the TCEH Cash Payment in accordance
With Article III.B.30 and HI.B.31 of the Plan.

92. “EFH Committee Settlement Payment Amount” means an amount equal to 25% of the TCEH
Settlement Claim Turnover Distributions.

93. “EFH Confirmation Date” means the date upon which the Bankruptcy Court enters the EFH
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and
9021.

94. “EFH Confirmation Order” means one or more orders of the Bankruptcy Court confirming the
Plan with respect to one or more EFH Debtors or EFIH Debtors pursuant to section 1129 of the Bankruptcy Code.
The EFH Confirmation Order shall be reasonably acceptable to the EFIH DIP Agents and acceptable to the Plan
Sponsor.

95. “EFH Corp.” means Energy Future Holdings Corp., a Texas corporation.

96. “EFH Corp. Claims” means, collectively: (a) the Allowed EFH Legacy Note Claims; (b) the
Allowed EFH Swap Claims; (c) the Allowed EFH LBO Note Primary Claims; (d) the Allowed TCEH Settlement
Claim; (e) the Allowed EFH Non-Qualified Benefit Claims; (f) the Allowed EFH Unexchanged Note Claims; (g)
the Allowed General Unsecured Claims Against EFH Corp.; (h) the Allowed General Unsecured Claims Against
EFH Debtors Other Than EFH Corp; and (i) the Allowed Tex-La Guaranty Claims; provided, however, that if the
Holders of Allowed EFH LBO Note Primary Claims receive a recovery on account of their Allowed Class B5 EFH
LBO Note Guaranty Claims, the Allowed EFH LBO Note Primary Claims shall not be included in this definition of
EFH Corp. Claims; provided further, however, that if the Holders of Allowed Tex-La Guaranty Claims receive full
recovery on account of their Allowed Class C1 Other Secured Claims Against the TCEH Debtors, the Allowed
Tex-La Guaranty Claims shall not be included in this definition of EFH Corp. Claims.

97. “EFH Corporate Services” means EFH Corporate Services Company, a Texas corporation.

98. “EFH Creditor Recovery Pool” means, collectively: (i) the Reorganized EFH Class A Common
Stock as set forth in Article IV.B.9 of the Plan, which shall, at the Merger Closing, convert to the right to receive
the NextEra Class A Common Stock Investrnent in accordance with the Merger Agreement; and (ii) any Cash
remaining in the EFH/EFIH Distribution Account after payment in full of (a) Allowed Claims against EFIH
Debtors and (b) Allowed Administrative Claims and Allowed Priority Claims against the EFH Debtors; provided,

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however, that the Holders of Allowed EFH Non-Qualified Benefit Claims shall receive Cash instead of NextEra
Class A Common Stock on account of their Claims (including any TCEH Settlement Claim Turnover Distributions
distributed to such Holders of EFH Non-Qualified Benefit Claims); provided jiirther, however, that (x) the amount
of the NextEra Class A Common Stock Investment shall be reduced proportionately on account of such Cash
payment and (y) to the extent necessary to satisfy the continuity of interest requirement, the amount of Cash in the
EFH/EFIH Distribution Account, with respect to the EFIH Unsecured Creditor Cash Recovery Pool, shall be
reduced by reducing the Merger Sub Cash Amount by such amount, with a corresponding equal increase in the
amount of the NextEra Class B Common Stock Investment or NextEra Class A Common Stock Investrnent,
determined consistently with the provisions of Article IV.B.9 of the Plan and Section 1.12 of the Merger
Agreement; provided firther, however, that the amount of Cash in the EFH Creditor Recovery Pool shall be
limited to the amount of Cash that can be distributed to Holders of Claims against EFH Corp. while satisfying the
continuity of interest requirements under section 368 and 355 of the Intemal Revenue Code; provided further,
however, that if there is a determination in advance of the EFH Effective Date that there is a reasonable risk that the
amount of Cash in the EFH Creditor Recovery Pool would prevent the satisfaction of the continuity of interest
requirement, a reduction to the Merger Sub Cash Amount, with a corresponding increase to the NextEra Class A
Common Stock Investment and/or NextEra Class B Common Stock lnvestment, shall be made in an amount
determined consistently with Article IV.B.9 of the Plan and Section 1.12 of the Merger Agreement; provided
further, however, that to the extent the amount of Cash in the EFH Creditor Recovery Pool would nevertheless
cause a violation of the continuity of interest requirement (after accounting for the adjustments to the Merger Sub
Cash Amount and the NextEra Class A Common Stock Investment and/or NextEra Class B Common Stock
Investment), such Cash will not be included in the EFH Creditor Recovery Pool.

99. “EFH Debtor Intercompany Claim” means any Claim by an EFH Debtor against another EFH
Debtor.

100. “EFH Debtors” means, collectively: (a) EFH Corp.; (b) Ebasco Services of Canada Limited;
(c) EEC Holdings, Inc.; (d) EECI, Inc.; (e) EFH Australia (No. 2) Holdings Company; (f) EFH Finance (No. 2)
Holdings Company; (g) EFH FS Holdings Company; (h) EFH Renewables Company LLC; (i) Generation
Development Company LLC; (j) LSGT Gas Company LLC; (k) LSGT SACROC, Inc.; (l) NCA Development
Company LLC; and (m) TXU Receivables Company.

101. “EFH Disclosure Statement” means the Disclosure Statement for the Joint Plan of Reorganization
ofEnergy Future Holdings Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code with Respect to the EFH
Debtors and EFIH Debtors, dated [_], 2016 [D.I. _], including all exhibits and schedules thereto, as approved
pursuant to the Disclosure Statement Order.

102. “EFH Disclosure Statement Order” means the Order (A) Approving the EFH Disclosure
Statementy (B) Eslablishing the Voting Record Date, Voting Deadline, and Other Dales, (C) Approving Procedures
for Solicii‘ing, Receiving, and Tabulating Votes on the Plan and for Filing Objections to the Plan, and (D)
Approving the Manner and Forms ofNotice and Other Related Documents [D.I. k__“].

103. “EFH Effective Date” means, with respect to the Plan, the date after the EFH Confirmation Date
selected by (a) the EFH Debtors and EFlH Debtors, including, in the case of any Conflict Matter between any
Debtors, each Debtor acting at the direction of its respective Disinterested Director or Manager and without the
consent of any other Debtor and (b) the Plan Sponsor, on which: (i) no stay of the EFH Confirmation Order is in
effect; and (ii) all conditions precedent to the EFH Effective Date specified in Article IX.D have been satisfied or
waived (in accordance with Article IX.E).

104. “EFH/EFIH Assumed Executory Contracts and Unexpired Leases” means those Executory
Contracts and Unexpired Leases to be assumed by the Reorganized EFH and Reorganized EFIH, as set forth on the
EFH/EFIH Assumed Executory Contract and Unexpired Lease List.

105. “EFH/EFIHAsSumed Executory Contract and Unexpired Lease List” means the list of Executory
Contracts and Unexpired Leases to be assumed (with proposed cure amounts), as determined by the Plan Sponsor,
in its sole discretion, the form of which shall be included in the Plan Supplement; provided however, that
notwithstanding Article V.F. herein, the following contracts to the extent such contracts are executory contracts,

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shall be deemed assumed by Reorganized EFH and Reorganized EFIH, as applicable: (a) the Insurance Policies
that provide coverage to the TCEH Debtors or EFH Shared Services Debtors, (b) D&O Insurance Policies at EFH
Corp. for the benefit of current or former directors, managers, officers, and, employees, and (c) any D&O priority
agreement between EFH Corp. and the sponsoring institution of certain directors.

106. “EFH/EFIH Committee” means the statutory committee of unsecured creditors of EFH Corp.,
EFIH, EFIH Finance, and EECI, Inc., appointed in the Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code by the U.S. Trustee on October 27, 2014, the membership of which may be reconstituted from
time to time.

107. “EFH/EFIH Committee Settlement” means the Settlement & Support Agreement, dated as of
November 23, 2015, by and among EFH Corp., EFIH, EFIH Finance, EEC Holdings, Inc., EECI, Inc., LSGT Gas
Company LLC, LSGT SACROC, Inc., TCEH, the EFH/EFIH Committee, the EFH Notes Trustee, the TCEH
Supporting First Lien Creditors, the Original Plan Sponsors, and the TCEH Committee, as approved under the
EFH/EFIH Committee Settlement Order.

108. “EFH/EFIH Committee Settlement Order” means the Order Approving Settlement Among
Debtors, EFH Committee, EFH Notes Trustee, and Ceriain Other Parties [D.I. 7143], entered by the Bankruptcy
Court on November 25, 2015 .

109. “EFH/EFIH Committee Sianding Motion” means the Motion of the EFH Oj?cial Committee for
Entry of an Order Granting Derivative Standing and Authorily to Prosecute and Settle Claims on Behalf of the
Luminant Debtors’ Estates [D.I. 3605].

110. “EFH/EFIH Distribution Account” means one or more escrow accounts designated by EFH Corp.
prior to the EFH Effective Date to hold Cash to fund distributions under the Plan consisting of (a) the Merger Sub
Cash Amount, (b) the EFIH Second Lien Note Repayment Amount, (c) the Cash distributed to satisfy Allowed
EFH Non-Qualified Benefit Claims, and (d) the EFIH Unsecured Creditor Cash Recovery Pool, and (e) any other
amounts to be funded into the EFH/EFIH Distribution Account pursuant to the terms of the Plan or Merger
Agreement, which account shall be administered by the EFH Plan Administrator Board.

111. “EFH/EFIH Plan Supporters” means, collectively: (a) the Plan Sponsor; and, (b) excluding the
EFH Debtors and the EFIH Debtors, all other parties to the New EFH/EFIH Plan Support Agreement, if any.

112. “EFH/EFIH Rejected Executory Contract and Unexpired Lease List” means the list of Executory
Contracts and Unexpired Leases to be rejected, as determined by the Plan Sponsor, in its sole discretion, the form
of which shall be included in the Plan Supplement.

113. “EFH Group” means the “affiliated group” (within the meaning of Section 1504(a)(1) of the
Intemal Revenue Code), and any consolidated, combined, aggregate, or unitary group under state or local law, of
which EFH Corp. is the common parent.

114. “EFH LBO Note Claims” means, collectively: (a) the EFH LBO Note Primary Claims; and (b) the
EFH LBO Note Guaranty Claims.

115. “EFH LBO Note Guaranty Claim” means any Claim against EFlH derived from or based upon the
EFH LBO Notes.

116. “EFH LBO Note Indenture” means that certain Indenture, as amended or supplemented from time
to time, dated October 31, 2007, by and among EFH Corp., as issuer, EFCH and EFIH as guarantors, and the EFH
Notes Trustee.

117 . “EFH LBO Note Primary Claim” means any Claim against EFH Corp. derived from or based
upon the EFH LBO Notes.

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118. “EFH LBO Notes” means, collectively: (a) the EFH LBO Senior Notes; and (b) the EFH LBO
Toggle Notes.

119. “EFH LBO Senior Notes ” means the 10.875% senior notes due November 1, 2017, issued by EFH
Corp. pursuant to the EFH LBO Note Indenture,

120. “EFH LBO Toggle Notes” means the 11.25%/12.00% toggle notes due November 1, 2017, issued
by EFH Corp. pursuant to the EFH LBO Note Indenture.

121. “EFH Legacy Note Claims” means, collectively: (a) the EFH Legacy Series P Claims; (b) the
EFH Legacy Series Q Claims; and (c) the EFH Legacy Series R Claims.

122. “EFH Legacy Note Indentures” means, collectively: (a) the EFH Legacy Series P Indenture; (b)
the EFH Legacy Series Q Indenture; and (c) the EFH Legacy Series R Indenture,

123. “EFH Legacy Notes” means, collectively: (a) the EFH Legacy Series P Notes; (b) the EFH
Legacy Series Q Notes; and (c) the EFH Legacy Series R Notes.

124. “EFH Legacy Series P Claim” means any Claim derived from or based upon the EFH Legacy
Series P Notes, excluding any Claims derived from or based upon EFH Legacy Series P Notes held by EFIH (if
any).

125. “EFH Legacy Series P Indenture” means that certain Indenture, as amended or supplemented from
time to time, dated November 1, 2004, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

126. “EFH Legacy Series P Notes” means the 5.55% Series P Senior Notes due November 15, 2014,
issued by EFH Corp. pursuant to the EFH Legacy Series P Indenture and related officer’s certificate

127. “EFH Legacy Series Q Claim” means any Claim derived from or based upon the EFH Legacy
Series Q Notes, excluding any Claims derived from or based upon EFH Legacy Series Q Notes held by EFIH (if
any).

128. “EFH Legacy Series Q First Supplemental Indenture” means that certain Supplemental Indenture,
dated December 5, 2012, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

129. “EFH Legacy Series Q Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated November 1, 2004, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

130. “EFH Legacy Series Q Notes” means the 6.50% Series Q Senior Notes due November 15, 2024,
issued by EFH Corp. pursuant to the EFH Legacy Series Q Indenture and related officer’s certificate.

131. “EFH Legacy Series R Claim” means any Claim derived from or based upon the EFH Legacy
Series R Notes, excluding any Claims derived from or based upon EFH Legacy Series R Notes held by EFIH (if
any).

132. “EFH Legacy Series R First Supplemental Indenture” means that certain Supplemental Indenture,
dated December 5, 2012, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

133. “EFH Legacy Series R Indenture” means that certain Indenture, as amended or supplemented from
time to time, dated November 1, 2004, by and among EFH Corp., as issuer, and the EFH Notes Trustee.

134. “EFH Legacy Series R Notes” means the 6.55% Series R Senior Notes due November 15, 2034,
issued by EFH Corp. pursuant to the EFH Legacy Series R Indenture and related officer’s certificate

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135. “EFH Non-Debtors” means, collectively: (a) TXU Europe Limited; (b) TXU Eastern Finance (A)
Ltd; (c) TXU Eastern Finance (B) Ltd; (d) TXU Finance (No. 2) Limited; (e) TXU Eastem Funding Company; (f)
TXU Acquisitions Limited; (g) Humphreys & Glasgow Limited; (h) EFH Vermont Insurance Company; and
(i) any other non-U.S., non-Debtor Entities.

136. “EFH Non-Qualified Beneth Claim” means any Claim against the EFH Debtors derived from or
based upon an EFH Non-Qualified Benefit Plan,

137. “EFH Non~Qualijied Benefit Plan” means either: (a) a non-contributory, non-qualified pension
plan that provides retirement benefits to participants whose tax-qualified pension benefits are limited due to
restrictions under the Intemal Revenue Code and/or deferrals to other benefit programs; and/or (b) a contributory,
non-qualified defined contribution plan that permits participants to voluntarily defer a portion of their base salary
and/or annual incentive plan bonuses.

138. “EFH Note Indentures” means, collectively: (a) the EFH Legacy Note Indentures; (b) the EFH
LBO Note indenture; (c) the EFH 2019 Note Indenture; and (d) the EFH 2020 Note Indenture,

139. “EFHNotes Trustee” collectively means AST&T, in its capacity as successor trustee to BNYMTC
under the EFH Note Indentures.

140. “EFH Plan Administrator Boara”’ shall be a two-member board of directors comprised of current
disinterested directors of EFH Corp. and EFIH, which board shall be appointed on or after the TCEH Effective
Date by the Plan Sponsor and the EFH Debtors. and which board shall be tasked with directing the Disbursing
Agent with respect to Cash distributions made on account of Allowed Claims asserted against the EFH Debtors and
EFIH Debtors and shall not, for the avoidance of doubt, be authorized to direct the Disbursing Agent with respect
to any Cash distributions made on account of Allowed Claims asserted against the TCEH Debtors or EFH Shared
Services Debtors, if any.

141. “EFH Professional Fee Escrow Account” means an escrow account established and funded
pursuant to Article II.A.2(b) of the Plan for Professional Fee Claims allocated to the EFH Debtors or the
Reorganized EFH Debtors pursuant to pursuant to Article II.A.2(d) of the Plan.

142. “EFH Professional Fee Reserve Amount” means the total amount of Professional Fee Claims
estimated to be allocated to the EFH Debtors or the Reorganized EFH Debtors in accordance with Article II.A.Z(c)
of the Plan.

143. “EFH Series N Note Claim” means any Claim derived from or based upon the EFH Series N
Notes.

144. “EFH Series N Note Indenture” means that certain Indenture, as amended or supplemented from
time to time, dated July 3, 2003, by and among EFH Corp., as issuer, and the EFH Series N Trustee.

145 . “EFH Series N Notes” means the floating rate convertible notes due 2033 issued by EFH Corp.
pursuant to the EFH Series N Note Indenture,

146. “EFH Series N Notes Trustee” means BNYMTC, in its capacity under the EFH Series N Notes.

147. “EFH Shared Services Debtor Intercompany Claim” means any Claim by an EFH Shared Services
Debtor against another EFH Shared Services Debtor.

148. “EFH Shared Services Debtors” means, collectively: (a) EFH Corporate Services; (b) Dallas
Power and Light Company, Inc.; (c) EFH CG Holdings Company LP; (d) EFH CG Management Company LLC;
(e) Lone Star Energy Company, Inc.; (f) Lone Star Pipeline Company, Inc.; (g) Southwestem Electric Service
Company, Inc.; (h) Texas Electric Service Company, Inc.; (i) Texas Energy lndustries Company, Inc.; (j) Texas

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Power and Light Company, Inc.; (k) Texas Utilities Company, Inc.; (l) Texas Utilities Electric Company, Inc.; (m)
TXU Electric Company, Inc.; (n) Brighten Energy LLC; and (o) Brighten Holdings LLC.

149. “EFH Swap Claim” means any Claim against EFH Corp. derived from or based upon the EFH
Swaps.

150. “EFH Swaps” means those certain swaps entered into by EFH Corp. on an unsecured basis.

151. “EFH Unexchanged Note Claim” means any Claim derived from or based upon the EFH
Unexchanged Notes.

152. “EFH Unexchanged Notes” means, collectively: (a) the EFH 2019 Notes; and (b) the EFH 2020
Notes.

153. “EFIH” means Energy Future Intermediate Holding Company LLC, a Delaware limited liability
company.

154. “EFIH Debtor Intercompany Claim” means any Claim by an EFIH Debtor against another EFIH
Debtor.

155. “EFIHDebtors” means, collectively: (a) EFIH; and (b) EFIH Finance.

156. “EFIH DIP Secured Cash Management Banks” means the “Secured Cash Management Banks,” as
defrned in the EFIH First Lien Final DIP Order.

157. “EFIH DIP Secured Cash Management Obligations” means the “Secured Cash Management
Obligations,” as defined in the EFIH First Lien Final Dl`P Order.

158. “EFIH DIP Secured Hedge Banks” means the “Secured Hedge Banks,” as defined in the EFIH
First Lien Final DIP Order.

159. “EFIH DIP Secured Hedge Obligations” means the “Secured Hedge Obligations,” as defined in
the EFIH First Lien Final DIP Order.

160. “EFIHFinance” means EFIH Finance Inc., a Delaware corporation.

161. “EFIH First Lien 2017 Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated August 14, 2012, by and among the EFIH Debtors, as issuers, and the EFIH First Lien
Notes Trustee.

162. “EFIH First Lien 201 7 Notes” means the 6.875% senior secured notes due August 15, 2017,
issued by the EFIH Debtors pursuant to the EFIH First Lien 2017 Note Indenture.

163. “EFIH First Lien 2020 Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated August 17, 2010, by and among the EFIH Debtors, as issuers, and the EFIH First Lien
Notes Trustee.

164. “EFIH First Lien 2020 Notes” means the 10.0% senior secured notes due December 1, 2020,
issued by the EFIH Debtors pursuant to the EFIH First Lien 2020 Note Indenture.

165. “EFIH First Lien Approval Order” means the Order Approving EFIH First Lien Settlement
[D.I. 858].

166. “EFIH First Lien DIP Agent” means Deutsche Bank AG New York Branch, or its duly appointed
successor, in its capacity as administrative agent and collateral agent for the EFIH First Lien DIP Facility.

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167. “EFIH First Lien DIP Claim” means any Claim derived from or based upon the EFIH First Lien
DIP Credit Agreement or the EFIH First Lien Final DIP Order, including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, and other charges

168. “EFIH First Lien DIP Collateral” means the “EFIH DIP Collateral,” as defined in the EFIH First
Lien Final DIP Order.

169. “EFIH First Lien DIP Contingent Obligations” means the “Contingent Obligations,” as defined in
the EFIH First Lien DIP Credit Agreement, including any and all expense reimbursement obligations of the
Debtors that are contingent as of the EFH Effective Date.

170. “EFIH First Lien DIP Credit Agreement” means that certain Senior Secured Superpriority
Debtor~in-Possession Credit Agreement, dated as of June 19, 2014, as amended, supplemented, or modified from
time to time, by and among EFIH, EFlH Finance, the banks, financial institutions, and other lenders from time to
time party thereto, the EFIH First Lien DIP Agent, and the other agents and entities party thereto, collectively with
the “EFIH First Lien DIP Documents,” as defined in the EFIH First Lien Final DIP Order.

171. “EFIH First Lien DIP Facility” means the EFIH Debtors’ $5.4 billion debtor-in-possession
financing facility, as approved on a final basis pursuant to the EFIH First Lien Final DIP Order.

172. “EFIH First Lien DIP Repayment Amount” means an amount in Cash sufficient to repay all
outstanding Allowed EFIH First Lien DIP Claims in accordance with Article 11.B.2 of the Plan.

173. “EFIH First Lien Final DIP Order” means the Final Order (A) Approving Postpetition Financing
F or Energy Future Intermediate Holding Company LLC and EFIH Finance Inc., (B) Granting Liens and Providing
Superpriority Adrninistrative Expense Claims, (C) Approving the Use of Cash Collateral by Energy Future
Intermediate Holding Company LLC and EFIH Finance Inc., (D) Authorizing the EFIH First Lien Repaymentl
(E) Auihorizing lssuance ofRolI- Up Debt to the ExtentAuihorized by the Settlement Orders, and (F) Modifying the
Automatic Stay [D.I. 859], as amended by the Amended Final Order (A) Approving Postpetition Financing for
Energy Future Intermediate Holding Company LLC and EFIH Finance Inc., (B) Granting Liens and Providing
Superpriority Adrninistrative Expense Claims, (C) Approving the Use of Cash Collateral by Energy Future
Intermediate Holding Company LLC and EFIH Finance Inc., (D) Authorizing the EFIH First Lien Repayment
(E) Authorizing Issuance ofRoll-Up Debt to the ExtentAuthorized by the Settlement Orders, and (F) Modijj/ing the
Automatic Stay [D.I. 3856].

174. “EFIH First Lien Note Claim” means any Secured Claim derived from or based upon the EFIH
First Lien Notes.

175 . “EFIH First Lien Notes” means, collectively: (a) the EFIH First Lien 2017 Notes; and (b) the
EFIH First Lien 2020 Notes (and the EFIH First Lien 2017 Note Indenture and the EFIH First Lien 2020 Note
Indenture).

176. “EFIH First Lien Notes Trustee” means Delaware Trust Company, as successor indenture trustee
to BNY.

177. “EFIH First Lien Settlemenl” means that certain settlement approved by the EFIH First Lien
Approval Order.

178. “EFIH Intercreditor Liiigation” means the litigation commenced by the EFH-1 First Lien Notes
Trustee against the EFIH Second Lien Notes Trustee for turnover and other relief, Delaware T rust Company, as
Indenture Trustee v. Computershare Share T rust Company, NA., et al., Adv. Pro. Np. 14-50410-CSS (Bankr. D.
Del.) and any pending appeals related thereto.

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179. “EFIH Professional Fee Escrow Account” means an escrow account established and funded
pursuant to Article II.A.2(b) of the Plan for Professional Fee Claims allocated to the EFIH Debtors or the
Reorganized EFIH Debtors pursuant to pursuant to Article II.A.2(d) of the Plan.

180. “EFIH Professional Fee Reserve Amount” means the total amount of Professional Fee Claims
estimated to be allocated to the EFIH Debtors or the Reorganized EFIH Debtors in accordance with Article
II.A.2(c) of the Plan.

181. “EFIH Second Lien Note Claim” means any Secured Claim derived from or based upon the EFIH
Second Lien Notes.

182. “EFIH Second Lien Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated April 25, 2011, by and among the EFIH Debtors, as issuers, and the EFIH Second Lien
Notes Trustee,

183. “EFIH Second Lien Notes” means, collectively: (a) the 11.0% senior secured second lien notes
due October 1, 2021; and (b) the 11.75% senior secured second lien notes due March 1, 2022, issued by the EFlH
Debtors pursuant to the EFlH Second Lien Note Indenture (and the EFIH Second Lien Note Indenture).

184. “EFIH Second Lien Note Repayment Amount” means an amount in Cash sufficient to repay all
outstanding EFIH Second Lien Note Claims in accordance with, and to the extent provided in, Article III.B.20 of
the Plan, excluding any amounts paid on account of EFIH Second Lien Note Claims that are Makewhole Claims.

185. “EFIH Second Lien Notes Trustee” means Computershare Trust, as successor indenture trustee to
BNY.

186. “EFIH Second Lien Parlial Repayment” means the partial repayment of EFIH Second Lien Notes,
in the amount of up to $750 million, effectuated pursuant to the Order (A) Authorizing Partial Repayment ofEFIH
Second Lien Notes; (B) Approving EFIH DIP Consent; and (C) Authorizing Consent Fee [D.I. 3855].

187. “EFIH Senior Toggle Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated December 5, 2012, by and among the EFIH Debtors, as issuers, and the EFIH Unsecured
Notes Trustee.

188. “EFIH Senior Toggle Notes” means the 11.25%/12.25% senior unsecured notes due
December 1, 2018, issued by the EFIH Debtors pursuant to the EFIH Senior Toggle Note Indenture.

189. “EFIH Unexchanged Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated November 16, 2009, by and among the EFIH Debtors, as issuers, and the EFIH Unsecured
Notes Trustee.

190. “EFIH Unexchanged Notes” means the 9.75% unsecured notes due October 15, 2019, issued by
the EFlH Debtors pursuant to the EFIH Unexchanged Note Indenture.

191. “EFIH Unsecured Creditor Cash Pool” means (a) the balance of any Cash held by EFIH after
giving effect to all other transactions and distributions that are contemplated by the Plan or the Merger Agreement
to occur on or before the EFH Effective Date and (b) any other amounts payable to Holders of Claims entitled to
distributions from the EFIH Unsecured Creditor Cash Pool as expressly provided in the Plan.

192. “EFIH Unsecured Creditor Equity Pool” means (a) the Reorganized EFH Class B Common Stock
as set forth in Article IV.B.9 of the Plan, Which shall, on the EFH Effective Date, covert to the right to receive the
NextEra Class B Common Stock and (b) any other amounts payable to Holders of Claims entitled to distributions
from the EFIH Unsecured Creditor Equity Pool as expressly provided in the Plan.

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193. “EFIH Unsecured Creditor Recovery Pool” means, collectively, the EFIH Unsecured Creditor
Equity Pool and the EFIH Unsecured Creditor Cash Pool.

194. “EFIH Unsecured Note Claim” means any Claim derived from or based upon the EFIH Unsecured
Notes.

195. “EF]H Unsecured Note Indentures” means, collectively: (a) the EFIH Senior Toggle Note
Indenture; and (b) the EFIH Unexchanged Note Indenture.

196. “EFIH Unsecured Notes” means, collectively: (a) the EFIH Senior Toggle Notes; and (b) the
EFIH Unexchanged Notes.

197. “EFIH Unsecured Notes Trustee” means UMB Bank, N.A., as successor trustee to BNY.

198. “Employment Agreements” means all existing employment agreements by and between any
employee of the Debtors and a Debtor, each of which shall be assumed and assigned to Reorganized TCEH
Debtors on the TCEH Effective Date,

199. “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

200. “Environmental Action” means the pending case of United States v. Luminant Generation
Company LLC, et al., 3:13-cv-3236-K (N.D. Tex.).

201, “Environmental Law” means all federal, state and local statutes, regulations, ordinances and
similar provisions having the force or effect of law, all judicial and administrative orders, agreements and
determinations and all common law concerning pollution or protection of the environment, or environmental
impacts on human health and safety, including, without limitation, the Atomic Energy Act; the Comprehensive
Environmental Response, Compensation, and Liability Act; the Clean Water Act; the Clean Air Act; the
Emergency Planning and Community Right-to-Know Act; the Federal lnsecticide, Fungicide, and Rodenticide Act;
the Nuclear Waste Policy Act; the Resource Conservation and Recovery Act; the Safe Drinking Water Act; the
Surface Mining Control and Reclamation Act; the Toxic Substances Control Act; and any state or local equivalents.

202. “EPA Settlement Amount” means $1,000,000.00, as set forth in the order approving that certain
Stipulation and Settlement Agreement, dated as of December 1, 2015, by and among EFH Corp., TCEH, EFCH,
the United States on behalf of the U.S. Environmental Protection Agency, certain Holders of TCEH First Lien
Claims, the Original Plan Sponsors, and the TCEH Committee [D.I. 7204].

203. “Equily Investmenl” means the equity investments to be made pursuant to the Merger, including
the Plan Sponsor Investrnent.

204. “ERISA” means the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001-1461
as amended, (2006 V. Supp. 2011), and the regulations promulgated thereunder.

205. “Esiate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

206. “Estimated Company Cash Amount” means the “Estimated Company Cash Amount” as defined in
the Merger Agreement.

207. “Exchange Agent” means “Exchange Agent,” as such term is defined in the Merger Agreement.

208. “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) the Committees and each of their respective members; and (c) with respect to each of the foregoing, such Entity
and its current and former Affiliates, and such Entity’s and its current and former Affiliates’ current and former
equity holders (regardless of whether such interests are held directly or indirectly), subsidiaries, officers, directors,

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managers, principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals, each in their
capacity as such.

209. “Executive Severance Policy” means the Energy Future Holdings Corp. Executive Change in
Control Policy, effective as of May 20, 2005, as amended on December 23, 2008 and December 20, 2010, and in
effect as of the date of Filing of the Plan.

210. “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

211, “FCC” means the Federal Communications Commission.

212. “Federal Judgment Rate” means the rate of interest calculated pursuant to the provisions of 28
U.S.C. § 1961, which shall be a rate equal to the weekly average l-year constant maturity Treasury yield, as
published by the Board of Govemors of the Federal Reserve System, as of the Petition Date, which rate was 0.11%,
compounded annually.

213. “Fee Committee” means that certain fee review committee appointed pursuant to the Stipulation
and Consent Order Appointing a Fee Committee [D.I. 1891].

214. “FERC” means the Federal Energy Regulatory Commission.

215. “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases, including with respect to a Proof of Claim or Proof of
Interest, the Claims and Noticing Agent.

216. “Final Order” means (a) an order or judgment of the Bankruptcy Court, as entered on the docket
in any Chapter 11 Case (or any related adversary proceeding or contested matter) or the docket of any other court
of competent jurisdiction, or (b) an order or judgment of any other court having jurisdiction over any appeal from
(or petition seeking certiorari or other review of`) any order or judgment entered by the Bankruptcy Court (or any
other court of competent jurisdiction, including in an appeal taken) in any Chapter 11 Case (or any related
adversary proceeding or contested matter), in each case that has not been reversed, stayed, modified, or amended,
and as to which the time to appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired
according to applicable law and no appeal or petition for certiorari or other proceedings for a new trial, reargument,
or rehearing has been timely taken, or as to which any appeal that has been taken or any petition for certiorari that
has been or may be timely Filed has been withdrawn or resolved by the highest court to which the order or
judgment Was appealed or from which certiorari was sought or the new trial, reargument, or rehearing shall have
been denied, resulted in no modification of such order, or has otherwise been dismissed with prejudice; provided
however, that the possibility a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule
under the Bankruptcy Rules or the Local Bankruptcy Rules of the Bankruptcy Court, may be filed relating to such
order shall not prevent such order from being a Final Order.

217. “Fundamental Opinions” shall include:

(a) the following opinions of nationally recognized tax counsel or a Big Four accounting firm (who shall
be permitted to rely upon reasonable representations, including a representation that the Debtors have
no plan or intention at the time of the Distribution2 that is inconsistent with the Spin-Off Intended Tax
Treatment)7 in substance reasonably acceptable to the TCEH Supporting First Lien Creditors and the
Plan Sponsor, at a “should” level:

 

Capitalized terms in this definition that are not defined herein shall have the meanings given such terms in the
request submitted to the IRS for the Private Letter Ruling and all other IRS Submissions; provided however,
that nothing herein shall require the public disclosure of the IRS Submissions.

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(i) Taking into account the Merger, the Contribution, Reorganized TCEH Conversion, and
Distribution should meet the requirements of Sections 368(a)(1)(G), 355, and 356 of the
Internal Revenue Code.

(ii) EFH should not recognize gain for U.S. federal income tax purposes as a result of the
Contribution or the Reorganized TCEH Conversion other than gain recognized pursuant to the
transfer of assets to the Preferred Stock Entity and the Spin-OffPreferred Stock Sale.

(iii) EFH should recognize no gain or loss for U.S. federal income tax purposes upon the
Distribution.

(b) the following opinions of nationally recognized tax counsel or a Big Four accounting firm (who shall
be permitted to rely upon reasonable representations, including a representation that the Debtors have
no plan or intention at the time of the Distribution that is inconsistent with the Spin-Off Intended Tax
Treatment), in substance reasonably acceptable to the TCEH Supporting First Lien Creditors and the
Plan Sponsor, at a “will” level:

(i) Section 355(g) will not apply to the Reorganized TCEH Spin-Off.

(ii) Each of the EFH SAG and the Spinco SAG will be engaged in the active conduct of a trade or
business (within the meaning of section 355(b)) immediately after the Reorganized TCEH
Spin-Off.

218. “General Administrative Claim” means any Administrative Claim, other than a Professional Fee
Claim,

219. “General Unsecured Claim Against EFCH” means any Unsecured Claim against EFCH that is not
otherwise paid in full pursuant to an order of the Bankruptcy Court, including the EFCH 2037 Note Claims, but
excluding: (a) Administrative Claims against EFCH; (b) Priority Tax Claims against EFCH; (c) Intercompany
Claims against EFCH; (d) Other Priority Claims against EFCH; and (e) DIP Claims.

220. “Generai Unsecured Claim Against EFH Corp.” means any Unsecured Claim against EFH Corp.
that is not otherwise paid in full pursuant to an order of the Bankruptcy Court, including the EFH Series N Note
Claims, but excluding: (a) Legacy General Unsecured Claims Against the EFH Debtors; (b) EFH Legacy Note
Claims; (c) EFH Unexchanged Note Claims; (d) EFH LBO Note Primary Claims; (e) EFH Swap Claims; (f) EFH
Non-Qualified Benefit Claims; (g) the TCEH Settlement Claim; (h) Tex-La Guaranty Claims; (i) Administrative
Claims against EFH Corp.; (j) Priority Tax Claims against EFH Corp.; (k) Intercompany Claims against EFH
Corp.; (l) Other Priority Claims against EFH Corp.; and (m) EFIH First Lien DIP Claims.

221. “General Unsecured Claim Against the EFH Debtors Other Than EFH Corp.” means any
Unsecured Claim against one or more of the EFH Debtors (other than EFH Corp.) that is not otherwise paid in full
pursuant to an order of the Bankruptcy Court, but excluding: (a) Legacy General Unsecured Claims Against the
EFH Debtors; (b) EFH Non-Qualified Benefit Claims; (c) Administrative Claims against the EFH Debtors other
than EFH Corp.; (d) Priority Tax Claims against the EFH Debtors other than EFH Corp.; (e) Intercompany Claims
against the EFH Debtors other than EFH Corp.; (f) Other Priority Claims against the EFH Debtors other than EFH
Corp.; and (g) EFIH First Lien DIP Claims.

222. “General Unsecured Claim Against the EFH Shared Services Debtors” means any Unsecured
Claim against one or more of the EFH Shared Services Debtors that is not otherwise paid in full pursuant to an
order of the Bankruptcy Court, excluding: (a) Administrative Claims against the EFH Shared Services Debtors; (c)
Priority Tax Claims against the EFH Shared Services Debtors; (d) Intercompany Claims against the EFH Shared
Services Debtors; (e) Other Priority Claims against the EFH Shared Services Debtors; and (f) DIP Claims.

223. “General Unsecured Claim Against the EFIH Debtors” means any Unsecured Claim against one
or more of the EFIH Debtors that is not otherwise paid in full pursuant to an order of the Bankruptcy Court,

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including the EFIH Unsecured Note Claims and any Unsecured Claims derived from or based upon the EFIH First
Lien Notes or EFIH Second Lien Notes, but excluding: (a) EFH LBO Note Guaranty Claims; (b) Administrative
Claims against the EFIH Debtors; (c) Priority Tax Claims against the EFIH Debtors; (d) Intercompany Claims
against the EFIH Debtors; (e) Other Priority Claims against the EFIH Debtors; and (f) EFIH First Lien DIP Claims.

224. “General Unsecured Claim Against the TCEH Debtors Other Than EFCH” means any Unsecured
Claim against one or more of the TCEH Debtors other than EFCH that is not otherwise paid in full pursuant to an
order of the Bankruptcy Court, including the Legacy General Unsecured Claims Against the TCEH Debtors, but
excluding: (a) TCEH Unsecured Debt Claims; (b) Administrative Claims against the TCEH Debtors Other Than
EFCH; (c) Priority Tax Claims against the TCEH Debtors Other Than EFCH; (d) Intercompany Claims against the
TCEH Debtors Other Than EFCH; (e) Other Priority Claims against the TCEH Debtors Other Than EFCH; and
(f) DIP Claims.

225. “Governmental Unii” has the meaning set forth in section 101(27) of the Bankruptcy Code.
226. “Holder” means an Entity holding a Claim or an Interest, as applicable.
227. “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976.

228. “Impaired” means, With respect to a Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of section 1124 of the Bankruptcy Code.

229. “Incremental Amendment Agreement” means that certain Incremental Amendment No. 1, dated as
January 4, 2013, by and among the Incremental 2012 Term Lenders (as defined therein), EFCH, TCEH, the Credit
Parties (as defined therein) party thereto, and Citibank, N.A., as administrative and collateral agent.

230. “Indemnification Obligations” means each of the Debtors’ indemnification obligations in place as
of the Effective Date, whether in the bylaws, certificates of incorporation or formation, limited liability company
agreements, other organizational or formation documents, board resolutions, management or indemnification
agreements, or employment or other contracts, for their current and former directors, officers, managers,
employees, attorneys, accountants, investment bankers, and other professionals and agents of the Debtors, as
applicable,

231. “Indenture Trustees” means, collectively: (a) the EFH Notes Trustee; (b) the EFCH 2037 Notes
Trustee; (c) the EFIH First Lien Notes Trustee; (d) the EFIH Second Lien Notes Trustee; (e) the EFIH Unsecured
Notes Trustee; (f) the TCEH First Lien Notes Trustee; (g) the TCEH Second Lien Notes Trustee; (h) the TCEH
Unsecured Notes Trustee; (i) the PCRB Trustee; (j) the EFH Series N Notes Trustee; and (k) the TCEH Second
Lien Notes Collateral Agent.

232. “Inilial Plan” means the Joint Plan ofReorganization ofEnergy Future Holdings Corp., et al.,
Pursuant to Chapter 11 of the United States Bankruptcy Code [D.I. 4142], dated April 14, 2015.

233. “Insurance Policies” means any insurance policies, insurance settlement agreements, coverage-in-
place agreements, or other agreements relating to the provision of insurance entered into by or issued to or for the
benefit of any of the Debtors or their predecessors

234. “Intercompany Claim” means a Claim or Cause of Action by EFH Corp. or any direct or indirect
subsidiary of EFH Corp. against EFH Corp. or any direct or indirect subsidiary of EFH Corp.

235 . “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in
any Debtor and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock
units, redemption rights, repurchase rights, convertible, exercisable or exchangeable securities or other agreements,
arrangements or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Entity.

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236, “Interim Compensation Order” means the Order Esiablishing Procedures for Interim
Compensation and Reimbursement of Expenses for Professionals [D.I. 2066].

237. “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended

238. “Investor Rights Agreement” means that certain Investor Rights Agreement, dated as of November
5, 2008, by and among Oncor and certain of its direct and indirect equityholders, including EFH Corp. and TTI.

239. “IPO Conversion Plan” means the plan attached as an exhibit to the Merger Agreement, as may be
modified, amended or supplemented in accordance with the Merger Agreement.

240. “IRS” means the Intemal Revenue Service.

241. “IRS Submissions” means all submissions to the IRS in connection with the Private Letter Ruling
and the request for the Supplemental Ruling.

242. “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1-4001.

243. “Legacy General Unsecured Claim Against the EFH Debtors” means any Claim against the EFH
Debtors derived from or based upon liabilities based on asbestos or, to the extent set forth in the Merger Agreement
or on Schedule 6.6(a) to the Company Disclosure Letter, qualified post-employment benefits relating to
discontinued operations of the EFH Debtors.

244. “Legacy General Unsecured Claim Against the TCEH Debtors” means any Claim against the
TCEH Debtors derived from or based upon liabilities based on asbestos or qualified post-employment benefits
relating to the TCEH Debtors.

245. “Liabilily Management Program” means the various transactions, including debt buybacks, new
debt issuances, debt exchanges, debt payoffs, intercompany debt forgiveness, dividends, and maturity extensions,
by EFH Corp. and its direct and indirect subsidiaries, and restructuring of such Entities’ debt obligations completed
before the Petition Date, as described in the 2009-2013 SEC filings of EFH Corp., EF]H, EFlH Finance, and
TCEH.

246. “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

247 . “Litigation Letters” means, collectively: (a) the TCEH Committee Litigation Letters; and (b) the
TCEH Unsecured Group Litigation Letter.

248. “Luminant” means Luminant Holding Company LLC and its direct and indirect Debtor
subsidiaries

249. “Luminant Makewhole Settlement” means those transactions in settlement of Luminant’s
obligations to Oncor under the Tax and Interest Makewhole Agreements, by Which EFIH purchased Luminant’s
obligations from Oncor in August 2012, and Luminant paid EFIH the same respective amount in September 2012.

250. “Makewhole Claim” means any Claim, whether secured or unsecured, derived from or based upon
makewhole, applicable premium, redemption premium, or other similar payment provisions provided for by the
applicable indenture or other agreement calculated as of the EFH Effective Date (or in the case of the EFIH First
Lien Notes, the closing date of the EFIH First Lien DIP Facility, and in the case of EFIH Second Lien Notes, the
closing date of the EFIH Second Lien Partial Repayment, with respect to the amount repaid at such time) or any
other alleged premiums, fees, or Claims relating to the repayment of the principal balance of any notes, including
any Claims for damages, or other relief arising nom the repayment, prior to the respective stated maturity or call
date, of the principal balance of any notes or any denial of any right to rescind any acceleration of such notes.

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251. “Management Agreement” means that certain management agreement, dated as of October
10, 2007, by and among EFH Corp., TEF, Kohlberg Kravis Roberts & Co. L.P., TPG Capital, L.P., Goldman,
Sachs & Co., and Lehman Brothers Inc.

252. “Merger” means that certain merger on the EFH Effective Date of Reorganized EFH with and into
Merger Sub in a transaction intended to qualify as a tax-free reorganization under section 368(a) of the Internal
Revenue Code, with Merger Sub continuing as the surviving entity.

253. “Merger Agreemenl” means that certain Agreement and Plan of Merger, dated as of |'_] 2016,
by and among NextEra, Merger Sub, EFH Corp., and EFIH, as may be amended, supplemented, or otherwise
modified from time to time in accordance therewith, including all exhibits and schedules attached thereto, Which
shall be included in the Plan Supplement.

254. “Merger Closing” means “Closing,” as that term is defined in the Merger Agreement.

255. “Merger Ejj”ective Time” means “Effective Time,” as that term is deflned in the Merger
Agreement.

256. “Merger Sub” means EFH Merger Co., LLC7 a Delaware limited liability company Wholly owned
by NextEra, with whom and into which Reorganized EFH will merge.

257. “Merger Sub Cash Amount” means the Cash to be delivered by Merger Sub to the EFH/EFIH
Distribution Account at the Merger Closing in accordance with the Merger Agreement.

258. “Merger Sub Account” means a segregated, restricted account, and invested and disbursed in
accordance with that certain escrow agreement, dated as of the EFH Effective Date, between Merger Sub and U.S.
Bank National Association, and used solely to satisfy Allowed Legacy General Unsecured Claims Against the EFH
Debtors that are based on asbestos claims and related costs, including court costs, expert witness costs, attorneys’
fees, the cost to procure insurance and all other related costs from time to time during the fifty year term of the
escrow agreement and, to the extent any balance (including accrued interest, if any) remains at the end of such
term, such balance shall only be paid over to a charity specified in accordance with the terms of such escrow
agreement.

259. “Minorily Interest Acquisition” means the acquisition by Merger Sub, NextEra, or an Affiliate of
NextEra of (a) the Oncor Minority Interest in one or more privately negotiated transactions with TTI or Oncor
Management or (b) the portion of the Oncor Minority Interest held by TTI pursuant to the drag-along rights set
forth in Section 3.3 of the Investor Rights Agreement.

260. “New Boards” means, collectively: (a) the Reorganized TCEH Board; and (b) the New
EFH/EFIH Board.

261. “New EFH/EFIH Board” means the board of directors or managers, if any, of the Merger Sub and
Reorganized EFIH, as applicable, on and after the EFH Effective Date, in each case to be appointed by the Plan
Sponsor.

262. “New EFH/EFIH Plan Support Agreement” means that certain Altemative E-Side Restructuring
Agreement, dated as of July 29, 2016, by and among the Plan Sponsor, the EFH Debtors, and the EFIH Debtors, as
may be amended, supplemented or otherwise modified from time to time in accordance therewith.

263. “New Employee Agreements/Arrangements” means the agreements or other arrangements entered
into by the 18 members of the Debtors’ management team who are considered “insiders” but who are not party to
an Employment Agreement as of the date of the Plan Support Agreement to be adopted by Reorganized TCEH on
the TCEH Effective Date and which shall include the applicable terms set forth in Section 10(0) of the Plan
Support Agreement and shall otherwise be substantially in the form included in the Plan Supplement and
reasonably acceptable to the TCEH Supporting First Lien Creditors (in consultation with the TCEH Committee);

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provided however, that none of the EFH Debtors, Reorganized EFH Debtors, EFIH Debtors, Reorganized EFIH
Debtors, or Plan Sponsor shall have any liability with respect thereto.

264. “New Organizational Documenis” means such certificates or articles of incorporation of
formation, by-laws, limited liability company agreements, or other applicable formation documents of each of the
Reorganized Debtors, as applicable, the form of which shall be included in the Plan Supplement; provided that (a)
any New Organization Document With respect to any Reorganized EFH Debtor or any Reorganized EFIH Debtor
shall be in form and substance acceptable to the Plan Sponsor and (b) any New Organization Document with
respect to any Reorganized TCEH Debtor or any Reorganized Shared Services Debtor shall be in form and
substance acceptable to the TCEH Supporting First Lien Creditors.

265 . “New Reorganized TCEH Debt” means the instruments or other indebtedness to be issued by
Reorganized TCEH on the TCEH Effective Date prior to the Reorganized TCEH Conversion pursuant to the Exit
Facility Agreement (as defined in the TCEH DIP Credit Agreement) evidencing an obligation to Holders of
Allowed TCEH DIP Claims.

266. “New Reorganized TCEH Debt Documents” means the documents necessary to effectuate the New
Reorganized TCEH Debt, which shall be included in the Plan Supplement.

267. “NextEra” means NextEra Energy, Inc., a Florida corporation.

268. “NextEra Common Stock” means the NextEra Class A Common Stock and the NextEra Class B
Common Stock.

269. “NextEra Common Stock Investment” means the NextEra Class A Common Stock Investment and
the NextEra Class B Common Stock Investment.

270. “NextEra Class A Common Stock” means the shares of NextEra Common Stock issued in
connection with the NextEra Class A Common Stock Investment.

271. “NextEra Class A Common Stock Investment” means the shares of NextEra Common Stock
entitled to be received by the Holder of the Reorganized EFH Class A Common Stock upon its conversion at the
Merger Effective Time in accordance with the Merger Agreement.

272. “NextEra Class B Common Stock” means the shares of NextEra Common Stock to be issued in
connection with the NextEra Class B Common Stock Investment.

273. “NextEra Class B Common Stock Investment” means the shares of NextEra Common Stock
entitled to be received by the Holder of the Reorganized EFH Class B Common Stock upon its conversion at the
Merger Effective Time in accordance With the Merger Agreement.

274. “Non-EFH Deblor Intercompany Claim” means any Claim, other than the TCEH Settlement
Claim, by any direct or indirect subsidiary of EFH Corp. (other than an EFH Debtor) against an EFH Debtor,
including any Claims derived from or based upon EFH Legacy Notes held by EFIH.

275 . “Non~EFH Shared Services Debtor Intercompany Claim” means any Claim by EFH. Corp. or any
direct or indirect subsidiary of EFH Corp. (other than an EFH Shared Services Debtor) against an EFH Shared
Services Debtor.

276. “Non-EFIH Debtor Intercompany Claim” means any Claim by EFH Corp. or any direct or indirect
subsidiary of EFH Corp. (other than an EFIH Debtor) against an EFIH Debtor.

277. “Non-TCEH Debtor Intercompany Claim” means any Claim by EFH Corp. or any direct or
indirect subsidiary of EFH Corp. (other than a TCEH Debtor) against a TCEH Debtor, including any Claim derived

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from or based upon the TCEH Credit Agreement, the TCEH First Lien Notes, or TCEH Unsecured Notes held by
EFH Corp. and EF]H.

278. “NRC” means the United States Nuclear Regulatory Commission.

279. “Nuclear Decommissioning Obligations” means the Debtors’ funding obligations related to a
nuclear decommissioning trust that will be used to fund the decommissioning of the Comanche Peak nuclear power
plant, as required by the United States Departrnent of Energy.

280. “Oak Grove Promissory Note” means that certain Promissory Note, dated December 22, 2010, by
and among Oak Grove Power Company LLC, as issuer, and North American Coal Royalty Company, as holder7
and John W. Harris, as trustee, with face amount of $7,472,500 due in annual installments through December 22,
2017, which note is secured by all coal, lignite, and other near-surface minerals on and under certain real property
in Robertson County, Texas.

281. “Oak Grove Promissory Note Claim” means any Claim derived from or based upon the Oak
Grove Promissory Note.

282. “Oncor” means Oncor Holdings and its direct and indirect subsidiaries.

283. “Oncor Electric” means Oncor Electric Delivery Company LLC.

284. “Oncor Holdings” means Oncor Electric Delivery Holdings Company LLC.

285. “Oncor Letter Agreement” means that certain letter agreement to be entered into
contemporaneously with the Merger Agreement, by and among NextEra, Merger Sub, Oncor Electric, and Oncor
Holdings, pursuant to which, among other things, each of Oncor Electric and Oncor Holdings will agree to take and
not to take certain actions in furtherance of the transactions contemplated by the Merger Agreement, which shall be
included in the Plan Supplement.

286. “Oncor Management” means Oncor Management Investment LLC

287. “Oncor Minority Interest” means the minority interests in Oncor Electric held by TTI and Oncor
Management

288. “Oncor T ax Sharing Agreemeni” means that certain Amended and Restated Tax Sharing
Agreement, dated as of November 5, 2008, by and among EFH Corp., Oncor Holdings, Oncor Electric, TTI, and
Oncor Management

289. “OpCo” means TEX Operations Company LLC, a Delaware limited liability company.

290. “Ordinary Course Professional Order” means the Order Authorizing the Retention and
Compensation ofCertain Professionals Utilized in the Ordinary Course of Business [D.I. 765].

291. “Original Conjirmed Plan” means the Sixth Amended Joint Plan of Reorganization of Energy
Future Holdings Corp,, et al., Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 7235].

292. “Original Plan Sponsors” means “Plan Sponsors,” as such term was defined in the Original
Confirmed Plan.

293. “Original Plan Supplement” means the Plan Supplement for the Joint Plan of Reorganization of
Energy Future Holdings Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 6544], and any
amendments and modifications thereto, including D.I. 7191 and D.I. 7866.

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294. “Uther Priority Claims” means any Claim, other than an Administrative Claim, a DIP Claim, or a
Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

295. “Other Secured Claim Against the EFH Debtors” means any Secured Claim against any of the
EFH Debtors, excluding DIP Claims.

296. “Other Secured Claim Against the EFH Shared Services Debtors” means any Secured Claim
against any of the EFH Shared Services Debtors, excluding DIP Claims.

297. “Other Secured Claim Against the EFIH Debtors” means any Secured Claim against any of the
EFIH Debtors, excluding: (a) EFIH First Lien Note Claims, if any; (b) EFIH Second Lien Note Claims; and
(c) DIP Claims.

298. “Other Secured Claim Against the TCEH Debtors” means any Secured Claim against any of the
TCEH Debtors, including the Oak Grove Promissory Note Claims and Tex-La Obligations, but
excluding: (a) TCEH First Lien Secured Claims; and (b) DIP Claims.

299. “OVZ” means Ovation Acquisition II, L.L.C., a Delaware limited liability company.

300. “Parent Disclosure Letter” means “Parent Disclosure Letter” as such term is defined in the
Merger Agreement.

301. “PBGC” means the Pension Benefit Guaranty Corporation, a wholly-owned United States
government corporation, and an agency of the United States created by ERISA.

302. “PCRB Claim” means any Claim derived from or based upon the PCRBs, excluding the
Repurchased PCRBS, including any Claims and Causes of Action held by the PCRB Trustee, including for fees and
expenses, related to the PCRBs.

303. “PCRBS” means the pollution control revenue refunding bonds and pollution control revenue
bonds outstanding from time to time, including: (a) 7.70% Fixed Series 1999C due March 1, 2032; (b) 7.70% Fixed
Series 1999A due April 1, 2033; (c) 6.30% Fixed Series 2003B due July 1, 2032; (d) 6.75% Fixed Series 2003C
due October 1, 2038; (e) 5.40% Fixed Series 2003B due October 1, 2029; (f) 5.40% Fixed Series 1994A due
May 1, 2029; (g) 5.00% Fixed Series 2006 due March 1, 2041; (h) 8.25% Fixed Series 2001A Due October 1,
2030; (i) 8/25% Fixed Series 2001D-l due May 1, 2033; (j) 6.45% Fixed Series 2000A due June 1, 2021;
(k) 5.80% Fixed Series 2003A due July 1, 2022; (1)6.15% Fixed Series 2003B due August 1, 2022; (m) 5.20%
Fixed Series 2001C due May 1, 2028; (n) 6.25% Fixed Series 2000A due May 1, 2028; (o) Series 1994B due May
1, 2029 (variable rate); (p) Series 1995A due April 1, 2030 (variable rate); (q) Series 1995B due .lune 1, 2030
(variable rate); (r) Series 2001B due May 1, 2029 (variable rate); (s) Series 2001C due May 1, 2036 (15% ceiling);
(t) Floating Taxable Series 20011 due December 1, 2036; (u) Floating Series 2002A due May 1, 2037; (v) Series
2003A due April 1, 2038 (15% ceiling); (w) Series 1999B due September 1, 2034 (15% ceiling); (x) Floating
Series 2001D-2 due May 1, 2033; (y) Series 2001A due May 1, 2022 (15% ceiling); (z) Series 2001B due May 1,
2030 (15% ceiling); and (aa) Series 2001A due May l, 2027 (variable rate), to which, among others, the PCRB
Trustee is party.

304. “PCRB Trustee” means BNYM, as indenture trustee for the PCRBs.

305. “Pension Plans” means the two single-employer defmed benefit plans insured by the PBGC and
covered by Title IV of ERISA, 29 U.S.C. §§ 1301-1461, including (a) the plan sponsored by EFH Corp., and (b) the
plan sponsored by Oncor Electric,

306. “Periodic Distribution Date” means, unless otherwise ordered by the Bankruptcy Court, the first
Business Day that is 120 days after the Effective Date, and, for the first year thereafter, the first Business Day that
is 120 days after the immediately preceding Periodic Distribution Date, Af`ter one year following the Effective

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Date, the Periodic Distribution Date will occur on the flrst Business Day that is 180 days after the immediately
preceding Periodic Distribution Date, unless and until otherwise ordered by the Bankruptcy Court.

307. “Peiition Date” means April 29, 2014, the date on which the Debtors commenced the Chapter 11
Cases.

308. “Plan” means this Third Amended Joint Plan ofReorganization ofEnergy Future Holdings Corp.,
et al., Pursuant to Chapter 11 of the Bankruptcy Code, including the Plan Supplement.

309. “Plan Sponsor” means NextEra, acting through its wholly-owned subsidiary, NextEra Energy
Capital Holdings, Inc., the beneficial owner of approximately $45 million principal amount of EFIH Senior Toggle
Notes and a creditor and party in interest in the Chapter ll Cases, unless and until such time as the Merger
Agreement shall have been terminated in accordance with its terms and without consummation of the Merger. For
the avoidance of doubt, upon the termination of the Merger Agreement, any consent rights of the Plan Sponsor set
forth in this Plan shall be inoperative

310. “Plan Sponsor Cash Amount” mean collectively, (a) the Merger Sub Cash Amount, (b) the EFIH
First Lien DIP Repayment Amount, and (c) the EFIH Second Lien Notes Repayment Amount,

311. “Plan Sponsor Investment” means, collectively: (a) the Plan Sponsor Cash Amount; and (b) the
NextEra Common Stock Investment.

312. “Plan Supplement” means the compilation of documents and forms of documents, schedules, and
exhibits to the Plan, to be Filed by the Debtors no later than 14 days before the Confirmation Hearing or such later
date as may be approved by the Bankruptcy Court on notice to parties in interest, and additional documents Filed
With the Bankruptcy Court before the Effective Date as amendments to the Plan Supplement comprised of, among
other documents, the following, if any and as applicable: (a) New Organizational Documents; (b) the Rejected
Executory Contract and Unexpired Lease List; (c) the Assumed Executory Contract and Unexpired Lease List
(which shall include the Employment Agreements and provide that such Employment Agreements are assigned to
Reorganized TCEH on the TCEH Effective Date); (d) a list of retained Causes of Action; (e) the Reorganized
TCEH Debtor Management Incentive Plan; (f) the New Employee Agreements/Arrangements; (g) the Reorganized
TCEH Registration Rights Agreement; (h) the identity of the members of the New Boards and management for the
Reorganized Debtors; (i) the New Reorganized TCEH Debt Documents; (j) the Merger Agreement; (k) the Tax
Matters Agreement; (l) the Transition Services Agreement; (m) the Reorganized TCEH Shareholders’ Agreement;
(n) the Oncor Letter Agreement; (o) the Separation Agreement; (p) the Spin-Off Tax Receivable Agreement or the
Taxable Separation Tax Receivable Agreement (as applicable); (q) the Amended and Restated Split Participant
Agreement; (r) the Taxable Separation Memorandum; and (s) the TRA Inforrnation Form. Any reference to the
Plan Supplement in the Plan shall include each of the documents identified above as (a) through (s), as applicable
Other than with respect to the assumption and assignment of the Employment Agreements as set forth herein, the
documents that comprise the Plan Supplement shall be: (i) subject to any consent or consultation rights provided
hereunder and thereunder, including as provided in the definitions of the relevant documents; and (ii) in form and
substance reasonably acceptable (or, to the extent otherwise provided hereunder or thereunder, including as
provided in the applicable definitions of the applicable documents, acceptable) to the Plan Sponsor, the TCEH
Supporting First Lien Creditors, and the DIP Agents. The Parties entitled to amend the documents contained in the
Plan Supplement shall be entitled to amend such documents in accordance with their respective terms and Article X
of the Plan through and including the Effective Date,

313. “Plan Support Agreement” means that certain Plan Support Agreement, dated as of
August 9, 2015 (as amended on September 11, 2015, October 27, 2015, and November 12, 2015, and as may be
amended, supplemented, or otherwise modified from time to time in accordance therewith), by and among the
Debtors, the Original Plan Sponsors, the TCEH Supporting First Lien Creditors, the TCEH First Lien Agent, the
TCEH Supporting Second Lien Creditors, the TCEH Committee, and certain other Entities, including all exhibits
and schedules attached thereto.

314. “Post-ClosingAudit” means the “Post-Closing Audit” as defined in the Merger Agreement.

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315. “Preferred Stock Entiiy” means, as part of the Spin-Off, the new Entity pursuant to which certain
assets and liabilities will be transferred as part of the Spin-Off Preferred Stock Sale, it being understood that, if the
Spin-Off is effectuated pursuant to the terms and conditions set forth in Article IV.B.2, the Preferred Stock Entity
will undertake the Preferred Stock Entity Conversion on the TCEH Effective Date,

316. “Preferred Stock Entity Conversion” means, as part of the Spin-Off, the conversion of the
Preferred Stock Entity from a Delaware limited liability company to a Delaware corporation on the TCEH
Effective Date, immediately following the Contribution and immediately prior to the Spin-Off Preferred Stock
Sale.

317. “Priority Tax Claim” means the Claims of Governmental Units of the type specified in
section 507(a)(8) of the Bankruptcy Code.

318. “Privaie Letter Ruling” means the private letter ruling issued by the IRS to EFH Corp. on July 28,
2016.

319. “Pro Rata” means the proportion that the amount of an Allowed Claim or Allowed Interest in a
particular Class bears to the aggregate amount of the Allowed Claims or Allowed Interests in that Class, or the
proportion of the Allowed Claims or Allowed Interests in a particular Class and other Classes entitled to share in
the same recovery as such Claim or Interest under the Plan.

320. “Professional” means an Entity, excluding those Entities entitled to compensation pursuant to the
Ordinary Course Professional Order: (a) retained pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered before or on the
Effective Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code;
provided however, that each of the professionals employed by the DIP Agents shall not be “Professionals” for the
purposes of the Plan.

321. “Professional Fee Claims” means all Administrative Claims for the compensation of Professionals
and the reimbursement of expenses incurred by such Prof`essionals through and including the Effective Date to the
extent such fees and expenses have not been paid pursuant to the Interim Compensation Order or any other order of
the Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of a
Professional’s requested fees and expenses, then the amount by which such fees or expenses are reduced or denied
shall reduce the applicable Professional Fee Claim,

322. “Professional Fee Escrow Account” means the TCEH Professional Fee Escrow Account, the EFIH
Professional Fee Escrow Account, and the EFH Professional Fee Escrow Account, as applicable,

323. “Professional Fee Escrow Agents” means each escrow agent for the applicable Professional Fee
Escrow Account appointed pursuant Article II.A.2(b) of the Plan and the escrow agreements entered into pursuant
thereto.

324. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11
Cases.

325. “Proof oflnterest” means a proof of Interest Filed against any of the Debtors in the Chapter 11
Cases.

326. “PUC” means the Public Utility Commission of Texas.
327. “PUC Approval” means “PUCT Approval,” as such term is defined in the Merger Agreement.

328. “RCT” means the Railroad Commission of Texas.

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329. “Refinanced TCEH DIP Facilily” means the TCEH Debtors’ debtor-in-possession financing
facility, as approved on a final basis pursuant to the Final Order (A) Approving Postpetition Financing F or Texas
Competitive Electric Holdings Company LLC and Ceriain of Its Debtor ij‘iliates, (B) Granting Liens and
Providing Superpriority Administrative Expense Claims, and (C) Modijying the Automatic Stay [D.I. 856], and
refinanced pursuant to the TCEH DIP Order.

330. “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall be rendered unimpaired in accordance with section 1124 of the Bankruptcy Code.

331. “Rejected Executory Contract or Unexpired Lease” means any EFH/EFIH Rejected Executory
Contract or Unexpired Lease or any TCEH Rej ected Executory Contract or Unexpired Lease.

332. “Rejected Executory Contract and Unexpired Lease List” means, as applicable, the EFH/EFIH
Rejected Executory Contract and Unexpired Lease List or the TCEH Rejected Executory Contract and Unexpired
Lease List.

333. “Released Parties” means collectively, and in each case only in its capacity as such: (a) the
EFH/EFIH Plan Supporters; (b) Merger Sub; (c) Holders of TCEH First Lien Claims; (d) Holders of TCEH Second
Lien Note Claims; (e) Holders of TCEH Unsecured Note Claims; (f) Holders of EFH Legacy Note Claims; (g)
Holders of EFH Unexchanged Note Claims; (h) Holders of EFH LBO Note Primary Claims; (i) Holders of EFIH
Unsecured Note Claims; (j) Holders of EFH LBO Note Guaranty Claims; (k) the DIP Lenders; (l) the TCEH First
Lien Agent; (m) the Indenture Trustees other than the EFIH First Lien Notes Trustee and the EFIH Second Lien
Notes Trustee; (n) the Dealer Managers; (o) TEF; (p) Texas Holdings; (q) Oncor; (r) funds and accounts managed
or advised by Kohlberg Kravis Roberts & Co., L.P., TPG Capital, L.P. or Goldman, Sachs & Co. that hold direct or
indirect interests in Texas Holdings, TEF, or EFH Corp.; (s) the Committees and each of their respective members;
(t) Holders of General Unsecured Claims Against the TCEH Debtors Other Than EFCH; (u) Holders of General
Unsecured Claims Against EFCH; (v) Holders of General Unsecured Claims Against the EFIH Debtors;
(w) Holders of General Unsecured Claims Against EFH Corp.; (x) Holders of General Unsecured Claims Against
the EFH Debtors Other Than EFH Corp.; (y) Holders of General Unsecured Claims Against the EFH Shared
Services Debtors; (y) the Original Plan Sponsors; (aa) OV2; (bb) with respect to each of the Debtors, the
Reorganized Debtors, and each of the foregoing Entities in clauses (a) through (aa), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors,
managers, officers, equity holders (regardless of whether such interests are held directly or indirectly),
predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity holders,
officers, directors, managers, principals, members, employees, agents, advisory board members, financial advisors,
partners, attomeys, accountants, investment bankers, consultants, representatives, and other professionals, each in
their capacity as such; and (cc) the DTC; provided, however, that any Holder of a Claim or Interest that opts out of
the releases contained in the Plan shall not be a “Released Party”; provided further, however, that the EFlH First
Lien Notes Trustee, all Holders of Claims derived from or based on the EFIH First Lien Notes, the EFIH Second
Lien Notes Trustee, and all Holders of Claims derived from or based on the EFIH Second Lien Notes, shall not be
“Released Parties,” except as otherwise agreed to by a Holder in its capacity as such.

334. “Releasing Parties” means collectively, and in each case only in its capacity as such: (a) the
EFH/EFIH Plan Supporters; (b) Merger Sub; (c) Holders of TCEH First Lien Claims; (d) Holders of TCEH Second
Lien Note Claims; (e) Holders of TCEH Unsecured Note Claims; (f) Holders of EFH Legacy Note Claims; (g)
Holders of EFH Unexchanged Note Claims; (h) Holders of EFH LBO Note Primary Claims; (i) Holders of EFIH
Unsecured Note Claims; (j) Holders of EFH LBO Note Guaranty Claims; (k) the DIP Lenders; (l) the TCEH First
Lien Agent; (m) the Indenture Trustees other than the EFIH First Lien Notes Trustee and the EFIH Second Lien
Notes Trustee; (n) the Dealer Managers; (o) TEF; (p) Texas Holdings; (q) Oncor; (r) funds and accounts managed
or advised by Kohlberg Kravis Roberts & Co., L.P., TPG Capital, L.P. or Goldman, Sachs & Co. that hold direct or
indirect interests in Texas Holdings, TEF, or EFH Corp.; (s) the Committees and each of their respective members;
(t) Holders of General Unsecured Claims Against the TCEH Debtors Other Than EFCH; (u) Holders of General
Unsecured Claims Against EFCH; (v) Holders of General Unsecured Claims Against the EFIH Debtors; (w)
Holders of General Unsecured Claims Against EFH Corp.; (x) Holders of General Unsecured Claims Against the
EFH Debtors Other Than EFH Corp.; (y) Holders of General Unsecured Claims Against the EFH Shared Services
Debtors; (z) all Holders of Claims and Interests that are deemed to accept the Plan; (aa) all Holders of Claims and

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Interests who vote to accept the Plan; (bb) all Holders in voting Classes who abstain from voting on the Plan an_d
who do not opt out of the releases provided by the Plan; (cc) OV2; (dd) the Original Plan Sponsors; (ee) with
respect to each of the Debtors, the Reorganized Debtors, and each of the foregoing Entities in clauses (a) through
(dd), such Entity and its current and former Affiliates, and such Entities’ and their current and former Affiliates’
current and former directors, managers7 officers, equity holders (regardless of whether such interests are held
directly or indirectly), predecessors, successors, and assigns, subsidiaries, and each of their respective current and
former equity holders, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attomeys, accountants, investment bankers, consultants, representatives, and
other professionals, each in their capacity as such; and (ff) all Holders of Claims and Interests, solely with respect
to releases of all Holders of Interests in EFH Corp. and their current and former Affiliates, and such Entities’ and
their Affiliates’ current and former equity holders (regardless of whether such interests are held directly or
indirectly), predecessors, successors, and assigns, subsidiaries, and their current and former officers, directors,
managers, principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals, each in their
capacity as such; provided however, that the EFIH First Lien Notes Trustee, all Holders of Claims derived from or
based on the EFIH First Lien Notes, the EFIH Second Lien Notes Trustee, and all Holders of Claims derived from
or based on the EFIH Second Lien Notes, shall not be “Releasing Parties,” except as otherwise agreed by a Holder
in its capacity as such.

335 . “Reorganized Debtor” means any Debtor as reorganized pursuant to and under the Plan or any
successor thereto, by merger, consolidation, or otherwise, including Merger Sub, on or after the Effective Date.

336. “Reorganized EFH” means EFH Corp. on and after the EFH Effective Date, or any successor
thereto, including Merger Sub, by merger, consolidation, or otherwise, unless otherwise indicated in the Plan.

337 . “Reorganized EFH Common Stock” means the Reorganized EFH Class A Common Stock and the
Reorganized EFH Class B Common Stock.

338. “Reorganized EFH Class A Common Stock” means one new validly issued, fully paid and
nonassessable share of Class A common stock, no par value, of Reorganized EFH to be issued and distributed
under and in accordance with the Plan.

339. “Reorganized EFH Class B Common Stock” means one new validly issued, fully paid and
nonassessable share of Class B common stock, no par value, of Reorganized EFH to be issued and distributed
under and in accordance with the Plan.

340. “Reorganized EFH Debtors” means the EFH Debtors, other than the EFH Shared Services
Debtors, as reorganized pursuant to and under the Plan, or any successor thereto, by merger, consolidation, or
otherwise, including Merger Sub, on or after the EFH Effective Date,

341. “Reorganized EFH Shared Services Debtors” means the EFH Shared Services Debtors, as
reorganized pursuant to and under the Plan, or any successor thereto, by merger, consolidation, or otherwise, on or
after the TCEH Effective Date,

342. “ReorganizedEFHStock Value” means $1 per share of Reorganized EFH Common Stock.

343. “Reorganized EFIH” means EFIH, or any successor thereto, by merger, consolidation, or
otherwise, on and after the EFH Effective Date.

344. “Reorganized EFIH Debtors” means the EFIH Debtors as reorganized pursuant to and under the
Plan, or any successor thereto, by merger, consolidation, or otherwise, on or after the EFH Effective Date,

345. “Reorganized EFIH Membership Interests” means the new membership interests in Reorganized
EFIH, if any, to be issued on the EFH Effective Date.

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346. “Reorganized TCEH” means either (a) if the Spin-Off is effectuated pursuant to the terms and
conditions set forth in Article 1V.B.2, the new Entity pursuant to which certain assets and liabilities will be
transferred as part of the Contribution and the stock of which will be distributed as part of the Distribution, it being
understood that Reorganized TCEH will undertake the Reorganized TCEH Conversion on the TCEH Effective
Date, or (b) the new Entity, the common stock of which will be distributed to Holders of TCEH First Lien Claims
pursuant to the Taxable Separation.

347. “Reorganized TCEH Board” means the board of directors or managers of Reorganized TCEH on
and after the TCEH Effective Date to be appointed by the TCEH Supporting First Lien Creditors in consultation
with TCEH.

348. “Reorganized TCEH Common Stock” means the 450,000,000 shares of common stock in
Reorganized TCEH to be issued and distributed in accordance with the Plan.

349. “Reorganized TCEH Conversion” means, as part of the Spin-Off, the conversion of Reorganized
TCEH from a Delaware limited liability company into a Delaware corporation on the TCEH Effective Date,
immediately following the Contribution and immediately prior to the Distribution.

350. “Reorganized TCEH Debtor Management Incentive Plan” means the management incentive plan
to be implemented with respect to Reorganized TCEH on the TCEH Effective Date, the terms of which shall be
consistent With the Plan Support Agreement, in form and substance acceptable to Reorganized TCEH and the
TCEH Supporting First Lien Creditors, and substantially in the form to be included in the Plan Supplement.

351. “Reorganized TCEH Debtors” means the TCEH Debtors as reorganized pursuant to and under the
Plan, or any successor thereto, by merger, consolidation, or otherwise, and including the Reorganized EFH Shared
Services Debtors, on or after the TCEH Effective Date.

352. “Reorganized TCEH Registration Rights Agreement” means the registration rights agreement that
shall provide registration rights to certain Holders of Reorganized TCEH Common Stock, the material terms of
which shall be included in the Plan Supplement.

353. “Reorganized TCEH Shareholders ’ Agreement” means the one or more shareholders’ agreements
if any, that will govern certain matters related to the governance of Reorganized TCEH, which shall be included in
the Plan Supplement.

354. “Reorganized TCEH Sub Preferred Stock” means, if the Spin-Off is effectuated pursuant to the
terms and conditions set forth in Article IV.B.Z, the new contingent-voting preferred stock of the Preferred Stock
Entity issued pursuant to the Spin-Off Preferred Stock Sale.

355. “Repurchased PCRBS” means the PCRBs repurchased by TCEH and held in a custody account,

356. “Restructuring Transactions” means those mergers, amalgamations, consolidations, arrangements
continuances restructurings, transfers, conversions, dispositions liquidations, dissolutions, or other corporate
transactions that the Debtors, the Plan Sponsor, and the TCEH Supporting First Lien Creditors reasonably
determine to be necessary or desirable to implement the Plan, including, as applicable, the Taxable Separation or, if
the Spin-Off is effectuated pursuant to the terms and conditions set forth in Article IV.B.2, the Spin-Off`, Equity
Investment, Merger, and other transactions contemplated by the Merger Agreement.

357. “Rural Utilities Service” means the agency of the United States Departrnent of Agriculture tasked
with providing public utilities to rural areas in the United States through public-private partnerships

35 8. “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts or
Unexpired Leases, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, the official bankruptcy forms, and the Bankruptcy Rules.

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359. “SEC” means the Securities and Exchange Commission.

360. “Secured” means when referring to a Claim: (a) secured by a Lien on property in which the Estate
has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of
the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the amount subject to
setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to
the Plan or separate order of the Bankruptcy Court as a secured claim.

361. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa, together with the rules
and regulations promulgated thereunder, as amended.

362. “Securiify” or “Securities” has the meaning set forth in section 2(a)(1) of the Securities Act.

363. “Separation Agreement” means an agreement to be entered into on or before the TCEH Effective
Date to, among other things, effectuate the Spin-Off or the Taxable Separation and address the transfer by the EFH
Debtors and EFIH Debtors of certain assets, liabilities, and equity interests related to the TCEH Debtors’
operations, including with respect to the EFH Shared Services Debtors, by and among Reorganized TCEH, OpCo
and EFH Corp., in form and substance reasonably acceptable to the parties thereto, and acceptable to the Plan
Sponsor and the TCEH Supporting First Lien Creditors, which shall be included in the Plan Supplement.

364. “Settlement” means the compromise and settlement by and among the parties to the Settlement
Agreement, including the Debtors and their respective Estates, of (a) all Non-EFH Debtor Intercompany Claims,
Non-EFIH Debtor Intercompany Claims, Non-TCEH Debtor Intercompany Claims, and the TCEH Settlement
Claim, other than ordinary course Debtor Intercompany Claims incurred pursuant to, and in accordance with,
Paragraph 10 of the Cash Management Order, (b) claims and Causes of Action against Holders of TCEH First Lien
Claims and the TCEH First Lien Agent, (c) claims and Causes of Action against the Holders of EFH Interests and
certain related Entities, and (d) claims and Causes of Action against any of the Debtors’ directors, managers,
officers, and other related Entities, as set forth in the Settlement Agreement.

365. “Settlement Agreement” means that certain Settlement Agreement by and among the Debtors and
certain Holders of Claims and lnterests, as approved in the Settlement Order.

366. “Settlemenl Agreement Professional Fees” means those “Professional Fees,” as such term is
defined in the Settlement Order, actually paid pursuant to the Settlement Order.

367. “Settlement Order” means the Order Granting the Molion of Energy Future Holdings Corp,, et
al., to Approve a Settlement of Litigation Claims and Authorize the Debtors to Enter into and Perform Under the
Settlement Agreement [D.I. 7243].

368. “Shared Services” means those shared services provided to EFH Corp. and its direct and indirect
subsidiaries, including by or through EFH Corporate Services and/or pursuant to any service-level agreement or
shared services agreements

369. “Spin-Oj” means, if the Spin-Off is effectuated pursuant to the terms and conditions set forth in
Article IV.B.2, certain transactions required to achieve and preserve the Spin-Off Intended Tax Treatment,
including the Contribution, the Reorganized TCEH Conversion, and the Distribution.

370. “Spin-Oj” Conditions” means (a) entry of the Approval Order by the Bankruptcy Court; (b) that
the Debtors shall have performed their commitments covenants and other obligations with respect to the “Preferred
Stock Sale” as set forth on Exhibit G to the Plan Support Agreement7 as modified consistent with the Tax Matters
Agreement; and (c) the satisfaction or waiver, pursuant to the terms set forth in Article IX.E, of the conditions set
forth in Article IX.C.8.

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371. “Spin-Oj Conditions Termination Date” means the earlier of (a) November 1, 2016; and (b) the
date upon which one or more of the Spin-Off Conditions becomes incapable of being satisfied, as determined by
each of: (i) the TCEH Supporting First Lien Creditors; (ii) the TCEH Debtors; and (iii) the Plan Sponsor (each
acting in their sole reasonable discretion).

372. “Spin-O# Intended Tax Treatment” means (a) the qualification of the Contribution, the
Reorganized TCEH Conversion and the Distribution as a “reorganization” within the meaning of sections
368(a)(1)(G), 355, and 356 of the lnternal Revenue Code, and (b) the qualification of the contribution described in
clause (a) of the definition of the Spin-Off Preferred Stock Sale as a taxable sale of assets to the Preferred Stock
Entity pursuant to section 1001 of the Intemal Revenue Code resulting in the Basis Step-Up.

373. “Spin-OjPreferred Stock Sale” means, as part of the Spin-Off: (a) following the Preferred Stock
Entity Conversion, but before the Reorganized TCEH Conversion, the contribution by Reorganized TCEH of the
equity in the Contributed TCEH Debtors (or, potentially, certain assets or joint interests in certain TCEH Assets as
agreed upon by EFH Corp. and the TCEH Supporting First Lien Creditors, in accordance With the Plan Support
Agreement, as applicable), to the Preferred Stock Entity (such contribution to the Preferred Stock Entity of such
equity and, potentially such assets, in an amount that is expected to result in the Basis Step-Up) in exchange for the
Preferred Stock Entity’s (i) common stock and (ii) the Reorganized TCEH Sub Preferred Stock; (b) immediately
thereafter, and pursuant to a prearranged and binding agreement, the sale by Reorganized TCEH of all of the
Reorganized TCEH Sub Preferred Stock to one or more third party investors in exchange for Cash; provided
however, that Holders of TCEH First Lien Claims shall not be permitted to purchase the Reorganized TCEH Sub
Preferred Stock; and (c) the distribution of such Cash by Reorganized TCEH to TCEH to fund recoveries under the
Plan.

374. “Spin-Ojj‘ T ax Receivable Agreement” means the tax receivable agreement or similar arrangement,
if any, under which Reorganized TCEH (or one or more of its subsidiaries) shall agree to make payments in respect
of Reorganized TCEH’s (or its subsidiaries’) specified tax items, to be entered into, at the TCEH Supporting First
Lien Creditors’ election, on the TCEH Effective Date immediately following the Spin-Off, by Reorganized TCEH
(or one or more of its subsidiaries), the material terms and conditions of which shall be (a) as proposed by the
TCEH Supporting First Lien Creditors (subject to any modifications as consented to by the TCEH First Lien
Creditors and the TCEH Debtors, such consent not to be unreasonably withheld, delayed or conditioned) and (b)
included in the Plan Supplement.

375 . “Spin-Oj TRA Rights” means the rights to receive payments under (and otherwise share in the
benefits of) the Spin-Off Tax Receivable Agreement (if any), whether such rights are structured as a separate
instrument issued by Reorganized TCEH (or one or more of its subsidiaries) pursuant to the Spin-Off Tax
Receivable Agreement, an equity interest in an entity that is a party to the Spin-Off Tax Receivable Agreement, or
otherwise.

376. “Standing Motions” means, collectively: (a) the TCEH Committee Standing Motion; (b) the
TCEH Unsecured Group Standing Motion; and (c) the EFH/EFIH Committee Standing Motion.

377. “Supplemenlal Rulings” means “Supplemental Rulings,” as such term is defined in the Merger
Agreement.

378. “Taxable Separation” means the transactions required or advisable to cause the TCEH Debtors to
directly or indirectly transfer all of its assets to Reorganized TCEH (or one or more of its subsidiaries) in a
transaction that will be treated as a taxable sale or exchange pursuant to section 1001 of the Internal Revenue Code
and not (in whole or in part) as a tax-free transaction (under section 368 of the Internal Revenue Code or
otherwise), which may include such steps as (a) the formation of Reorganized TCEH and one or more subsidiaries
by a designee of the TCEH Supporting First Lien Creditors; (b) subject to clause (c), the transfer of TCEH’s assets
to an indirect subsidiary of Reorganized TCEH in exchange for Claims transferred to such indirect subsidiary; (c)
the transfer of a portion of the TCEH Debtors’ assets to an indirect subsidiary of Reorganized TCEH in exchange
for preferred stock of Reorganized TCEH (or one or more of its subsidiaries), subject to a pre-existing binding
commitment to sell such preferred stock to third-party investors for cash; and/or (d) any other reasonable
methodology proposed by the TCEH Supporting First Lien Creditors The Taxable Separation shall be in form

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and substance as proposed by the TCEH Supporting First Lien Creditors (subject to any modifications as consented
to by the TCEH Supporting First Lien Creditors and the Debtors, such consent not to be unreasonably withheld,
delayed or conditioned) and shall be described in more detail in the Taxable Separation Memorandum.

379. “Taxable Separation Memorandum” means the restructuring steps memorandum describing the
Taxable Separation, which shall be acceptable in form and substance to the TCEH Supporting First Lien Creditors
and included in the Plan Supplement.

380. “Taxable Separation T ax Receivable Agreement” means the tax receivable agreement or similar
arrangement, if any, under Which Reorganized TCEH (or one or more of its subsidiaries) shall agree to make
payments in respect of Reorganized TCEH’s (or its subsidiaries’) specified tax items, to be entered into, at the
request of the TCEH Supporting First Lien Creditors, on the TCEH Effective Date, the material terms and
conditions of which shall be (i) as proposed by the TCEH Supporting First Lien Creditors (subject to any
modifications as consented to by the TCEH First Lien Creditors and the TCEH Debtors, such consent not to be
unreasonably withheld, delayed or conditioned), and (ii) included in the Plan Supplement.

381. “Taxable Separation TRA Rights” means the rights to receive payments under (and otherwise
share in the benefits of) the Taxable Separation Tax Receivable Agreement (if any), whether such rights are
structured as a separate instrument issued by Reorganized TCEH (or one or more of its subsidiaries), an equity
interest in an entity that is a party to the Taxable Separation Tax Receivable Agreement, or otherwise.

382. “Tax and Interest Makewhole Agreements” means, collectively: (a) that certain Tax Make-Whole
Agreement, dated as of January 1, 2002, by and among Oncor Electric and TXU Generation Company LP; (b) that
certain Interest Make-Whole Agreement, dated as of January 1, 2002, by and among Oncor Electric and TXU
Generation Company LP; and (c) that certain Interest Make Whole Agreement, dated as of January 1, 2004, by and
among TXU Electric Delivery Company and TXU Generation Company LP.

383. “Taxing Uniis” means Sommervell County, Sommervelle County Water Improvement District,
Glen Rose ISD, Sommervelle Hospital District, Nolan County, Wes Texas Groundwater, Nolan County Hospital
District, Sweetwater ISD, City of Sweetwater, and Blackwell ISD,

384. “T ax Matters Agreement” means the tax matters agreement to be entered into on or prior to the
TCEH Effective Date by and among EFH Corp., Reorganized TCEH, EFIH, EFIH Finance, and Merger Sub,
effective upon the Distribution, which shall govern the rights and obligations of each party with respect to certain
tax matters, which agreement shall be in form and substance acceptable to the Debtors, the TCEH Supporting First
Lien Creditors, and the Plan Sponsor; provided that the form of Tax Matters Agreement filed on August 16, 2016
[Docket No. 9305] (along with any amendments thereto agreed upon by the Debtors, the TCEH Supporting First
Lien Creditors, and the Plan Sponsor) shall be deemed to be in form and substance acceptable to the Debtors, the
TCEH Supporting First Lien Creditors, and the Plan Sponsor.

385. “T ax Sharing Agreements” means, collectively: (a) the Competitive Tax Sharing Agreement;
(b) any formal or informal, written or unwritten tax sharing agreement among substantially the same parties that are
parties to the Competitive Tax Sharing Agreement; and (c) the Oncor Tax Sharing Agreement.

386. “TCEH” means Texas Competitive Electric Holdings Company LLC, a Delaware limited liability
company.

387. “TCEH 2012 Incremental Term Loans” means the TCEH First Lien Claims deemed to have been
incurred pursuant to Section l of the Incremental Amendment Agreement.

388. “TCEH 2015 Note Indenture” means that certain Indenture, as amended or supplemented from
time to time, for the TCEH 2015 Notes, dated as of October 31, 2007, by and among TCEH and TCEH Finance,
Inc., as the issuers; EFCH and certain TCEH subsidiaries as guarantors; and the TCEH Unsecured Notes Trustee.

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389. “TCEH 2015 Notes” means the 10.25% fixed senior notes due November 1, 2015, issued by
TCEH and TCEH Finance pursuant to the TCEH 2015 Note Indenture,

390. “TCEH Assumed Executory Contracts and Unexpired Leases” means those Executory Contracts
and Unexpired Leases to be assumed by the Reorganized TCEH Debtors, including as set forth on the TCEH
Assumed Executory Contract and Unexpired Lease List.

391. “TCEH Assumed Executory Contract and Unexpired Lease List” means the list of Executory
Contracts and Unexpired Leases to be assumed (with proposed cure amounts), as determined by the Debtors or the
Reorganized Debtors in consultation with the Plan Sponsor and the TCEH Supporting First Lien Creditors, as
applicable, as reflected in the Original Plan Supplement, and as may be further amended or modified by inclusion
in the Plan Supplement.

392. “TCEH Assets” means, collectively: (a) all of TCEH’s interests in its subsidiaries (excluding the
stock of TCEH Finance) and (b) (i) all of the EFH Debtors’ equity interests in the EFH Shared Services Debtors,
EFH Properties Company, and Basic Resources, lnc. and (ii) the Acquired TCEH Assets identified in the
Separation Agreement.

393. “TCEH Cash Payment” means $550,000,000.00 less (i) the Settlement Agreement Professional
Fees; (ii) (a) the EFH Committee Settlement Payment Amount, if known as of the TCEH Effective Date or (b) if
the EFH Committee Settlement Payment Amount is not known as of the TCEH Effective Date, $9,450,000 placed
in the EFH Committee Settlement Escrow; and (iii) the EPA Settlement Amount,

394. “TCEH Committee” means the statutory committee of unsecured creditors of the TCEH Debtors
and EFH Corporate Services appointed in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code
by the U.S. Trustee on May 13, 2014, the membership of Which may be reconstituted from time to time.

395. “TCEH Committee Litigation Letters” means those certain letters, dated as of March 31, 2015 and
April 30, 2015, from the TCEH Committee to the Debtors identifying alleged Claims and Causes of Action that the
TCEH Committee may seek standing to pursue.

396. “TCEH Committee Standing Motion” means the Motion of Ojicial Committee of TCEH
Unsecured Creditors for Entry of an Order Granting Exclusive Standing and Authorily to Commence, Prosecuie,
and Settle Certain Claims for Declaratory Judgment, Avoidance and Recovery of Liens, Security Interests,
Obligations, Fees, and Interest Paymenls, and Disallowance of Claims [D.I. 3593].

397. “TCEH Confirmation Date” means the date upon which the Bankruptcy Court enters the TCEH
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and
9021.

398. “TCEH Confirmation Order” means the order of the Bankruptcy Court confirming the Plan with
respect to the TCEH Debtors and the EFH Shared Services Debtors pursuant to section 1129 of the Bankruptcy
Code, which shall be in form and substance reasonably acceptable to the TCEH DIP Agent and the TCEH
Supporting First Lien Creditors,

399. “TCEH Credit Agreement” means the Credit Agreement, dated as of October 10, 2007, as
amended, by and among TCEH, as borrower, EFCH and certain TCEH subsidiaries as guarantors, the lending
institutions party from time to time thereto, the TCEH First Lien Agent, and the other parties thereto.

400. “TCEH Credit Agreement Claim” means any Claims derived from or based upon the TCEH Credit
Agreement, including the term loan, revolver, letter of credit, and commodity collateral posting facilities, and
guaranty Claims with respect to EFCH.

401. “TCEH CreditAmendment” means that certain Amendment No. 2 to the TCEH Credit Agreement,
dated as of April 7, 2011, among TCEH, as borrower, EFCH, the undersigned lenders party to the TCEH Credit

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Agreement, Citibank, N.A., as administrative and collateral agent, and Citigroup Global Markets Inc., J.P. Morgan
Securities LLC, Credit Suisse Securities (USA) LLC, Goldman Sachs Credit Partners L.P., and Morgan Stanley
Senior Funding, Inc., as amendment arrangers.

402. “TCEH Debtor Intercompany Claim” means, collectively: (a) any Claim by a TCEH Debtor
against another TCEH Debtor; and (b) any Claim derived from or based upon the Repurchased PCRBS.

403. “TCEH Debtors” means, collectively: (a) EFCH; (b) TCEH; and (c) TCEH’s directly and
indirectly owned subsidiaries listed on Exhibit A to the Plan.

404. “TCEH Deficiency Recipient Claims” means, collectively: (a) the TCEH Unsecured Note Claims;
(b) the TCEH Second Lien Note Claims; (c) the Allowed General Unsecured Claims Against the TCEH Debtors
Other Than EFCH; and (d) the PCRB Claims

405. “TCEH DIP Agent” means Deutsche Bank AG New York Branch, or its duly appointed successor,
in its capacity as administrative agent and collateral agent for the TCEH DlP Facility.

406. “TCEH DIP Claim” means any Claim held by the TCEH DlP Agent or TCEH DIP Lenders
arising under or related to the TCEH DIP Facility, including all principal, interest, default interest, commitment
fees, exit fees, expenses, costs, and other charges provided for thereunder.

407. “TCEHDIP Collateral” means the “DIP Collateral,” as defined in the TCEH DlP Order.

408. “TCEH DIP Contingent Obligations” means the “Contingent Obligations,” as defined in the
TCEH DIP Credit Agreement, including any and all expense reimbursement obligations of the Debtors that are
contingent as of the TCEH Effective Date.

409. “TCEH DIP Credit Agreement” means the Senior Secured Superpriority Debtor-in-Possession
Credit Agreement, dated as of August 4, 2016, as amended, supplemented, or modified from time to time, among
EFCH, TCEH, the banks, financial institutions, and other lenders from time to time party thereto, the TCEH DIP
Agent, and the other agents and entities party thereto, collectively with the “DIP Documents,” as defined in the
TCEH DIP Order.

410. “TCEH DIP Facility” means the TCEH Debtors’ $4.25 billion senior secured superpriority debtor-
in-possession financing facility, as evidenced by the TCEH DIP Credit Agreement and approved pursuant to the
TCEH DIP Order.

411. “TCEH DIP L/C” means any letter of credit issued under the TCEH DIP Credit Agreement.
412. “TCEH DIP L/C lssuer” means the issuer of a TCEH DIP L/C.

413. “TCEH DIP Lenders” means the TCEH DIP Agent, the TCEH DIP L/C Issuers, and the banks,
financial institutions and other lenders party to the TCEH DIP Credit Agreement from time to time.

414. “TCEH DIP Order” means the Amended Order (A) Approving Postpetition Financing F or Texas
Competitive Electric Holdings Company LLC and Certain of Ii‘s Debtor A]j(iliates, (B) Granting Liens and
Providing Superpriority Administrative Expense Claims, (C) Authorizing Rejinancing of Secured Post-Petition
Debt, and (D) Modij)ing the Aulomatic Stay [D.I. 8831].

415. “TCEH DIP Secured Cash Management Banks” means the “Secured Cash Management Banks,”
as defined in the TCEH DIP Order.

416. “TCEH DIP Secured Cash Management Ubligations” means the “Secured Cash Management
Obligations,” as defined in the TCEH DIP Order.

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417. “TCEH DIP Secured Hedge Banks” means the “Secured Hedge Banks,” as defined in the TCEH
DIP Order.

418. “TCEH DIP Secured Hedge Obligations” means the “Secured Hedge Obligations,” as defined in
the TCEH DlP Order.

419. “TCEH Disclosure Statement” means the T bird Amended Disclosure Statement for the Second
Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al., Pursuant to Chapter 11 of the
Bankruptcy Code as it Applies to the TCEH Debtors and EFH Shared Services Debtors, dated June 16, 2016
[D.I. 8747].

420. “TCEH Disclosure Statement Order” means the Order (A) Approving the Disclosure Statement of
the TCEH Debtors and the EFH Shared Services Debtors, (B) Establishing the TCEH Voting Record Date, Voting
Deadline, and Other Dates, (C) Approving Proceduresfor Soliciiing, Receiving, and Tabulating Votes on the Plan
and for Filing Objections to the Plan as to the TCEH Debtors and the EFH Shared Services Debtors, and (D)
Approving the Manner and Forms of Notice and Other Related Documents [D.I. 8761].

421. “TCEH Effective Date” means, with respect to the Plan, unless otherwise agreed to by (a) the
TCEH Debtors and EFH Shared Services Debtors, including the TCEH Debtors and EFH Shared Services Debtors
acting at the direction of the applicable Disinterested Directors and Managers with respect to Conflict Matters, and
(b) the TCEH Supporting First Lien Creditors, the first Business Day after the TCEH Confirmation Date on which:
(i) no stay of the TCEH Confirmation Order is in effect; and (ii) all conditions precedent to the TCEH Effective
Date specified in Article IX.C have been satisfied or waived (in accordance with Article IX.E); provided however,
that the TCEH Effective Date shall not occur prior to the EFH Effective Date without the prior written consent of
the TCEH Supporting First Lien Creditors

422. “TCEHFinance” means TCEH Finance, Inc., a Delaware corporation.

423. “TCEH First Lien Ad Hoc Committee” means the ad hoc committee of certain unaffiliated Holders
of TCEH First Lien Claims that is represented by, inter alia, Paul, Weiss, Rifkind, Wharton & Garrison LLP and
Millstein & Co., L,P.

424. “TCEH First Lien Administrative Agent” means Wilmington Trust, N.A., solely in its capacity as
successor administrative agent to Citibank, N.A. under the TCEH Credit Agreement.

425. “TCEH First Lien Agent” means, collectively, the TCEH First Lien Administrative Agent and the
TCEH First Lien Collateral Agent and, where applicable, the former administrative agent, the former swingline
lender, each former revolving letter of credit issuer, each former and current deposit letter of credit issuer, and the
former collateral agent under the TCEH Credit Agreement.

426. “TCEH First Lien Claims” means, collectively: (a) the TCEH Credit Agreement Claims; (b) the
TCEH First Lien Note Claims; (c) the TCEH First Lien Interest Rate Swap Claims; and (d) the TCEH First Lien
Commodity Hedge Claims

427. “TCEH First Lien Collateral Agent” means Wilmington Trust, N.A., solely in its capacity as
successor collateral agent to Citibank, N.A. under the TCEH First Lien Intercreditor Agreement.

428. “TCEH First Lien Commodity Hedge Claim” means any Claim derived from or based upon the
TCEH First Lien Commodity Hedges.

429. “TCEH First Lien Commodity Hedges” means the commodity hedges entered into by TCEH and
secured by a first lien on the same collateral as the TCEH Credit Agreement Claims and the TCEH First Lien Note
Claims

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430. “TCEH First Lien Creditor Adequate Protection Payment Allocation Dispute” means the issue
raised by the TCEH First Lien Notes Trustee and/or certain Holders of TCEH First Lien Note Claims that, pursuant
to section 510(a) of the Bankruptcy Code or otherwise pursuant to applicable law, the Adequate Protection
Payments (as defined in the Cash Collateral Order) under the Cash Collateral Order must be allocated among the
Holders of TCEH First Lien Claims pursuant to the Postpetition Interest Allocation Calculation (as defined in the
Cash Collateral Order); provided however, that nothing in this definition shall limit any claims or defenses to such
issue.

431. “TCEH First Lien Creditor Adequate Protection Payment Allocation Order” means a Final Order
resolving with prejudice the TCEH First Lien Creditor Adequate Protection Payment Allocation Dispute.

432. “TCEH First Lien Creditor Allocation Disputes” means, collectively: (a) the TCEH First Lien
Creditor Adequate Protection Payment Allocation Dispute; and (b) the TCEH First Lien Creditor Plan Distribution
Allocation Dispute. For the avoidance of doubt, the TCEH First Lien Creditor Allocation Disputes shall not
include the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute.

433. “TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute” means the issues raised in
the action captioned Marathon Asset Management, LP, v. Wilmington Trust, N.A., (Index No. 651669/2015), that
was originally filed by Marathon Asset Management, LP in New York State Supreme Court on May 14, 2015 , or
any successor action, adversary proceeding, contested matter, or other litigation proceeding in which any claim or
Cause of Action is asserted that the Holders of Deposit L/C Loans (as defined in the TCEH Credit Agreement)
have a priority security interest, as compared to other Holders of TCEH First Lien Secured Claims, in certain cash
deposited in the Deposit L/C Loan Collateral Account (as defined in the TCEH Credit Agreement); provided
however, that nothing in this definition shall limit any claims or defenses to such issues

434. “TCEH First Lien Creditor Distributions” means any and all of the distributions set forth in
Article 111.B.29(c).

435. “TCEH First Lien Creditor Petition Date Allocated Claim Amounis” means the Allowed amounts
of such Claims as of the Petition Date as set forth in the Plan.

436. “TCEH First Lien Creditor Plan Distribution Allocatz`on Dispute” means the issue raised by the
TCEH First Lien Notes Trustee and/or certain Holders of TCEH First Lien Note Claims that, pursuant to section
510(a) of the Bankruptcy Code or otherwise pursuant to applicable law, the TCEH First Lien Creditor Distributions
should be allocated among the Holders of TCEH First Lien Claims on a basis other than Pro Rata based upon the
Allowed amounts of such Claims as of the Petition Date; provided however, that nothing in this definition shall
limit any claims or defenses to such issue.

437. “TCEH First Lien Creditor Plan Distribution Allocation Order” means a Final Order resolving
with prejudice the TCEH First Lien Creditor Plan Distribution Allocation Dispute, which allocations may be based
on the TCEH First Lien Creditor Petition Date Allocated Claim Amounts, the TCEH First Lien Creditor
Postpetition Interest Allocated Claim Amounts, or as otherwise provided in such Final Order.

438. “TCEH First Lien Creditor Postpetition Interest Allocated Claim Amounts” means the Allowed
amounts of such Claims plus postpetition interest calculated at the rate set forth in each of the applicable governing
contracts from the Petition Date until the TCEH Effective Date,

439. “TCEH First Lien Dejiciency Claim” means any TCEH First Lien Claim that is not a TCEH First
Lien Secured Claim.

440. “TCEH First Lien Intercreditor Agreement” means that certain Amended and Restated Collateral
Agency and Intercreditor Agreement, dated as of October 10, 2007 , as amended and restated from time to time, by
and among TCEH, EFCH, the TCEH First Lien Agent, and the other parties thereto.

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441. “TCEH First Lien Interest Rate Swap Claim” means any Claim derived from or based upon the
TCEH First Lien Interest Rate Swaps.

442. “TCEH First Lien Interest Rate Swaps” means the interest rate swaps entered into by TCEH and
secured by a first lien on the same collateral as the TCEH Credit Agreement Claims and the TCEH First Lien Note
Claims

443. “TCEH First Lien Note Claim” means any Claim derived from or based upon the TCEH First Lien
Notes, excluding any Claim derived from or based upon the TCEH First Lien Notes held by EFH Corp.

444. “TCEH First Lien Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated April 19, 2011, among TCEH and TCEH Finance, as issuers, EFCH and certain of
TCEH’s subsidiaries as guarantors, and the TCEH First Lien Notes Trustee.

445. “TCEH First Lien Note Intercreditor Action” means the action captioned Delaware Trust
Company v. Wilmington Trust, N.A. (Index No. 650792/2015), that was originally filed by the TCEH First Lien
Notes Trustee in New York State Supreme Court on March 13, 2015, and any successor action, adversary
proceeding, contested matter, or other litigation proceeding in which any claim or Cause of Action is asserted that
property or assets distributed to Holders of TCEH First Lien Claims should be allocated among such Holders
taking into account the accrual of postpetition interest on such claims despite the fact that pursuant to section
502(b) of the Bankruptcy Code interest ceased to accrue against the Debtors on the TCEH First Lien Claims as of
the Petition Date; provided however, that nothing in this definition shall limit any claims or defenses to such
arguments

446. “TCEH First Lien Notes” means the 11.50% fixed senior secured notes due October 1, 2020,
issued by TCEH and TCEH Finance pursuant to the TCEH First Lien Note Indenture.

447 . “TCEHFirst Lien Notes Trustee” means Delaware Trust Company, as successor trustee to BNY.
448. “TCEH First Lien Secured Claim” means any TCEH First Lien Claim that is Secured.

449. “TCEH Intercompany Notes” means, collectively: (a) that certain intercompany promissory note
for principal and interest payments, dated as of October 10, 2007, as amended and restated, by and among EFH
Corp., as maker, and TCEH, as payee; (b) that certain intercompany promissory note for SG&A, dated as of
October 10, 2007, as amended and restated, by and among EFH Corp., as maker, and TCEH, as payee; and (c) that
certain intercompany promissory note, dated as of February 22, 2010, as amended and restated7 by and among
TCEH, as maker, and EFH Corp., as payee.

450. “TCEH L/C” means any letter of credit issued under the TCEH Credit Agreement.
451. “TCEH L/C Issuer” means the issuer of a TCEH L/C.

452. “TCEH Professional Fee Escrow Account” means an escrow account established and funded
pursuant to Article II.A.2(b) of the Plan for Professional Fee Claims allocated to the TCEH Debtors or the
Reorganized TCEH Debtors pursuant to pursuant to Article II.A.2(d) of the Plan.

453. “TCEH Professional Fee Reserve Amount” means the total amount of Professional Fee Claims
estimated to be allocated to the TCEH Debtors or the Reorganized TCEH Debtors in accordance With Article
II.A.2(c) of the Plan.

454. “TCEH Rejected Executory Contract and Unexpired Lease List” means the list of Executory
Contracts and Unexpired Leases to be rejected pursuant to the Plan, as determined by the TCEH Debtors or the
Reorganized TCEH Debtors with the consent of the TCEH Supporting First Lien Creditors, as reflected in the
Original Plan Supplement and as may be further amended or modified by inclusion in the Plan Supplement.

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455. “TCEH Second Lien Consortium” means that certain Ad Hoc Consortium of Holders of TCEH
Second Lien Notes.

456. “TCEH Second Lien Intercreditor Agreement” means that certain Second Lien Intercreditor
Agreement, dated as of October 6, 2010, as amended and restated from time to time, by and among TCEH, EFCH,
the TCEH First Lien Agent, the TCEH Second Lien Notes Trustee, and the other parties thereto.

457. “TCEH Second Lien Note Claim” means any Claim derived from or based upon the TCEH Second
Lien Notes.

458. “TCEH Second Lien Note Indenture” means that certain Indenture, as amended or supplemented
from time to time, dated October 6, 2010, by and among TCEH and TCEH Finance, as issuers, EFCH and certain
of TCEH’s subsidiaries as guarantors the TCEH Second Lien Notes Trustee, and the TCEH Second Lien Notes
Collateral Agent.

459. “TCEH Second Lien Notes” means the 15.0% fixed senior secured second lien notes and the
15.0% fixed senior secured second lien notes Series B, due April 1, 2021, issued by TCEH and TCEH Finance
pursuant to the TCEH Second Lien Note Indenture,

460. “TCEH Second Lien Notes Collateral Agent” means BNYMTC, as collateral agent.

461. “TCEH Second Lien Notes Trustee” means Wilmington Savings Fund Society, as successor trustee
to BNY.

462. “TCEH Senior Toggle Notes” means the 10.50%/11.25% senior toggle notes due November 1,
2016, issued by TCEH and TCEH Finance pursuant to the TCEH Senior Toggle Note Indenture,

463. “TCEH Senior Toggle Note Indenture ” means that certain Indenture, as amended or supplemented
from time to time, dated December 6, 2007, by and among TCEH and TCEH Finance, lnc., as issuers, EFCH and
certain TCEH subsidiaries as guarantors and the TCEH Unsecured Notes Trustee.

464. “TCEH Settlement Claim” means the Unsecured Claim of TCEH against EFH Corp. Allowed in
the amount of $700 million pursuant to the Settlement Agreement.

465. “TCEH Settlement Claim Turnover Distributions” means the recovery, proceeds or distributions
if any, that TCEH receives on account of the TCEH Settlement Claim and that it is required to assign or otherwise
turn over to Holders of EFH Beneficiary Claims pursuant to the terms and conditions of Section 4 of the
EFH/EFIH Committee Settlement The TCEH Settlement Claim Turnover Distributions shall not exceed, in the
aggregate, $37.8 million.

466. “TCEH Supporting First Lien Creditors” means those Holders of TCEH First Lien Claims that are
members of the TCEH First Lien Ad Hoc Committee and that are parties to the Plan Support Agreement (which
shall not include the TCEH First Lien Agent); provided that where consent, waiver, or approval of the TCEH
Supporting First Lien Creditors is required under the Plan, the TCEH Supporting First Lien Creditors shall mean at
least five unaffiliated TCEH Supporting First Lien Creditors holding in the aggregate at least 50.1% in aggregate
principal amount of TCEH First Lien Claims held by all TCEH Supporting First Lien Creditors

467. “TCEH Supporting Second Lien Creditors” means those Holders of TCEH Second Lien Note
Claims party to the Plan Support Agreement.

468. “TCEH Supporting Unsecured Creditors” means those Holders of TCEH Unsecured Note Claims
party to the Plan Support Agreement.

469. “TCEH Unsecured Ad Hoc Group” means that certain Ad Hoc Group of TCEH Unsecured
Noteholders made up of Holders of TCEH Unsecured Notes.

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470. “TCEH Unsecured Debt Claims” means collectively: (a) the TCEH First Lien Deficiency
Claims; (b) the TCEH Second Lien Note Claims; (c) the TCEH Unsecured Note Claims; and (d) the PCRB Claims.

471. “TCEH Unsecured Group Litigation Letter” means that certain letter, dated as of April 30, 2015,
from the TCEH Unsecured Ad Hoc Group to the Debtors identifying Claims and Causes of Action that the TCEH
Unsecured Ad Hoc Group may seek standing to pursue.

472. “TCEH Unsecured Group Standing Motion” means the Motion of the Ad Hoc Group of TCEH
Unsecured Noteholders for Entry of an Order Granting Standing and Authorily to Commence, Prosecute, and
Settle Certain Claims for Declaratory Judgment, Avoidance and Recovery of Liens, Securin Interests Obligations,
Fees, and Interest Payments, and Disallowance ofClaims [D.I. 3603].

473. “TCEH Unsecured Note Claim” means any Claim derived from or based upon the TCEH
Unsecured Notes excluding any Claim derived from or based upon the TCEH Unsecured Notes held by EFH Corp.
or EFIH.

474. “TCEH Unsecured Notes” means, collectively: (a) the TCEH 2015 Notes; and (b) the TCEH
Senior Toggle Notes.

475. “TCEH Unsecured Notes Trustee” means Law Debenture Trust Company of New York, as
successor trustee to BNY.

476. “TEF’ means Texas Energy Future Capital Holdings LLC, a Delaware limited liability company
and the general partner of Texas Holdings

477. “Terminated Restructuring Support Agreement” means that certain Restructuring Support and
Lock-Up Agreement, dated as of April 29, 2014, by and among EFH Corp, EFIH, EFH Corporate Services EFIH
Finance, the TCEH Debtors, and certain Holders of Claims and Interests including all exhibits and schedules
attached thereto, and terminated as of July 24, 2014 [D.I. 1697].

478. “Tex-La” means the Tex-La Electric Cooperative of Texas, Inc.

479. “Tex-La 2019 Obligations” means the payment obligations of EFCH under the terms of` the
Tex-La Assumption Agreement with respect to the 9.58% fixed notes due 2019 issued by Tex-La in the
outstanding principal amount of $35 million.

480. “Tex-La 2021 Obligations” means the payment obligations of EFCH under the terms of the
Tex-La Assumption Agreement with respect to the 8.254% fixed notes due 2021 issued by TeX-La in the
outstanding principal amount of $37 million.

481. “Tex-La Assumption Agreemeni” means that certain Assumption Agreement, dated
February 1, 1990 by and among EFCH, Tex-La, and the U.S. acting through the Administrator of the Rural
Utilities Service, whereby EFCH agreed to assume certain outstanding indebtedness of Tex-La that is guaranteed
by the Rural Utilities Service,

482. “Tex-La Guaranty Claim” means any Claim against EFH Corp. derived from or based upon the
Tex-La Obligations.

483. “Tex-La Obligations” means, collectively: (a) the Tex-La 2019 Obligations; and (b) the Tex-La
2020 Obligations.

484. “Texas Holdings” means Texas Energy Future Holdings Limited Partnership, a Texas limited
partnership, which holds substantially all of the outstanding Interests in EFH Corp.

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485. “TRA Information Form” means the information form that Holders of Allowed TCEH First Lien
Secured Claims must complete and timely submit to receive the Spin-Off TRA Rights (if any) or the Taxable
Separation TRA Rights (if any), as applicable, which shall be reasonably acceptable in form and substance to the
TCEH Supporting First Lien Creditors and included in the Plan Supplement.

486. “Transaction Agreements” means collectively, (a) the Merger Agreement; (b) the New
Reorganized TCEH Debt Documents; (c) the Tax Matters Agreement; (d) the Transition Services Agreement; (e)
the Separation Agreement; (f) the Taxable Separation Tax Receivable Agreement (if any); (g) the Spin-Off Tax
Receivable Agreement (if any); (h) the Amended and Restated Split Participant Agreement; and (i) related
agreements and commitment letters

487. “Transition Services Agreement” means the transition services agreement, if any, to be entered
into between Reorganized TCEH and EFH Corp on or before the TCEH Effective Date, in form and substance
reasonably acceptable to each of the parties thereto, the Plan Sponsor, and the TCEH Supporting First Lien
Creditors as applicable, addressing the Shared Services and any other transition services reasonably necessary to
the continued operation of Reorganized EFIH, Reorganized EFH (or EFH Corp., as applicable), and Oncor, Which
shall be included in the Plan Supplement.

488. “TTI” means Texas Transmission Investment LLC, a Delaware limited liability company.

489. “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

490. “Unimpaired” means with respect to a Class of Claims or Interests a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

491. “U.S.” means the United States of America.
492. “US. Trustee” means the Office of the U.S. Trustee for Region 3.
493. “Unsecured Claim” means any Claim that is not a Secured Claim,
B. Rules of Interpretation.
For the purposes of the Plan;

(1) in the appropriate context, each term, whether stated in the singular or the plural, shall include both the
singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the masculine,
feminine, and the neuter gender;

(2) unless otherwise specified, any reference herein to a contract, lease, instrument, release, indenture, or
other agreement or document being in a particular form or on particular terms and conditions means that the
referenced document shall be substantially in that form or substantially on those terms and conditions provided that
no document shall be deemed to be substantially in such form or substantially on such terms if any variation from
such terms has any substantive legal or economic effect on any party;

(3) unless otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether
or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be
amended, modified, or supplemented; provided that any such amendment, modification, or supplement is made in
accordance with the terms of the Plan and the terms governing any applicable document, schedule, or exhibit,
including any consent right in favor of the Plan Sponsor, the TCEH Supporting First Lien Creditors, the EFH
Debtors, the Reorganized EFH Debtors the EFlH Debtors or the Reorganized EFIH Debtors.

(4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns

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(5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;

(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan
Supplement;

(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety
rather than to a particular portion of the Plan;

(8) subject to the provisions of any contract, certificate of incorporation, or similar formation document or
agreement7 by-law, instrument, release, or other agreement or document entered into in connection with the Plan, the
rights and obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance
with the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules;

(9) captions and headings to Articles are inserted for convenience of reference only and are not intended to
be a part of or to affect the interpretation of the Plan;

(10) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply;

(11) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules as the case may be;

(12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the
docket numbers under the Bankruptcy Court’s CM/ECF system;

(13) all references to statutes regulations orders rules of courts and the like shall mean as amended from
time to time, and as applicable to the Chapter 11 Cases unless otherwise stated;

(14) any immaterial effectuating provisions may be interpreted by the Reorganized Debtors in such a
manner that is consistent with the overall purpose and intent of the Plan all without further notice to or action, order,
or approval of the Bankruptcy Court or any other Entity; provided however, that no effectuating provision shall be
immaterial or deemed immaterial if it has any substantive legal or economic effect on any party;

(15) except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
Debtors or to the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the
extent the context requires

C. Computation ofTime.

Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day. Except as otherwise provided herein, in the Merger Agreement, or in the New EFH/EFIH
Plan Support Agreement, any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable after the Effective Date.

D. Governing Law.

Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Delaware, without giving effect to
the principles of conflict of laws shall govern the rights obligations construction, and implementation of the Plan,
any agreements documents, instruments or contracts executed or entered into in connection with the Plan (except as
otherwise set forth in those agreements in which case the governing law of such agreement shall control); provided
however, that corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, shall

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be governed by the laws of the state of incorporation or formation of the relevant Debtor or Reorganized Debtor, as
applicable,

E. Refzrence to Monetary Figures.

All references in the Plan to monetary figures shall refer to currency of the U.S., unless otherwise expressly
provided.

ARTICLE II.
ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY TAX CLAIMS

In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims DIP Claims and
Priority Tax Claims have not been classified and, thus are excluded from the Classes of Claims and Interests

A. Administrative Claims.
1. General Administrative Claims

Except as specified in this Article II, unless the Holder of an Allowed General Administrative Claim and
the Debtors or the Reorganized Debtors, as applicable, agree to less favorable treatment, each Holder of an Allowed
General Administrative Claim Will receive, in full satisfaction of its General Administrative Claim, Cash equal to
the amount of such Allowed General Administrative Claim either: (a) on the Effective Date; (b) if the General
Administrative Claim is not Allowed as of the Effective Date, 60 days after the date on which an order allowing
such General Administrative Claim becomes a Final Order, or as soon thereafter as reasonably practicable; or (c) if
the Allowed General Administrative Claim is based on a liability incurred by the Debtors in the ordinary course of
their business after the Petition Date, pursuant to the terms and conditions of the particular transaction or agreement
giving rise to such Allowed General Administrative Claim, without any further action by the Holders of such
Allowed General Administrative Claim, and without any further notice to or action, order, or approval of the
Bankruptcy Court.

Requests for payment of General Administrative Claims must be Filed and served on the Debtors or the
Reorganized Debtors as applicable, no later than the Administrative Claims Bar Date applicable to the Debtor
against whom the General Administrative Claim is asserted pursuant to the procedures specified in the Confirmation
Order and the notice of the Effective Date. Holders of General Administrative Claims that are required to File and
serve a request for payment of such General Administrative Claims by the Administrative Claims Bar Date that do
not File and serve such a request by the Administrative Claims Bar Date shall be forever barred, estopped, and
enjoined from asserting such General Administrative Claims against the Debtors the Reorganized Debtors, or their
respective property and such General Administrative Claims shall be deemed forever discharged and released as of
the Effective Date. Any requests for payment of General Administrative Claims that are not properly Filed and
served by the Administrative Claims Bar Date shall not appear on the Claims Register and shall be disallowed
automatically without the need for further action by the Debtors or the Reorganized Debtors or further order of the
Bankruptcy Court. To the extent this Article II.A.l conflicts with Article XII.C of the Plan with respect to fees and
expenses payable under section 1930(a) of the Judicial Code, including fees and expenses payable to the U.S.
Trustee, Article XII.C of the Plan shall govern.

2. Professional Compensation.
(a) Final Fee Applications.

All final requests for payment of Professional Fee Claims including the Professional Fee Claims incurred
during the period from the Petition Date through the Effective Date, must be Filed and served on the Debtors or
Reorganized Debtors as applicable, no later than the Administrative Claims Bar Date. All such final requests Will
be subject to approval by the Bankruptcy Court after notice and a hearing in accordance with the procedures
established by the Bankruptcy Code and prior orders of the Bankruptcy Court in the Chapter 11 Cases including the

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Interim Compensation Order, and once approved by the Bankruptcy Court, promptly paid from the Professional Fee
Escrow Account up to its full Allowed amount.

(b) Professional Fee Escrow Accounts

On the TCEH Effective Date, the Reorganized TCEH Debtors shall establish and fund the TCEH
Professional Fee Escrow Account with Cash equal to the TCEH Professional Fee Reserve Amount. On the EFH
Effective Date, the EFH Debtors and the EFlH Debtors shall establish and fund the EFH Professional Fee Escrow
Account and the EFIH Professional Fee Escrow Account, respectively, with Cash equal to the EFH Professional Fee
Reserve Amount and the EFIH Professional Fee Reserve Amount, respectively.

Upon the establishment of the applicable Professional Fee Escrow Account, the Reorganized TCEH
Debtors, the EFIH Debtors, and the EFH Debtors shall select a Professional Fee Escrow Agent for the applicable
Professional Fee Escrow Account to administer payments to and from such Professional Fee Escrow Account in
accordance with the Plan and shall enter into escrow agreements providing for administration of such payments in
accordance With the Plan.

The Professional Fee Escrow Accounts shall be maintained in trust solely for the Professionals. Such funds
shall not be considered property of the Estates of the Debtors or the Reorganized Debtors. The amount of
Professional Fee Claims owing to the Professionals shall be paid in Cash to such Professionals from the applicable
Professional Fee Escrow Account when such Professional Fee Claims are Allowed by a Final Order.

(c) Professional Fee Reserve Amount.

Professionals shall estimate their unpaid Professional Fee Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date and shall deliver such estimate to
the Debtors no later than five days before the Effective Date; provided however, that such estimate shall not be
deemed to limit the amount of the fees and expenses that are the subject of the Professional’s final request for
payment of Filed Professional Fee Claims If a Professional does not provide an estimate, the Debtors may estimate
the unpaid and unbilled fees and expenses of such Professional.

The total amount estimated pursuant to this section shall: (a) as estimated to be allocated to the TCEH
Debtors or the Reorganized TCEH Debtors in accordance with Article II.A.2(d) of the Plan, comprise the TCEH
Professional Fee Reserve Amount; (b) as estimated to be allocated to the EFH Debtors or the Reorganized EFH
Debtors in accordance with Article II.A.2(d) of the Plan, comprise the EFH Professional Fee Reserve Amount; and
(c) as estimated to be allocated to the EFIH Debtors or the Reorganized EFH Debtors in accordance with Article
II.A.2(d) of the Plan, comprise the EFIH Professional Fee Reserve Amount,

(d) Allocation of Professional Fee Claims

Allowed Direct Professional Fee Claims shall be allocated to, and paid from, the applicable Professional
Fee Escrow Account, Allowed Collective Professional Fee Claims shall be allocated to, and paid from, the
applicable Professional Fee Escrow Account in the same proportion that the amount of Allowed Direct Professional
Fee Claims incurred by such Professional for such Debtor bears to the total amount of Allowed Direct Professional
Fee Claims incurred by such Professional for all of the Debtors.

(e) Post-Effective Date Fees and Expenses.

When all Allowed amounts owing to Professionals have been paid in full from the applicable Professional
Fee Escrow Account, any remaining amount in such Professional Fee Escrow Account shall be disbursed as follows
without any further action or order of the Bankruptcy Court: (a) from the TCEH Professional Fee Account, to the
Reorganized TCEH Debtors; (b) from the EFH Professional Fee Account, to the EFH/EFIH Distribution Account,
on account of the EFH Creditor Recovery Pool; and (c) from the EFIH Professional Fee Account, to the EFH/EFIH
Distribution Account, on account of the EFIH Unsecured Creditor Recovery Pool.

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If the amount in any Professional Fee Escrow Account is insufficient to fund payment in full of all Allowed
amounts owing to Professionals the deficiency shall be promptly funded to the applicable Professional Fee Escrow
Account as follows without any further action or order of the Bankruptcy Court: (a) as to the TCEH Debtors or the
Reorganized TCEH Debtors by the Reorganized TCEH Debtors; (b) as to the EFH Debtors, from the EFH/EFIH
Distribution Account, on account of the EFH Creditor Recovery Pool; and (c) as to the EFIH Debtors, from the
EFH/EFIH Distribution Account, on account of the EFIH Unsecured Creditor Recovery Pool.

Upon the Effective Dates any requirement that Professionals comply with sections 327 through 331, 363,
and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered after such date shall
terminate, and the Debtors or Reorganized Debtors may employ and pay any Professional in the ordinary course of
business without any further notice to or action, order, or approval of the Bankruptcy Court; provided however, that,
for the avoidance of doubt, the Reorganized EFH Debtors and the Reorganized EFIH Debtors shall not be liable or
otherwise responsible for the payment of any Professional Fee Claims

B. DIP Claims
1. TCEH DIP Claims

The TCEH DIP Claims shall be Allowed in the full amount due and owing under the TCEH DIP Credit
Agreement and TCEH DIP Order, including all principal, interest, default interest, commitment fees exit fees
expenses costs, and other charges provided for thereunder. On the TCEH Effective Date, except to the extent that a
Holder of an Allowed TCEH DIP Claim agrees to a less favorable treatment, in full and final satisfaction,
settlement, release, and discharge of, each Allowed TCEH DIP Claim, each such Holder shall either (a) receive
payment in full in Cash on the TCEH Effective Date; (b) be satisfied by converting such Claims into New
Reorganized TCEH Debt on a dollar-for-dollar basis in accordance with the terms of the New Reorganized TCEH
Debt Documents; or (c) such other treatment as Reorganized TCEH and the applicable Holder of the TCEH DIP
Claim shall agree.

For the avoidance of doubt, none of the EFH Debtors, Reorganized EFH Debtors, EFIH Debtors, or
Reorganized EFlH Debtors shall be obligated in any respect with respect to any TCEH DIP Claims any TCEH DIP
L/C, any TCEH DIP Secured Hedge Obligation, any TCEH DIP Secured Cash Management Obligation, or any
TCEH DlP Contingent Obligation.

2. EFIH First Lien DIP Claims

The EFIH First Lien DIP Claims shall be Allowed in the full amount due and owing under the EFIH First
Lien DIP Credit Agreement, including all principal, accrued and accruing postpetition interest, costs, fees and
expenses On the EFH Effective Date, except to the extent that a Holder of an Allowed EFIH First Lien DlP Claim
agrees to a less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, each Allowed
EFIH First Lien DIP Claim, each Such Holder shall receive payment in full in Cash by or on behalf of EFIH on the
EFH Effective Date; provided that:

(a) in respect of any EFIH DIP Secured Hedge Obligation that is outstanding on the EFH
Effective Date, at the option of Reorganized EFlH, (i) such EFlH DlP Secured Hedge
Obligation shall be secured by a first priority Lien on the EFIH First Lien DIP
Collateral on terms and conditions as Reorganized EFIH and the applicable EFIH DIP
Secured Hedge Bank shall agree, (ii) such EFIH DIP Secured Hedge Obligation shall
be repaid in full in Cash on the EFH Effective Date, or (iii) such other treatment shall
have been provided With respect to such EFIH DIP Secured Hedge Obligation as
Reorganized EFIH and the applicable EFIH DlP Secured Hedge Bank shall agree;

(b) in respect of any EFIH DIP Secured Cash Management Obligation that is outstanding
on the EFH Effective Date, at the option of Reorganized EFIH, (i) such EFIH DIP
Secured Cash Management Obligation shall be secured by a first priority Lien on the
EFlH First Lien DIP Collateral on terms and conditions as the Debtors and the
applicable EFIH DlP Secured Cash Management Bank shall agree, (ii) such EFIH DIP

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Secured Cash Management Obligation shall be repaid in full in Cash on the EFH
Effective Date, or (iii) such other treatment shall have been provided with respect to
such EFIH DlP Secured Cash Management Obligation as Reorganized EFIH and the
applicable EFlH DIP Secured Cash Management Bank shall agree; and

(c) the EFIH First Lien DIP Contingent Obligations (including any and all expense
reimbursement obligations of the EFIH Debtors that are contingent as of the EFH
Effective Date) shall survive the EFH Effective Date on an unsecured basis shall be
paid by the applicable Reorganized Debtors as and when due under the EFIH First Lien
DIP Credit Agreement, and shall not be discharged or released pursuant to the Plan or
the EFH Confirmation Order; provided that such surviving EFIH First Lien DIP
Contingent Obligations shall not exceed $10 million.

For the avoidance of doubt, none of the TCEH Debtors, Reorganized TCEH Debtors, EFH Shared Services
Debtors, or Reorganized EFH Shared Services Debtors shall be obligated in any respect with respect to any EFIH
First Lien DIP Claims any EFIH DIP Secured Hedge Obligation, EFIH DIP Secured Cash Management Obligation,
or any EFIH First Lien DIP Contingent Obligation.

C. Priority T ax Claims

Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax
Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code and, for the avoidance of doubt, Holders of Allowed Priority Tax
Claims will receive interest on such Allowed Priority Tax Claims after the Effective Date in accordance With
sections 511 and 1129(a)(9)(C) of the Bankruptcy Code.

ARTICLE III.
CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A. Classijl`cation of Claims and Interests

Claims and Interests except for Administrative Claims DIP Claims and Priority Tax Claims are classified
in the Classes set forth in this Article III. A Claim or Interest is classified in a particular Class only to the extent that
the Claim or Interest qualifies Within the description of that Class and is classified in other Classes to the extent that
any portion of the Claim or Interest qualifies within the description of such other Classes A Claim or Interest also
is classified in a particular Class for the purpose of receiving distributions pursuant to the Plan only to the extent that
such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or
otherwise satisfied before the applicable Effective Date. The Debtors reserve the right to assert that the treatment
provided to Holders of Claims and Interests pursuant to Article III.B of the Plan renders such Holders Unimpaired.

1. Class Identification for the EFH Debtors.

The Plan constitutes a separate chapter 11 plan of reorganization for each EFH Debtor, each of which shall
include the classifications set forth below. Subject to Article III.D of the Plan, to the extent that a Class contains
Claims or Interests only with respect to one or more particular EFH Debtors such Class applies solely to such EFH
Debtor.

The following chart represents the classification of Claims and Interests for each EFH Debtor pursuant to
the Plan.

Unimpaired Not Entitled to Vote (Deemed to Accept)

ii Oerth Secured Claims Against the EFH iv n
Debtors

Class Al

 

 

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l Othr PriorityClaims Against the EFH y

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ClaSS AZ Debtors Unimpaired Not Entitled to Vote (Deemed to Accept)
Legacy General Unsecured Claims Against . . .

Class A3 the EFH Debtors Unlmparred Not Entitled to Vote (Deemed to Accept)

Class A4 EFH Legacy Note Claims Impaired Entitled to Vote

Class A5 EFH Unexchanged Note Claims Impaired Entitled to Vote

Class A6 EFH LBO Note Primary Claims Impaired Entitled to Vote

Class A7 EFH Swap Claims Impaired Entitled to Vote

Class A8 EFH Non-Qualified Benefit Claims Impaired Entitled to Vote

Class A9 g:nr;ral Unsecured Clalms Agamst EFH Impaired Entitled to Vote
General Unsecured Claims Against the EFH . .

Class A10 Debtors Other Than EFH Corp. Impaired Entitled to Vote

Class All Tex-La Guaranty Claims Impaired Entitled to Vote

Class A12 TCEH Settlement Claim Impaired Entitled to Vote

Class A13 EFH Debtor Intercompany Claims Unimpaired/ Not Entitled to Vote (Deemed to Accept or

Imparred Reject)

Class A14 Non-EFH Debtor Intercompany Claims Impaired Not Entitled to Vote (Deemed to Reject)
Interests in EFH Debtors Other Than EFH Unimpaired/ Not Entitled to Vote (Deemed to Accept or

Class A15 . .
Corp. Imparred Reject)

Class A16 Interests in EFH Corp. Impaired Not Entitled to Vote O)eemed to Reject)

 

 

 

 

 

 

2. Class Identification for the EFIH Debtors.

The Plan constitutes a separate chapter 11 plan of reorganization for each EFIH Debtor, each of which shall
include the classifications set forth below. Subject to Article III.D of the Plan, to the extent that a Class contains
Claims or Interests only with respect to one or more particular EFIH Debtors such Class applies solely such EFIH
Debtor.

The following chart represents the classification of Claims and Interests for each EFIH Debtor pursuant to
the Plan.

  

     

Other Secured Caims Against the EH

 

 

 

 

 

 

 

 

 

Class Bl Debtors Unimpaired Not Entitled to Vote (Deemed to Accept)
Class B2 g;l;:;r:nomy Clalms Against the EFIH Unimpaired Not Entitled to Vote (Deemed to Accept)
Class B3 EFIH First Lien Note Claims Impaired Entitled to Vote

Class B4 EFIH Second Lien Note Claims Impaired Entitled to Vote

Class B5 EFH LBO Note Guaranty Claims Impaired Entitled to Vote

Class B6 General Unsecured Clarms Against the EFIH Impaired Entitled to Vote

Debtors
Class B7 EFIH Debtor Intercompany Claims Unrrnparred/ Not Entitled to Vote (Deemed to Accept or
Imparred Rej ect)

 

 

 

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Class B8 Non-EFIH Debtor Intercompany Claims Impaired Not Entitled to Vote (Deemed to Rej ect)
Class B9 Interest in EFIH Unimpaired Not Entitled to Vote (Deemed to Accept)
Class B10 Interests in EFIH Finance Impaired Not Entitled to Vote (Deemed to Rej ect)

 

 

 

 

 

 

3. Class Identification for the TCEH Debtors.

The Plan constitutes a separate chapter 11 plan of reorganization for each TCEH Debtor, each of which
shall include the classifications set forth below. Subject to Article III.D of the Plan, to the extent that a Class
contains Claims or Interests only with respect to one or more particular TCEH Debtors, such Class applies solely to
such TCEH Debtor.

The following chart represents the classification of Claims and Interests for each TCEH Debtor pursuant to
the Plan.

          

Class Cl Other Secured Clalms Against the TCEH Unimpaired Not Entitled to Vote (Deemed to Accept)

 

 

 

 

 

Debtors
Class C2 g;};:;;nomy Clalms Agamst the TCEH Unimpaired Not Entitled to Vote (Deemed to Accept)
Class C3 TCEH First Lien Secured Claims Impaired Entitled to Vote
Class C4 TCEH Unsecured Debt Claims Impaired Entitled to Vote
General Unsecured Claims Against the TCEH . .
Class C5 Debtors Other Than EFCH Imparred Entitled to Vote
Class C6 General Unsecured Claims Against EFCH Impaired Not Entitled to Vote (Deemed to Reject)

 

Unimpaired/ Not Entitled to Vote (Deemed to Accept or

Class C7 TCEH Debtor Intercompany Claims Impaired Reject)

 

 

 

Class C8 Non-TCEH Debtor Intercompany Claims Impaired Not Entitled to Vote (Deemed to Rej ect)
Interests in TCEH Debtors Other Than TCEH Unimpaired/ Not Entitled to Vote (Deemed to Accept or
Class C9 . .
and EFCH Impaired Reject)
Class C10 Interests in TCEH and EFCH Impaired Not Entitled to Vote (Deemed to Reject)

 

 

 

 

 

 

4. Class Identification for the EFH Shared Services Debtors.

The Plan constitutes a separate chapter 11 plan of reorganization for each EFH Shared Services Debtor, each
of which shall include the classifications set forth below. Subject to Article III.D of the Plan, to the extent that a
Class contains Claims or Interests only with respect to one or more particular EFH Shared Services Debtors, such
Class applies solely such EFH Shared Services Debtor.

The following chart represents the classification of Claims and Interests for each EFH Shared Services
Debtor pursuant to the Plan.

  
        

 

 

 

 

 

; . 4 Otheced Claims Aginst the EF . . k k ii l j 4 4 j j ii
Class Dl Shared Services Debtors Unimpaired Not Entitled to Vote (Deemed to Accept)
Class D2 Othe.r Prlonty Clalms Agamst the EFH Shared Unimpaired Not Entitled to Vote (Deemed to Accept)

Services Debtors

 

 

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Class D3 General Unsecured Clalms Agamst the EFH Unimpaired Not Entitled to Vote (Deemed to Accept)

 

 

Shared Services Debtors

EFH Shared Services Debtor Intercompany Unimpaired/ Not Entitled to Vote (Deemed to Accept or
Class D4 . . .

Claims Imparred Reject)
Class D5 NOH'EFH Shared Servlces Debtor Impaired Not Entitled to Vote (Deemed to Reject)

Intercompany Claims

 

Unimpaired

Class D6 Interests in EFH Shared Services Debtors Not Entitled to Vote (Deemed to Accept)

 

 

 

 

 

 

B. Treatment of Claims and Interests

To the extent a Class contains Allowed Claims or Allowed Interests with respect to any Debtor, the
classification of Allowed Claims and Allowed Interests is specified below.

1. Class Al - Other Secured Claims Against the EFH Debtors.
(a) Classification: Class Al consists of Other Secured Claims Against the EFH Debtors.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class Al, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
Al, each such Holder shall receive, at the option of the applicable EFH Debtor(s) with
the consent of the Plan Sponsor, either:

(i) payment in full in Cash;

(ii) delivery of collateral securing any such Claim and payment of any interest
required under section 506(b) of the Bankruptcy Code;

(iii) Reinstatement of such Claim; or
(iv) other treatment rendering such Claim Unimpaired
(c) Voting.' Class Al is Unimpaired under the Plan. Holders of Claims in Class Al are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.
2. Class A2 - Other Priority Claims Against the EFH Debtors.
(a) Classijicai‘ion: Class A2 consists of Other Priority Claims Against the EFH Debtors.
(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class A2, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A2, each such Holder shall receive, at the option of the applicable EFH Debtor(s) with
the consent of the Plan Sponsor, either:

(i) payment in full in Cash; or

(ii) other treatment rendering such Claim Unimpaired.

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(C)

Voting: Class A2 is Unimpaired under the Plan. Holders of Claims in Class A2 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

3. Class A3 - Legacy General Unsecured Claims Against the EFH Debtors.

(a)

(b)

(C)

Classijication: Class A3 consists of Legacy General Unsecured Claims Against the
EFH Debtors.

Treatment Except to the extent that a Holder of an Allowed Claim in Class A3, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A3, each such Holder shall receive Reinstatement of such Claim on the EFH Effective
Date.

Voting.‘ Class A3 is Unimpaired under the Plan. Holders of Claims in Class A3 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

4. Class A4 - EFH Legacy Note Claims

(a)
(b)

(C)

(d)

Classification: Class A4 consists of EFH Legacy Note Claims

Allowance: Unless otherwise separately agreed by the Debtors, with the consent of the
Plan Sponsor (such consent not to be unreasonably withheld), and a Holder of a Class
A4 Claim, as Class A4 Claims the EFH Legacy Note Claims are Allowed in an
amount equal to the sum of: (i) the principal amount outstanding, plus accrued but
unpaid prepetition interest, under the EFH Legacy Note Indentures; and (ii) the amount
of any other Claims (but in any case excluding any postpetition interest or Makewhole
Claims) under the EFH Legacy Notes or EFH Legacy Note Indentures, if and to the
extent such Claims are Allowed before the EFH Effective Date.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class A4, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A4, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro Rata
share (calculated based on the aggregate amount of EFH Corp. Claims) of the EFH
Creditor Recovery Pool.

Voting: Class A4 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A4 are entitled to vote to accept or reject the Plan.

5. Class A5 - EFH Unexchanged Note Claims

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(a)
(b)

Classification: Class A5 consists of EFH Unexchanged Note Claims

Allowance: Unless otherwise separately agreed by the Debtors with the consent of the
Plan Sponsor, and a Holder of a Class A5 Claim, as Class A5 Claims the EFH
Unexchanged Note Claims are Allowed in an amount equal to the sum of: (i) the
principal amount outstanding, plus accrued but unpaid prepetition interest, under the
EFH 2019 Note Indenture and EFH 2020 Note Indenture, as applicable; and (ii) the

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amount of any other Claims (but in any case excluding any postpetition interest or
Makewhole Claims) under the EFH Unexchanged Notes or EFH Unexchanged Notes
Indentures if and to the extent such Claims are Allowed, Whether Allowed before, on,
or after the EFH Effective Date.

(c) Treatment: Except to the extent that a Holder, with the consent of the Plan Sponsor
(such consent not to be unreasonably Withheld), of an Allowed Claim in Class A5
agrees to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A5, each such Holder shall receive, up to the Allowed amount of its Claim:

(i) its Pro Rata share (calculated based on the aggregate amount of EFH Corp.
Claims) of the EFH Creditor Recovery Pool; and

(ii) if the Class A5 Claims constitute EFH Beneficiary Claims and solely to the
extent of any portion of its Allowed Claim that is not paid in full pursuant to the
preceding clause, its Pro Rata share of up to $5.8 million of the TCEH
Settlement Claim Tumover Distributions, if any.

(d) Voting.' Class A5 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A5 are entitled to vote to accept or reject the Plan; provided however, that
Class A5 must vote consistent with the Voting Indication to receive distributions if
any, under clause (c)(ii) above.

6. Class A6 - EFH LBO Note Primary Claims
(a) Classification: Class A6 consists of EFH LBO Note Primary Claims

(b) Allowance: Unless otherwise separately agreed by the Debtors with the consent of the
Plan Sponsor, and a Holder of a Class A6 Claim, as Class A6 Claims the EFH LBO
Note Primary Claims are Allowed in an amount equal to the sum of: (i) the principal
amount outstanding, plus accrued but unpaid prepetition interest, under the EFH LBO
Note Indenture; and (ii) the amount of any other Claims (but in any case excluding any
postpetition interest or Makewhole Claims) under the EFH LBO Notes or EFH LBO
Note Indenture, if and to the extent such Claims are Allowed before the EFH Effective
Date.

(c) Treatment Except to the extent that a Holder of an Allowed Claim in Class A6, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A6, each such Holder shall receive, up to Allowed amount of its Claim, its Pro Rata
share (calculated based on the aggregate amount of EFH Corp. Claims) of the EFH
Creditor Recovery Pool.

provided however, that in no event shall a Holder of an Allowed Claim in Class A6
receive more than a single satisfaction of such Allowed Claim, including any recovery

received on account of an Allowed Claim in Class B5.

(d) Voting: Class A6 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A6 are entitled to vote to accept or reject the Plan.

7. Class A7 - EFH Swap Claims

(a) Classification: Class A7 consists of EFH Swap Claims

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(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class A7, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A7, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro Rata
share (calculated based on the aggregate amount of EFH Corp. Claims) of the EFH
Creditor Recovery Pool.

(c) Voting: Class A7 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A7 are entitled to vote to accept or reject the Plan.

8. Class A8 - EFH Non-Qualified Benefit Claims
(a) Classification: Class A8 consists of EFH Non-Qualified Benefit Claims.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class A8, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A8, each such Holder shall receive, up to the Allowed amount of its Claim:

(i) its Pro Rata share (calculated based on the aggregate amount of EFH Corp.
Claims) of the EFH Creditor Recovery Pool; and

(ii) if the Class A8 Claims constitute EFH Beneficiary Claims and solely to the
extent of any portion of its Allowed Claim that is not paid in full pursuant to the
preceding clause, its Pro Rata share of up to $30 million in Cash on account of
the TCEH Settlement Claim Turnover Distributions, if any.

(c) Voting.' Class A8 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A8 are entitled to vote to accept or reject the Plan; provided however, that
Class A8 must vote consistent with the Voting Indication to receive distributions if
any, under clause (b)(ii) above.

9. Class A9 - General Unsecured Claims Against EFH Corp.
(a) Classification: Class A9 consists of General Unsecured Claims Against EFH Corp.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class A9, With
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A9, each such Holder shall receive, up to the Allowed amount of its Claim:

(i) its Pro Rata share (calculated based on the aggregate amount of EFH Corp.
Claims) of the EFH Creditor Recovery Pool; and

(ii) if the Class A9 Claims constitute EFH Beneficiary Claims and solely to the
extent of any portion of its Allowed Claim that is not paid in full pursuant to the
preceding clause, its Pro Rata share of up to $2 million of the TCEH Settlement
Claim Turnover Distributions, if any.

(c) Voting.' Class A9 is Impaired under the Plan. Therefore, Holders of allowed Claims in
Class A9 are entitled to vote to accept or reject the Plan; provided however, that Class
A9 must vote consistent with the Voting Indication to receive distributions if any,

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under clause (b)(ii) above.
10. Class A10 - General Unsecured Claims Against the EFH Debtors Other Than EFH Corp.

(a) Classijication: Class A10 consists of General Unsecured Claims Against the EFH
Debtors Other Than EFH Corp.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class A10, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
A10, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro
Rata share (calculated based on the aggregate amount of EFH Corp. Claims) of the
EFH Creditor Recovery Pool.

(c) Voting: Class A10 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class A10 are entitled to vote to accept or reject the Plan.

11. Class All - Tex-La Guaranty Claims
(a) Classification: Class A11 consists of the Tex-La Guaranty Claims

(b) Treatment Except to the extent that a Holder of an Allowed Claim in Class Al 1, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
All, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro
Rata share (calculated based on the aggregate amount of EFH Corp. Claims) of the
EFH Creditor Recovery Pool; provided however, that in no event shall a Holder of an
Allowed Class All Claim receive more than a full recovery on account of its Claim,
including any recovery as an Allowed Class Cl Claim,

(c) Voting.' Class A11 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class All are entitled to vote to accept or reject the Plan.

12. Class A12 - TCEH Settlement Claim,
(a) Classijication: Class A12 consists of the TCEH Settlement Claim.

(b) Allowance: Unless otherwise separately agreed by the Debtors, with the consent of the
Plan Sponsor, and the TCEH Supporting First Lien Creditors the TCEH Settlement
Claim is Allowed in the amount of $700 million.

(c) Treatment: Except to the extent that the TCEH Supporting First Lien Creditors, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agree
to a less favorable treatment of the TCEH Settlement Claim, in full and final
satisfaction, settlement, release, and discharge of and in exchange for the TCEH
Settlement Claim, TCEH or Reorganized TCEH, as applicable, shall receive, up to the
Allowed amount of its Claim, its Pro Rata share (calculated based on the aggregate
amount of EFH Corp. Claims) of the EFH Creditor Recovery Pool less any TCEH
Settlement Claim Turnover Distributions; provided however, that such recoveries shall
be distributed directly to the Holders of Allowed Class C3 Claims as set forth in
Article 111.B.29, and TCEH or Reorganized TCEH, as applicable, shall never have
control, possession, title, or ownership of the recovery for any purpose (except that
Reorganized TCEH may nominally hold the right to receive recoveries under the

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TCEH Settlement Claim but the Holders of Allowed TCEH First Lien Secured Claims
will hold all legal and equitable entitlement to receive recoveries under the TCEH
Settlement Claim).

(d) Voting.' Class A12 is Impaired under the Plan. Therefore, the TCEH Supporting First
Lien Creditors are entitled to vote to accept or reject the Plan on behalf of TCEH.

13. Class A13 - EFH Debtor Intercompany Claims
(a) Classijication: Class A13 consists of EFH Debtor Intercompany Claims

(b) Treatment: EFH Debtor Intercompany Claims shall be, at the option of the EFH
Debtors with the consent of the Plan Sponsor, either:

(i) Reinstated; or
(ii) canceled and released without any distribution on account of such Claims;

provided however, that Class A13 Claims of EFH Corp., LSGT Gas Company LLC,
EECI, Inc., EEC Holdings Inc., and LSGT SACROC, Inc. against one or more of EFH
Corp., LSGT Gas Company LLC, EECI, Inc., EEC Holdings Inc., and LSGT
SACROC, Inc. shall be Reinstated.

(c) Voting: Holders of Claims in Class A13 are conclusively deemed to have accepted or
rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

14. Class A14 - Non-EFH Debtor Intercompany Claims
(a) Classification: Class A14 consists of Non-EFH Debtor Intercompany Claims

(b) Treatment Non-EFH Debtor Intercompany Claims shall be canceled and released
without any distribution on account of such Claims.

(c) Voting: Class A14 is lrnpaired under the Plan. Holders of Claims in Class A14 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the

Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

15. Class A15 - Interests in the EFH Debtors Other Than EFH Corp.

(a) Classificaiion: Class A15 consists of Interests in the EFH Debtors Other Than EFH
Corp.

(b) Treatment: Interests in the EFH Debtors Other Than EFH Corp. shall be, at the option
of the EFH Debtors With the consent of the Plan Sponsor, either:

(i) Reinstated; or
(ii) canceled and released without any distribution on account of such Interests;

provided however, that Interests in Debtors LSGT Gas Company LLC, EECI, Inc.,
EEC Holdings Inc., and LSGT SACROC, Inc. shall be Reinstated.

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(C)

Voting: Holders of Interests in Class A15 are conclusively deemed to have accepted or
rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

16. Class A16 - Interests in EFH Corp.

(a)
(b)

(C)

Classijication: Class A16 consists of Interests in EFH Corp.

Treatment: Interests in EFH Corp. shall be canceled and released without any
distribution on account of such Interests

Voting: Class A16 is Impaired under the Plan. Holders of Interests in Class A16 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

17. Class Bl - Other Secured Claims Against the EFIH Debtors.

(a)
(b)

(C)

Classijication: Class Bl consists of Other Secured Claims Against the EFIH Debtors.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class Bl, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
Bl, each such Holder shall receive, at the option of the applicable EFIH Debtor(s) with
the consent of the Plan Sponsor, either:

(i) payment in full in Cash;

(ii) delivery of collateral securing any such Claim and payment of any interest
required under section 506(b) of the Bankruptcy Code;

(iii) Reinstatement of such Claim; or

(iv) other treatment rendering such Claim Unimpaired.
Voting: Class Bl is Unimpaired under the Plan. Holders of Claims in Class Bl are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the

Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

18. Class B2 - Other Priority Claims Against the EFIH Debtors.

(a)
(b)

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Classification: Class B2 consists of Other Priority Claims Against the EFlH Debtors.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class B2, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
B2, each such Holder shall receive, at the option of the applicable EFIH Debtor(s) with
the consent of the Plan Sponsor, either:

(i) payment in full in Cash; or

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(C)

(ii)

other treatment rendering such Claim Unimpaired.

Voting: Class B2 is Unimpaired under the Plan. Holders of Claims in Class B2 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

19. Class B3 - EFIH First Lien Note Claims

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(a)
(b)

(C)

(d)

Classijication.' Class B3 consists of EFIH First Lien Note Claims if any.

Allowance: As Class B3 Claims the EFIH First Lien Note Claims are Allowed in an
amount equal to the sum of:

(i)

(ii)

(iii)

(iv)

any accrued but unpaid prepetition interest (including any Additional Interest
and interest on interest) at the applicable rate set forth in, and calculated in
accordance with, the EFIH First Lien Notes, the EFIH First Lien 2017 Note
Indenture, the EFIH First Lien 2020 Note Indenture, and/or any related
agreement, as applicable;

any accrued but unpaid postpetition interest (including any Additional Interest
and interest on interest) at the applicable rate set forth in, and calculated in
accordance with, the EFIH First Lien Notes the EFIH First Lien 2017 Note
Indenture, the EFIH First Lien 2020 Note Indenture, and/or any related
agreement, as applicable, through the closing date of the EFIH First Lien DIP
Facility (excluding interest on interest, which shall be through the EFH Effective
Date);

all reasonable and documented fees and expenses and indemnification claims
Whether incurred or accruing before, on, or after the EFH Effective Date,
including those reasonable and documented fees and expenses and
indemnification claims incurred in connection with any appeal, remand, or other
litigation of any Makewhole Claims (a) that (with respect only to such fees
expenses and claims incurred prior to the EFH Effective Date) are allowed under
section 506(b) of the Bankruptcy Code and (b) that are owed under the EFIH
First Lien Notes the EFIH First Lien 2017 Note Indenture, the EFIH First Lien
2020 Note Indenture, and/or any related agreement (and interest thereon to the
extent provided by such notes indentures or agreements), as applicable;

the amount of any other Claims including any Makewhole Claims and interest
thereon (whether accruing before, on or after the EFH Effective Date, as
calculated in accordance with the EFIH First Lien Notes the EFIH First Lien
2017 Note Indenture, the EFIH First Lien 2020 Note Indenture, and/or any
related agreement, as applicable, or otherwise as determined by Final Order) of
the EFlH First Lien Notes Trustee or Holders of EFIH First Lien Notes if and to
the extent such Claims are held to be allowed by a court of competent
jurisdiction pursuant to a Final Order, whether entered before, on, or after the
EFH Effective Date.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class B3, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, each such Holder shall receive, up
to the Allowed amount of its Claim, payment in full in Cash.

Voting: Class B3 is Impaired under the Plan. Therefore, Holders of Allowed Claims in

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Class B3 are entitled to vote to accept or reject the Plan.
20. Class B4 - EFIH Second Lien Note Claims
(a) Classification: Class B4 consists of EFIH Second Lien Note Claims

(b) Allowance: Unless otherwise separately agreed by the Debtors with the consent of the
Plan Sponsor, and a Holder of a Class B4 Claim, as Class B4 Claims the EFIH Second
Lien Note Claims are Allowed in an amount equal to the sum of:

(i) the principal amount outstanding, plus accrued but unpaid prepetition interest
(including any Additional Interest and interest on interest) at the applicable rate
set forth in7 and calculated in accordance with, the EFIH Second Lien Notes the
EFIH Second Lien Note Indenture, and/or any related agreement, as applicable;

(ii) any accrued but unpaid postpetition interest (including any Additional Interest
and interest on interest) on such principal at the applicable rate set forth in, and
calculated in accordance with, the EFIH Second Lien Notes the EFIH Second
Lien Note Indenture, and/or any related agreement, as applicable, through the
EFH Effective Date;

(iii) all reasonable and documented fees and expenses and indemnification claims
Whether incurred or accruing before, on, or after the EFH Effective Date,
including those reasonable and documented fees and expenses and
indemnification claims incurred in connection with any appeal, remand, or other
litigation of any Makewhole Claims (a) that (with respect to such fees
expenses and claims incurred prior to the EFH Effective Date) are allowed
under Section 506(b) of the Bankruptcy Code and (b) that are owed under the
EFIH Second Lien Notes, the EFIH Second Lien Note Indenture, and/or any
related agreement (and interest thereon to the extent provided by such notes
indentures or agreements), as applicable; and

(iv) the amount of any other Claims, including any Makewhole Claims and interest
thereon (whether accruing before, on or after the EFH Effective Date, as
calculated in accordance with the EFIH Second Lien Notes the EFIH Second
Lien Note Indenture, and/or any related agreement, as applicable, or otherwise
as determined by Final Order) of the EFIH Second Lien Notes Trustee or
Holders of EFIH Second Lien Notes if and to the extent such Claims are held to
be allowed by a court of competent jurisdiction pursuant to a Final Order,
whether entered before, on, or after the EFH Effective Date.

(c) Treatment: Except to the extent that a Holder of an Allowed Claim in Class B4, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees

to a less favorable treatment of its Allowed Claim, each such Holder shall receive, up
to the Allowed amount of its Claim, payment in full in Cash.

(d) Voting: Class B4 is Impaired under the Plan. Therefore, Holders of Allowed Claims in
Class B4 are entitled to vote to accept or reject the Plan.

21. Class B5 - EFH LBO Note Guaranty Claims
(a) Classifzcation: Class B5 consists of EFH LBO Note Guaranty Claims

(b) Allowance: Unless otherwise separately agreed by the Debtors, with the consent of the
Plan Sponsor, and a Holder of a Class B5 Claim, as Class B5 Claims the EFH LBO

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(C)

(d)

Note Guaranty Claims are Allowed in an amount equal to the sum of: (i) the principal
amount outstanding, plus accrued but unpaid prepetition interest, under the EFH LBO
Note Indenture; (ii) accrued postpetition interest on such principal at the Federal
Judgment Rate; and (iii) the amount of any other Claims (but in any case excluding any
Makewhole Claims) under the EFH LBO Notes or EFH LBO Note Indentures, if and to
the extent such Claims are Allowed, whether Allowed before, on or after the EFH
Effective Date.

Treatment Except to the extent that a Holder of an Allowed Claim in Class B5, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
B5, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro Rata
share (calculated based on the aggregate amount of Allowed EFH LBO Note Guaranty
Claims and Allowed General Unsecured Claims Against the EFIH Debtors) of the
EFIH Unsecured Creditor Recovery Pool; provided however, that in no event shall a
Holder of an Allowed Claim in Class B5 receive more than a single satisfaction of such
Allowed Claim, including any recovery received on account of an Allowed Claim in
Class A6.

Voting.' Class B5 is Impaired under the Plan. Therefore, Holders of Allowed Claims in
Class B5 are entitled to vote to accept or reject the Plan.

22. Class B6 - General Unsecured Claims Against the EFIH Debtors.

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(a)

(b)

(C)

Classification: Class B6 consists of General Unsecured Claims Against the EFIH
Debtors.

Allowance: Unless otherwise separately agreed by the Debtors with the consent of the
Plan Sponsor, and a Holder of a Class B6 Claim, as Class B6 Claims the EFIH
Unsecured Note Claims are Allowed in an amount equal to the sum of: (i) the
principal amount outstanding in the amount of $1,568,249,000; (ii) accrued but unpaid
prepetition interest in the amount of $81,115,347; (iii) accrued postpetition interest on
the principal amount outstanding as of the Petition Date at the Federal Judgment Rate;
and (iv) the amount of any other Claims (but in any case excluding any Makewhole
Claims) under the EFIH Unsecured Notes or EFIH Unsecured Note Indentures, if and
to the extent such Claims are Allowed, whether Allowed before, on or after the EFH
Effective Date. Notwithstanding anything to the contrary in the preceding sentence,
any Class B6 Claim derived from or based upon the EFIH First Lien Notes (excluding
any Makewhole Claims) or EFIH Second Lien Notes (excluding any Makewhole
Claims) shall be Allowed if and to the extent such Claim would be an Allowed Class
B3 Claim under Article III.B.19 of the Plan or an Allowed Class B4 Claim under
Article III.B.20 of the Plan, respectively, if the terms EFIH First Lien Note Claims or
EFIH Second Lien Note Claims as applicable, were defined to include Unsecured
Claims derived from or based upon the EFIH First Lien Notes or EFIH Second Lien
Notes as applicable.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class B6, with
the consent of the Plan Sponsor (such consent not to be unreasonably withheld), agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
B6, each such Holder shall receive, up to the Allowed amount of its Claim, its Pro Rata
share (calculated based on the aggregate amount of Allowed EFH LBO Note Guaranty
Claims and Allowed General Unsecured Claims Against the EFIH Debtors) of the
EFIH Unsecured Creditor Recovery Pool.

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(d)

Voting: Class B6 is Impaired under the Plan. Therefore, Holders of Allowed Claims in
Class B6 are entitled to vote to accept or reject the Plan.

23. Class B7 - EFIH Debtor Intercompany Claims

(a)
(b)

(C)

Classijication: Class B7 consists of EFIH Debtor Intercompany Claims

Treatment: EFIH Debtor Intercompany Claims shall be, at the option of the EFIH
Debtors with the consent of the Plan Sponsor, either:

(i) Reinstated; or

(ii) canceled and released without any distribution on account of such Claims

Voting: Holders of Claims in Class B7 are conclusively deemed to have accepted or
rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

24, Class B8 - Non-EFIH Debtor Intercompany Claims

(a)
(b)

(C)

Classifcation: Class B8 consists of Non-EFIH Debtor Intercompany Claims

Treatment Non-EFIH Debtor Intercompany Claims shall be canceled and released
Without any distribution on account of such Claims.

Voting: Class B8 is Impaired under the Plan. Holders of Claims in Class B8 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

25. Class B9 - Interest in EFlH.

(a)
(b)
(C)

Classijication: Class B9 consists of the Interest in EFlH.
Treatment: The Interest in EFIH shall be Reinstated.

Voting: Class B9 is Unimpaired under the Plan. The Holder of the Interest in Class B9
is conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holder is not entitled to vote to accept or reject the
Plan.

26. Class B10 - Interests in EFlH Finance.

(a)
(b)

(C)

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Classijication: Class B10 consists of Interests in EFIH Finance.

Treatment: Interests in EFIH Finance shall be canceled and released without any
distribution on account of such Interests

Voting: Class B10 is Impaired under the Plan. Holders of Interests in Class B10 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

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27. Class Cl - Other Secured Claims Against the TCEH Debtors.
(a) Classification: Class Cl consists of Other Secured Claims Against the TCEH Debtors.

(b) Treatment Except to the extent that a Holder of an Allowed Claim in Class Cl agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
Cl, each such Holder shall receive, at the option of the applicable TCEH Debtor(s)
with the consent of the TCEH Supporting First Lien Creditors (such consent not to be
unreasonably Withheld), either:

(i) payment in full in Cash and payment of any interest required under section
506(b) and section 1129(b)(2)(i)(11) of the Bankruptcy Code;

(ii) delivery of collateral securing any such Claim and payment of any interest
required under section 506(b) and section 1129(b)(2)(i)(11) of the Bankruptcy
Code;

(iii) Reinstatement of such Claim; or

(iv) other treatment rendering such Claim Unimpaired;

provided however, that the Tex-La Obligations may receive treatment as Allowed Class
Cl Claims on or before the TCEH Effective Date with the prior written consent of the
TCEH Supporting First Lien Creditors

(c) Voting: Class Cl is Unimpaired under the Plan. Holders of Claims in Class Cl are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

28. Class C2 - Other Priority Claims Against the TCEH Debtors.
(a) Classification: Class C2 consists of Other Priority Claims Against the TCEH Debtors.
(b) Treatmeni: Except to the extent that a Holder of an Allowed Claim in Class C2 agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
C2, each such Holder shall receive, at the option of the applicable TCEH Debtor(s)
with the consent of the TCEH Supporting First Lien Creditors (such consent not to be
unreasonably withheld), either:
(i) payment in full in Cash; or
(ii) other treatment rendering such Claim Unimpaired
(c) Voting: Class C2 is Unimpaired under the Plan. Holders of Claims in Class C2 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.
29. Class C3 - TCEH First Lien Secured Claims

(a) Classijication: Class C3 consists of TCEH First Lien Secured Claims.

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(b) Allowance: As Class C3 Claims (i) the TCEH Credit Agreement Claims are Allowed
in the amount of $22,863,271,257; (ii) the TCEH First Lien Note Claims are Allowed
in the amount of $1,815,965,278; (iii) the TCEH First Lien Swap Claims and TCEH
First Lien Commodity Hedge Claims are Allowed in an aggregate amount no less than
$1,230,817,606.94; and (iv) any Claims of the TCEH First Lien Administrative Agent,
the TCEH First Lien Collateral Agent or the TCEH First Lien Notes Trustee for fees
expenses or indemnification obligations arising under and pursuant to the TCEH
Credit Agreement, the TCEH First Lien Notes Indenture, the TCEH First Lien Interest
Rate Swaps, the TCEH First Lien Commodity Hedges or the TCEH First Lien
Intercreditor Agreement, as applicable, are Allowed in an amount to be determined

(c) Treatment: Except to the extent that a Holder of an Allowed Claim in Class C3 agrees
to a less favorable treatment of its Allowed Claim (in a writing executed by such
Holder after the Petition Date), in full and final satisfaction, settlement, release, and
discharge of and in exchange for each Allowed Claim in Class C37 subject to Article
111.B.29(d), each such Holder thereof shall receive its Pro Rata share (which, for the
avoidance of doubt, shall be based on the Allowed amounts of such Claims as of the
Petition Date as set forth in the Plan) of:

(i) If the Spin-Off is effectuated pursuant to the terms and conditions set forth in
Article IV.B.2:

A. 100% of the Reorganized TCEH Common Stock (following the Basis
Step-Up), subject to dilution after the Distribution only on account of
the Reorganized TCEH Debtor Management Incentive Plan;

B. 100% of the (a) TCEH Debtors’ Cash on hand and (b) net Cash
proceeds from the issuance of the New Reorganized TCEH Debt (or, at
the TCEH Supporting First Lien Creditors’ election, all or a portion of
such New Reorganized TCEH Debt) and the Spin-Off Preferred Stock
Sale, in each case after funding any Cash distributions required to be
made by the TCEH Debtors under the Plan and providing for adequate
post-TCEH Effective Date liquidity for TCEH as determined by the
TCEH Debtors with the reasonable consent of the TCEH Supporting
First Lien Creditors;

C. the Spin-Off TRA Rights (if any), subject to such Holder’s completion
and timely submission of the TRA Inforrnation Form; and

D. any proceeds from the TCEH Settlement Claim if determined as of the
TCEH Effective Date, and to the extent not determined as of the TCEH
Effective Date, the right to receive recoveries under the TCEH
Settlement Claim; provided that following the TCEH Effective Date,
Reorganized TCEH will nominally hold the right to receive recoveries
under the TCEH Settlement Claim but the Holders of Allowed TCEH
First Lien Secured Claims will hold all legal and equitable entitlement
to receive recoveries under the TCEH Settlement Claim,

(ii) If the Taxable Separation is effectuated pursuant to the terms and conditions set
forth in Article IV.B.2:

A. 100% of the Reorganized TCEH Common Stock, subject to dilution
only on account of the Reorganized TCEH Debtor Management
Incentive Plan;

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(d)

B. 100% of the (1) TCEH Debtors’ Cash on hand and (2) the net Cash
proceeds from the New Reorganized TCEH Debt (or, at the TCEH
Supporting First Lien Creditors’ election, all or a portion of such New
Reorganized TCEH Debt) and issuance of certain stock or securities in
connection with the Taxable Separation, in each case after funding any
Cash distributions required to be made by the TCEH Debtors under the
Plan and providing for adequate post-TCEH Effective Date liquidity for
TCEH as determined by the TCEH Debtors with the reasonable consent
of the TCEH Supporting First Lien Creditors;

C. the Taxable Separation TRA Rights (if any), subject to such Holder’s
completion and timely submission of the TRA Inforrnation Form; and

D. any proceeds from the TCEH Settlement Claim if determined as of the
TCEH Effective Date, and to the extent not determined as of the TCEH
Effective Date, the right to receive recoveries under the TCEH
Settlement Claim; provided that following the TCEH Effective Date,
Reorganized TCEH will nominally hold the right to receive recoveries
under the TCEH Settlement Claim but the Holders of Allowed TCEH
First Lien Secured Claims will hold all legal and equitable entitlement
to receive recoveries under the TCEH Settlement Claim,

In addition, on the TCEH Effective Date the TCEH First Lien Agent will be deemed to
have delivered, pursuant to Section 5.01 of the TCEH Second Lien Intercreditor
Agreement7 any notice necessary to cause the automatic release and discharge of any
and all Liens on the assets of the TCEH Debtors that secure the repayment of amounts
due in respect of the TCEH Second Lien Notes

Allocation.' Unless resolved before Confirrnation, the TCEH First Lien Notes Trustee
and/or the Holders of TCEH First Lien Claims will continue to seek entry of the TCEH
First Lien Creditor Plan Distribution Allocation Order resolving the TCEH First Lien
Creditor Plan Distribution Allocation Dispute through an adjudication of the TCEH
First Lien Note Intercreditor Action or otherwise. If a TCEH First Lien Creditor Plan
Distribution Allocation Order is entered prior to the TCEH Effective Date and such
order provides that Holders of Allowed Class C3 Claims shall receive the TCEH First
Lien Creditor Distributions on a basis other than Pro Rata, then pursuant to section
510(a) of the Bankruptcy Code, any such TCEH First Lien Creditor Distribution that is
subject to such TCEH First Lien Creditor Plan Distribution Allocation Order shall be
distributed among the Holders of Allowed Class C3 Claims in accordance with such
TCEH First Lien Creditor Plan Distribution Allocation Order; provided however, that
if a TCEH First Lien Creditor Plan Distribution Allocation Order has not been entered
by the TCEH Effective Date, then the TCEH Debtors shall establish a reserve (in an
amount to be determined by the TCEH Debtors, with the consent of each of the TCEH
First Lien Agent, the TCEH Supporting First Lien Creditors, the TCEH First Lien
Notes Trustee, and any other parties to the TCEH First Lien Note Intercreditor Action)
solely With respect to any TCEH First Lien Creditor Distributions that remain subject
to the TCEH First Lien Creditor Plan Distribution Allocation Dispute, with such
reserved amounts to be distributed on a Pro Rata basis after entry of a TCEH First Lien
Creditor Plan Distribution Allocation Order, unless and to the extent such order
provides that Holders of Allowed Class C3 Claims are entitled to a distribution of any
TCEH First Lien Creditor Distributions on a basis other than Pro Rata, in which case,
pursuant to section 510(a) of the Bankruptcy Code, any such TCEH First Lien Creditor
Distribution that is subject to such TCEH First Lien Creditor Plan Distribution
Allocation Order shall be distributed among the Holders of Allowed Class C3 Claims
in accordance with such TCEH First Lien Creditor Plan Distribution Allocation Order.
Nothing in this Plan shall preclude any party from seeking enforcement of the TCEH

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(6)

First Lien Creditor Adequate Protection Payment Allocation Order or distribution of
the Holdback Amount (as defined in the Cash Collateral Order) under the Cash
Collateral Order. For the avoidance of doubt, nothing in this Plan shall (i) require any
Debtor or any other party (including, without limitation, the TCEH First Lien
Administrative Agent, the TCEH First Lien Collateral Agent, or any holder of TCEH
First Lien Claims), to establish any reserve with respect to any distributions that are
subject to the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute or
(ii) impair, prejudice, release, compromise or waive any claims any Holder of Allowed
Class C3 Claims may have against one or more other Holders of Allowed Class C3
Claims (other than the TCEH First Lien Agent, except in the TCEH First Lien Agent’s
capacity as a nominal defendant to declaratory judgment claims in respect of which no
monetary recovery is sought) pursuant to the TCEH First Lien Creditor Deposit L/C
Collateral Allocation Dispute.

Voting: Class C3 is Impaired under the Plan. Therefore, Holders of Allowed Claims in
Class C3 are entitled to vote to accept or reject the Plan.

30. Class C4 - TCEH Unsecured Debt Claims

(a)
(b)

(C)

(d)

Classification: Class C4 consists of TCEH Unsecured Debt Claims

Allowance: As Class C4 Claims (i) the TCEH First Lien Deficiency Claims are
Allowed in the amount of $13.2 billion; (ii) the TCEH Second Lien Note Claims are
Allowed in the amount of $1,648,597,521; (iii) the TCEH Unsecured Note Claims are
Allowed in the amount of $5,125,775,323; and (iv) the PCRB Claims are Allowed in
the Amount of $881,496,233.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class C4 agrees
to a less favorable treatment of its Allowed Claim, and subject to Article IV.B.12 of the
Plan, in full and final satisfaction, settlement, release, and discharge of and in exchange
for each Allowed Claim in Class C4, each such Holder shall receive its Pro Rata
(calculated based on the aggregate amount of Allowed Class C4 Claims and Allowed
Class C5 Claims) share of the TCEH Cash Payment.

Voting: Class C4 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class C4 are entitled to vote to accept or reject the Plan.

31. Class C5 - General Unsecured Claims Against the TCEH Debtors Other Than EFCH.

(a)

(b)

(C)

Classification: Class C5 consists of General Unsecured Claims Against the TCEH
Debtors Other Than EFCH.

Treatment: Except to the extent that a Holder of an Allowed Claim in Class C5 agrees
to a less favorable treatment of its Allowed Claim, and subject to Article IV.B.12 of the
Plan, in full and final satisfaction, settlement, release, and discharge of and in exchange
for each Allowed Claim in Class C5, each such Holder shall receive its Pro Rata
(calculated based on the aggregate amount of Allowed Class C4 Claims and Allowed
Class C5 Claims) share of the TCEH Cash Payment.

Voting: Class C5 is Impaired under the Plan. Therefore, Holders of Allowed Claims
in Class C5 are entitled to vote to accept or reject the Plan.

32. Class C6 - General Unsecured Claims Against EFCH.

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(a)

Classification: Class C6 consists of General Unsecured Claims Against EFCH.

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(b)

(C)

Treatment General Unsecured Claims Against EFCH shall be canceled and released
without any distribution on account of such Claims

Voting: Class C6 is Impaired under the Plan. Holders of Claims in Class C6 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

33. Class C7 - TCEH Debtor Intercompany Claims

(a)
(b)

(C)

Classification: Class C7 consists of TCEH Debtor Intercompany Claims

Treatment: TCEH Debtor Intercompany Claims shall be, at the option of the
applicable TCEH Debtor(s) with the consent of the TCEH Supporting First Lien
Creditors (such consent not to be unreasonably withheld), either:

(i) Reinstated; or
(ii) canceled and released without any distribution on account of such Claims;

provided however, that TCEH Debtor Intercompany Claims against each of EFCH,
TCEH, or TCEH Finance and any TCEH Debtor Intercompany Claim derived from or
based upon the Repurchased PCRBs shall be canceled and released without any
distribution on account of such Claims

Voting: Holders of Claims in Class C7 are conclusively deemed to have accepted or
rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

34. Class C8 - Non-TCEH Debtor Intercompany Claims

(a)
(b)

(C)

Classification: Class C8 consists of Non-TCEH Debtor Intercompany Claims

Treatment Non-TCEH Debtor Intercompany Claims shall be canceled and released
without any distribution on account of such Claims

Voting: Class C8 is Impaired under the Plan. Holders of Claims in Class C8 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

35 . Class C9 - Interests in TCEH Debtors Other Than TCEH and EFCH.

(a)

(b)

(C)

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Classi/ication: Class C9 consists of Interests in TCEH Debtors Other Than TCEH and
EFCH.

Treatment: Interests in TCEH Debtors Other Than TCEH and EFCH shall be with the
consent of the TCEH Supporting First Lien Creditors, either:

(i) Reinstated; or
(ii) canceled and released Without any distribution on account of such Interests

Voting: Holders of Interests in Class C9 are conclusively deemed to have accepted or

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rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

36. Class ClO - Interests in TCEH and EFCH.
(a) Classification: Class C10 consists of Interests in TCEH and EFCH.

(b) Treatment: Interests in TCEH and EFCH shall be canceled and released without any
distribution on account of such Interests

(c) Voting: Class C10 is Impaired under the Plan. Holders of Interests in Class ClO are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

37. Class Dl - Other Secured Claims Against the EFH Shared Services Debtors.

(a) Classi/icalion: Class Dl consists of Other Secured Claims Against the EFH Shared
Services Debtors.

(b) Treatmeni: Except to the extent that a Holder of an Allowed Claim in Class Dl agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
Dl, each such Holder shall receive, at the option of the applicable EFH Shared
Services Debtor(s) either:

(i) payment in full in Cash;

(ii) delivery of collateral securing any such Claim and payment of any interest
required under section 506(b) of the Bankruptcy Code;

(iii) Reinstatement of such Claim; or
(iv) other treatment rendering such Claim Unimpaired.
(c) Voting: Class Dl is Unimpaired under the Plan. Holders of Claims in Class Dl are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.
38. Class D2 - Other Priority Claims Against the EFH Shared Services Debtors.

(a) Classification: Class D2 consists of Other Priority Claims Against the EFH Shared
Services Debtors.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class D2 agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
D2, each such Holder shall receive, at the option of the applicable EFH Shared
Services Debtor(s), either:

(i) payment in full in Cash; or

(ii) other treatment rendering such Claim Unimpaired.

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(c) Voting: Class D2 is Unimpaired under the Plan. Holders of Claims in Class D2 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

39. Class D3 - General Unsecured Claims Against the EFH Shared Services Debtors.

(a) Classification: Class D3 consists of General Unsecured Claims Against the EFH
Shared Services Debtors.

(b) Treatment: Except to the extent that a Holder of an Allowed Claim in Class D3 agrees
to a less favorable treatment of its Allowed Claim, in full and final satisfaction,
settlement, release, and discharge of and in exchange for each Allowed Claim in Class
D3, each such Holder shall receive, at the option of the applicable EFH Shared
Services Debtor(s), either:

(i) payment in full in Cash;
(ii) Reinstatement of such Claim; or
(iii) other treatment rendering such Claim Unimpaired
(c) Voting: Class D3 is Unimpaired under the Plan. Holders of Claims in Class D3 are
conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject

the Plan.

40, Class D4 - EFH Shared Services Debtor Intercompany Claims

(a) Classification: Class D4 consists of EFH Shared Services Debtor Intercompany
Claims
(b) Treatmeni: EFH Shared Services Debtor Intercompany Claims shall be, at the option

of the applicable EFH Shared Services Debtor(s), either:

(i) Reinstated; or
(ii) canceled and released without any distribution on account of such Claims
(c) Voting: Holders of Claims in Class D4 are conclusively deemed to have accepted or

rejected the Plan pursuant to section 1126(f) or section 1126(g) of the Bankruptcy
Code, respectively. Therefore, such Holders are not entitled to vote to accept or reject
the Plan.

41. Class D5 - Non-EFH Shared Services Debtor Intercompany Claims

(a) Classijicaiion: Class D5 consists of Non-EFH Shared Services Debtor Intercompany
Claims

(b) Treatment: Non-EFH Shared Services Debtor Intercompany Claims shall be canceled
and released without any distribution on account of such Claims

(c) Voting: Class D5 is lrnpaired under the Plan. Holders of Claims in Class D5 are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject

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the Plan.

42. Class D6 - Interests in the EFH Shared Services Debtors.

(a) Classijication: Class D6 consists of Interests in the EFH Shared Services Debtors.
(b) Treatmenl: Interests in the EFH Shared Services Debtors shall be Reinstated.
(c) Voting: Holders of Interests in Class D6 are conclusively deemed to have accepted the

Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such Holders are
not entitled to vote to accept or reject the Plan.

C. Special Provision Governing Unimpaired Claims.

Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ rights in respect
of any Unimpaired Claims including all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Unimpaired Claims

D. Elimination of Vacani Classes

Any Class of Claims or Interests that, as of the commencement of the Confirmation Hearing, does not have
at least one Holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
pursuant to the Disclosure Statement Order shall be considered vacant, deemed eliminated from the Plan for
purposes of voting to accept or reject the Plan, and disregarded for purposes of determining Whether the Plan
satisfies section 1129(a)(8) of the Bankruptcy Code with respect to that Class

E. Confirmation Pursuant to Sections 1129(a)(10) and 1 129(1)) ofthe Bankruptcy Code.

Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall
seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
Class of Claims or Interests

F. Controversy Concerning Impairrnent.

If a controversy arises as to Whether any Claims or Interests or any Class of Claims or Interests are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

G. Subordinated Claims and Interests

The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, Whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise Pursuant to section 510 of the Bankruptcy Code, the Debtors
or Reorganized Debtors reserve the right to re-classify any Allowed Claim in accordance with any contractual, legal,
or equitable subordination relating thereto. Notwithstanding the foregoing, this Plan gives effect to the TCEH First
Lien Intercreditor Agreement and no additional changes to the allowance, classification, treatment, or distributions
shall be made as a result of the TCEH First Lien Intercreditor Agreement except for any such changes provided for
or otherwise consistent with the TCEH First Lien Creditor Plan Distribution Allocation Order as contemplated by
Article lII.B.29 of the Plan; provided that notwithstanding the foregoing, nothing herein shall impair, prejudice
release, compromise or waive the rights claims Causes of Action, defenses or remedies of any Holder of Allowed
Class C3 Claims against any other Holder of Allowed Class C3 Claims (other than the TCEH First Lien Agent,
except in the TCEH First Lien Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of

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which no monetary recovery is sought) in connection with the TCEH First Lien Creditor Deposit L/C Collateral
Allocation Dispute. Notwithstanding anything to the contrary herein, the TCEH First Lien Agent and the Holders of
Allowed TCEH First Lien Claims shall be deemed to have waived any rights under the TCEH Second Lien
Intercreditor Agreement to extent such rights Would, in any way, impair or diminish the recoveries of the Holders of
Allowed TCEH Second Lien Note Claims under this Plan or related documents

ARTICLE IV.
MEANS FOR IMPLEMENTATION OF THE PLAN

A. General Settlement ofClaims and Inlerests.

Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions releases and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of all Claims and Interests and
controversies resolved pursuant to the Plan. Subject to Article VI of the Plan, all distributions made to Holders of
Allowed Claims and Allowed Interests in any Class are intended to be and shall be final.

B. Restructuring Transactions.
1. Restructuring Transactions.

On the Effective Date, the Debtors or the Reorganized Debtors, as applicable, will effectuate the
Restructuring Transactions and will take any actions as may be necessary or advisable to effect a corporate
restructuring of their respective businesses or a corporate restructuring of the overall corporate structure of the
Debtors, to the extent provided herein or in the Transaction Agreements. The actions to implement the
Restructuring Transactions may include: (a) the execution and delivery of appropriate agreements including
Transaction Agreements, or other documents of merger, amalgamation, consolidation, restructuring, conversion,
disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation containing terms that are
consistent with the terms of the Plan and that satisfy the requirements of applicable law and any other terms to
which the applicable Entities may agree; (b) the execution and delivery of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms consistent
with the terms of the Plan and having other terms for which the applicable parties agree; (c) the filing of appropriate
certificates or articles of incorporation, forrnation, reincorporation, merger, consolidation, conversion,
amalgamation, arrangement, continuance dissolution, or other organizational documents pursuant to applicable state
law; and (d) all other actions that the applicable Entities determine to be necessary or advisable, including making
filings or recordings that may be required by law in connection with the Plan, in each case with the consent of (such
consent not to be unreasonably withheld), and in form and substance reasonably acceptable to, (i) the Plan Sponsor
if related to or affecting any EFH Debtor or EFIH Debtor, any Reorganized EFH Debtor, any EFlH Debtor, any
Reorganized EFIH Debtor, the Plan Sponsor, or any pre-Merger Affiliate of the Plan Sponsor and (ii) the TCEH
Supporting First Lien Creditors if related to or affecting any TCEH Debtor or EFH Shared Services Debtor, any
Reorganized TCEH Debtor, any Reorganized EFH Shared Services Debtor, or the TCEH Supporting First Lien
Creditors,

The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363 of the
Bankruptcy Code, authorize among other things all actions as may be necessary or appropriate to effect any
transaction described in7 approved by, contemplated by, or necessary to effectuate the Plan, including the
Restructuring Transactions.

2. Manner of TCEH Debtors’ Separation from EFH Debtors.

The TCEH Debtors shall be separated from the EFH Debtors pursuant to either the Spin-Off or the
Taxable Separation; provided that the Tax Matters Agreement, the Transition Services Agreement, the Amended
and Restated Split Participant Agreement, and the Separation Agreement must be in full force and effect and, in
each case, be in form and substance acceptable to the Plan Sponsor. If (a) the Spin-Off Conditions are satisfied on
or before the Spin-Off Conditions Termination Date and (b) the Spin-Off Conditions remain satisfied as of the

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TCEH Effective Date, then the TCEH Debtors will effectuate the Spin-Off on the TCEH Effective Date. ln all other
circumstances the TCEH Debtors will effectuate the Taxable Separation on the TCEH Effective Date. For the
avoidance of doubt, if the Spin-Off Conditions are not satisfied on or before the Spin-Off Conditions Termination
Date for any reason, the Plan as it relates to the TCEH Debtors shall automatically be effectuated pursuant to the
Taxable Separation; provided that the Tax Matters Agreement, the Transition Services Agreement, the Amended
and Restated Split Participant Agreement, and the Separation Agreement must be in full force and effect and, in
each case, be in form and substance acceptable to the Plan Sponsor.

(a) Spin-Off. If applicable, the TCEH Debtors will undertake the Spin-Off, as follows:
A. TCEH formed Reorganized TCEH prior to the TCEH Effective Date;

B. on the TCEH Effective Date, except for liabilities assumed by
Reorganized TCEH pursuant to the Plan, TCEH shall assume the
obligations of its subsidiaries that are TCEH Debtors to make
distributions pursuant to and in accordance with the Plan that are to be
made after the TCEH Effective Date;

C. pursuant to the Separation Agreement, TCEH and the EFH Debtors will
make the Contribution to Reorganized TCEH, in exchange for Which
TCEH shall receive 100% of the (i) Reorganized TCEH membership
interests and (ii) the net Cash proceeds of the New Reorganized TCEH
Debt (or, at the TCEH Supporting First Lien Creditors’ election, with
the consent of the Debtors, all or a portion of such New Reorganized
TCEH Debt);

D. immediately following the Contribution, TCEH and Reorganized
TCEH shall effectuate the Spin-Off Preferred Stock Sale, including the
distribution of the proceeds thereof to TCEH;

E. immediately following the Spin-Off` Preferred Stock Sale, Reorganized
TCEH shall undertake the Reorganized TCEH Conversion; and

F. following the Reorganized TCEH Conversion, TCEH will make the
Distribution, and all Claims against the TCEH Debtors (other than
liabilities assumed by Reorganized TCEH pursuant to the Plan) will be
cancelled in connection therewith.

(b) Taxable Separation. If applicable, the TCEH Debtors will undertake the Taxable
Separation, as set forth in the Taxable Separation Memorandum.

3. TCEH Basis Step-Up.

If the Spin-Off is effectuated pursuant to the terms and conditions set forth in Article IV.B.2, pursuant to
the Spin-Off Preferred Stock Sale, gain will be triggered in an amount not in excess of, and in order to achieve, the
Basis Step-Up.

4. Transition Services Agreement; Separation Agreement; and Amended and Restated Split Participant
Agreement.

On the TCEH Effective Date, (a) EFH and TEX Operations Company LLC Will enter into the Transition
Services Agreement, if requested to do so by the Plan Sponsor or EFH Corp., (b) Reorganized TCEH, the EFH
Debtors, and the EFIH Debtors Will enter into the Separation Agreement; and (c) Oncor Electric and Reorganized
TCEH will enter into the Amended and Restated Split Participant Agreement. After the TCEH Effective Date, the
Transition Services Agreement, Separation Agreement, and Amended and Restated Split Participant Agreement

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shall only be amended or modified (x) in accordance with their respective terms and (y) with the consent of
Reorganized TCEH and the Plan Sponsor.

5 . IPO Conversion Plan.

If requested by the Plan Sponsor, on the EFH Effective Date, EFH Corp. and EFIH will implement and
exercise their rights if any, as direct or indirect equity holders of Oncor, and take other actions Within their
reasonable control, to cause Oncor to implement the IPO Conversion Plan.

6. Tax Matters Agreement.

On the TCEH Effective Date, EFH Corp., Reorganized TCEH, and EFIH shall enter into the Tax Matters
Agreement. After the TCEH Effective Date, the Tax Matters Agreement shall not be amended or modified in any
manner without the written consent of Reorganized TCEH and the Plan Sponsor unless with respect to the consent
of the Plan Sponsor, the Merger Agreement shall have been terminated in accordance with its terms and without
consummation of the Merger. '

7. Minority Interest Acquisition.

On or before the Effective Date, Merger Sub or an Affiliate thereof may, but shall not be required to,
complete the Minority Interest Acquisition. For the avoidance of doubt, implementation and/or consummation of
the Minority Interest Acquisition shall not be a condition to Confirmation or the occurrence of the EFH Effective
Date.

8. Issuance and Allocation of Reorganized EFH Common Stock.

On the EFH Effective Date, immediately prior to the Merger Effective Time and after the Spin-Off,
Reorganized EFH shall issue and deliver the Reorganized EFH Common Stock to the EFH/EFIH Distribution
Account, The EFH/EFIH Plan Administrator shall direct the Disbursing Agent to allocate the Reorganized EFH
Class A Common Stock to the EFH Creditor Recovery Pool and the Reorganized EFH Class B Common Stock to
the EFIH Unsecured Creditor Recovery Pool. For the avoidance of doubt, all distributions to Holders of Claims
against the EFIH Debtors and EFH Debtors shall be made in accordance with the priorities set forth in the
Bankruptcy Code.

9. Merger, Merger Consideration, and Other Plan Sponsor Payments.

The Merger shall be effectuated and funded as follows on the EFH Effective Date in accordance with the
Merger Agreement;

(a) Reorganized EFH will merge with and into Merger Sub in a tax-free reorganization
under section 368(a)(1)(A) of the Internal Revenue Code, with Merger Sub being the
surviving entity resulting from the Merger, on the terms and subject to the conditions
of the Merger Agreement and pursuant to the Plan and the applicable provisions of
Chapter 10 of the Texas Business Organizations Code and the General Corporate Law
of the State of Delaware Pursuant to the Merger, Merger Sub shall acquire all assets
and liabilities of Reorganized EFH.

(b) The Reorganized EFH Class A Common Stock issued and outstanding immediately
prior to the Merger Effective Time shall be converted into the right to receive the
NextEra Class A Common Stock Investment and the Reorganized EFH Class B
Common Stock issued and outstanding immediately prior to the Merger Effective Time
shall be converted into the right to receive the NextEra Class B Common Stock
Investment, and each of the NextEra Class A Common Stock and the NextEra Class B
Common Stock shall be distributed to certain Holders of Claims in accordance with the
Plan.

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(c) The Plan Sponsor shall, or shall cause an Affiliate of the Plan Sponsor to, deliver to
EFH-1 by wire transfer of immediately available funds the EFIH First Lien DlP
Repayment Amount7 which shall be used to fund repayment of the EFIH First Lien DIP
Claims or, in lieu of making such wire transfer to EFIH, may transfer by Wire transfer
of immediately available funds the EFIH First Lien DIP Repayment Amount directly to
the EFlH First Lien DIP Lenders or the EFIH First Lien DIP Agent in accordance with
terms of Section 1.3 of the Merger Agreement.

(d) Merger Sub will deliver the Merger Sub Cash Amount and the EFIH Second Lien Note
Repayment Amount by wire transfer of immediately available funds to the EFH Plan
Administrator Board for deposit in the EFH/EFIH Distribution Account; provided
however, that on the EFH Effective Date, $250,000,000 of the Merger Sub Cash
Amount shall be set aside and such amount shall be deposited and held in the Merger
Sub Account in accordance with the terms thereof.

(e) EFIH will deliver any Cash on hand at EFIH as of the EFH Effective Date by wire
transfer of immediately available funds to the EFH Plan Administrator Board for
deposit in the EFH/EFIH Distribution Account,

After the EFH Effective Date, the Auditor shall conduct the Post-Closing Audit in accordance with the
Merger Agreement. If the Adjusted Company Cash Amount is greater than the Estimated Company Cash Amount,
NextEra shall deliver by wire transfer of immediately available funds to the EFH Plan Administrator Board an
amount equal to the difference in such amounts to be distributed in accordance with the Plan. If the Adjusted
Company Cash Amount is less than the Estimated Company Cash Amount, NextEra shall receive, by wire transfer
of immediately available funds from the EFH Plan Administrator Board, an amount equal to the difference in such
amounts Upon conclusion of the Post-Closing Audit, the EFH Plan Administrator Board shall direct that an amount
of Cash shall be transferred from the EFH/EFIH Distribution Account to (i) the EFH Creditor Recovery Pool equal
to the amount, if any, by which the Adjusted Company Cash Amount exceeds the NextEra Class A Common Stock
Investment or (ii) NextEra equal to the amount, if any, by which the NextEra Common Stock Investment exceeds
the sum of the Adjusted Company Cash Amount and the amount, if any, the Merger Sub Cash Amount was reduced
pursuant to Section l.7(a)(vi) of the Merger Agreement.

For the avoidance of doubt, the provisions in this Article IV.B.9 are intended to ensure the satisfaction of
the continuity of interest requirement under sections 355 and 368 of the Intemal Revenue Code, and reasonable
adjustments shall be made, including by issuing additional shares of NextEra Common Stock (with a corresponding
decrease in the Merger Sub Cash Amount), to the extent NextEra reasonably concludes such adjustments are
necessary to ensure such satisfaction, and further reasonable adjustments shall be made to the allocation of NextEra
Common Stock and the Merger Sub Cash Amount to account for the payment of Cash to the Holders of Allowed
EFH Non-Qualified Benefit Claims in accordance with the Plan and the general provisions of this paragraph

10. Dissolution and Liquidation of Certain Subsidiaries of EFH Corp.
(a) Dissolution and Liquidation of Certain TCEH Debtor Entities

EFCH, TCEH, TCEH Finance, and such other TCEH Debtor entities (other than the TCEH Debtors being
transferred in the Spin-Off and the EFH Shared Services Debtors) as designated by the TCEH Debtors and the
TCEH Supporting First Lien Creditors, shall be dissolved and liquidated in accordance with the Plan and applicable
law; provided however, that EFCH and TCEH will not be liquidated until the EFH Effective Date, and shall remain
subsidiaries of EFH Corp. that are disregarded from EFH Corp. for U.S. federal income tax purposes until such
time; provided further, that EFCH and TCEH shall be liquidated no later than immediately prior to the Merger
Effective Time (which, for the avoidance of doubt, shall be on the EFH Effective Date as provided above) and, if not
liquidated, shall be deemed dissolved immediately prior to the Merger Effective Time without any further court or
corporate action, including the filing of any documents with the Secretary of State for any state in which either such
Entity is incorporated or any other jurisdiction For the avoidance of doubt, none of (i) the TCEH First Lien
Supporting Creditors (ii) the TCEH Debtors; (iii) the Reorganized TCEH Debtors; (iv) the EFH Shared Services
Debtors; (v) the Reorganized EFH Shared Services Debtors or (vi) with respect to each of the foregoing Entities in

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clauses (i) through (vi), such Entity and its current and former Affiliates and such Entities’ and their current and
former Affiliates’ current and former directors managers officers equity holders (regardless of whether such
interests are held directly or indirectly), predecessors successors and assigns subsidiaries and each of their
respective current and former equity holders officers directors managers principals members employees agents
advisory board members financial advisors partners attomeys accountants investment bankers consultants
representatives and other professionals each in their capacity as such, shall have or incur any liability whatsoever in
connection With or as a result of the dissolution or liquidation of any entity, in accordance with the terms of this
Article 1V.B.10(a).

(b) Dissolution and Liquidation of Certain EFH Debtors and EFIH Debtors.

On or before the EFH Effective Date and before the Merger Effective Time, all EFH Debtors and EFH-1
Debtors, excluding: (a) EFH Corp.; (b) EFIH; (c) LSGT Gas Company LLC; (d) EECI, Inc., (e) EEC Holdings Inc.;
and (f) LSGT SACROC, lnc., not already disposed of, wound down, or liquidated in accordance with applicable law
shall be deemed dissolved without any further court or corporate action, including the filing of any documents with
the Secretary of State for any state in Which any such subsidiary is incorporated or any other jurisdiction. On the
EFH Effective Date, equity interests in EFH Non-Debtors shall be abandoned pursuant to section 554 of the
Bankruptcy Code; provided however, that equity interests in EFH Non-Debtor EFH Vermont Insurance Company
shall not be abandoned and shall remain outstanding after the EFH Effective Date. F or the avoidance of doubt, none
of (i) the Plan Sponsor; (ii) Merger Sub; (iii) the EFH Debtors; (iv) the Reorganized EFH Debtors; (v) EFIH; (vi)
Reorganized EFIH; (vii) any other entity acquired, directly or indirectly, by the Plan Sponsor pursuant to the terms
of, or as a result of, the Plan, the Merger Agreement, or any related agreement, or (viii) with respect to each of the
foregoing Entities in clauses (i) through (vii), such Entity and its current and former Affiliates and such Entities’
and their current and former Affiliates’ current and former directors managers officers equity holders (regardless
of whether such interests are held directly or indirectly), predecessors successors and assigns subsidiaries and
each of their respective current and former equity holders officers directors managers principals members
employees agents advisory board members financial advisors partners attorneys accountants investment
bankers consultants representatives and other professionals each in their capacity as such, shall have or incur any
liability whatsoever in connection with or as a result of the wind-down, disposition, or liquidation of any entity, or
the abandonment of the equity interests in any entity, in accordance with the terms of this Article IV.B.10, including,
for the avoidance of doubt, the liquidation of EFCH and TCEH in accordance with Article 1V.B.10(a).

11. Implementation of the TCEH Settlement.

The TCEH Settlement Claim is in consideration for the terms and conditions embodied in the Plan and the
Settlement Agreement, as applicable, including settlement of any prepetition Claim or Cause of Action of the TCEH
Debtors against the EFH Debtors, the EFIH Debtors, Oncor, the Holders of Interests in EFH Corp., or their
Affiliates pursuant to Bankruptcy Rule 9019, approved by the Bankruptcy Court.

In addition, on the TCEH Effective Date, and for the purposes of this Plan and the settlements and
compromises incorporated herein or contemplated hereby, (a) Holders of Allowed TCEH First Lien Deficiency
Claims will waive or be deemed to have waived, and the TCEH First Lien Agent will not take any action to interfere
or that is inconsistent with the waiver of, any recovery or distribution on account of (but not voting rights in respect
of) such Allowed TCEH First Lien Deficiency Claims (including on account of any recovery or distribution
provided for in Article III.B.30) for the benefit of Holders of Allowed TCEH Deficiency Recipient Claims and (b)
all distributions of the TCEH Cash Payment that would otherwise have been distributed to, or for the benefit of,
Holders of Allowed TCEH First Lien Deficiency Claims pursuant this Plan (including the distributions provided for
in Article III.B.30) will instead be distributed Pro Rata to Holders of Allowed TCEH Deficiency Recipient Claims
such that each Holder of an Allowed TCEH Deficiency Recipient Claim receives a proportion thereof equal to the
amount its Allowed TCEH Deficiency Recipient Claim bears to the aggregate amount of all Allowed TCEH
Deficiency Recipient Claims; provided however, that in full and final satisfaction, settlement, release, and discharge
of all PCRB Claims and Causes of Action related to the PCRBs PCRB Claims shall be deemed TCEH Deficiency
Recipient Claims and Holders of Allowed PCRB Claims shall receive distributions of the TCEH Cash Payment that
would otherwise have been distributed to, or for the benefit of, Holders of Allowed TCEH First Lien Deficiency
Claims pursuant to this Plan (including the distributions provided for in Article 111.B.30) only to the extent necessary
to cause the distributions pursuant to this Plan (including the distributions provided for in Article 111.B.30) to

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Holders of Allowed PCRB Claims to equal 54% of the distributions the Holders of Allowed PCRB Claims would
have received pursuant to this Plan if the Allowed TCEH First Lien Deficiency Claims had been waived or deemed
to have been waived for the benefit of all Holders of Allowed TCEH Unsecured Debt Claims and Allowed General
Unsecured Claims Against the TCEH Debtors Other Than EFCH. For the avoidance of doubt, under no
circumstance will any Holder of an Allowed TCEH First Lien Deficiency Claim receive any recovery or distribution
on account of such Allowed TCEH First Lien Deficiency Claims under the Plan (including on account of any
recovery or distribution provided for in Article 111.B.30).

Solely for purposes of allocating the TCEH Cash Payment among the Holders of Allowed TCEH
Unsecured Note Claims Allowed TCEH Second Lien Note Claims Allowed PCRB Claims and Allowed General
Unsecured Claims Against the TCEH Debtors Other Than EFCH: (a) the Settlement Agreement Professional Fees
of the TCEH Unsecured Ad Hoc Group and the TCEH Second Lien Consortium that (i) are actually paid pursuant to
Paragraph P of the Settlement Order and (ii) are not subject to or covered by the TCEH Unsecured Notes Trustee’s
and TCEH Second Lien Notes Trustee’s “charging liens,” respectively, shall reduce Pro Rata the distributions to all
holders of Allowed TCEH Unsecured Note Claims Allowed TCEH Second Lien Note Claims Allowed PCRB
Claims and Allowed General Unsecured Claims Against the TCEH Debtors Other Than EFCH based on the
amounts of the respective distributions such Holders would otherwise receive but for such reduction and after taking
into account the other provisions of this Article IV.B.11; (b) the Settlement Agreement Professional Fees of the
TCEH Unsecured Ad Hoc Group and TCEH Unsecured Notes Trustee that (i) are actually paid pursuant to
Paragraph P of the Settlement Order and (ii) are subject to or covered by the TCEH Unsecured Note Trustee’s
“charging lien” shall reduce Pro Rata the distributions to Holders of Allowed TCEH Unsecured Notes Claims based
on the amounts of their Allowed Claims; and (c) the Settlement Agreement Professional Fees of the TCEH Second
Lien Consortium and TCEH Second Lien Notes Trustee that (i) are actually paid pursuant to Paragraph P and (ii) are
subject to or covered by the TCEH Second Lien Notes Trustee’s “charging lien,” shall reduce Pro Rata the
distributions to holders of Allowed TCEH Second Lien Note Claims based on the amounts of their Allowed Claims

C. Sources of Consideraiion for Plan Distributions

Distributions under the Plan with respect to the TCEH Debtors shall be funded with, as applicable: (1)
Cash on hand at the TCEH Debtors; (2) the New Reorganized TCEH Debt and/or the Cash proceeds thereof; (3) the
Cash proceeds of the Spin-Off Preferred Stock Sale or any sale of stock or securities pursuant to the Taxable
Separation; (4) the Reorganized TCEH Common Stock; and (5) the Spin-Off TRA Rights (if any) or Taxable
Separation TRA Rights (if any). The Reorganized EFH Debtors and the Reorganized EFIH Debtors shall fund
distributions under the Plan, as applicable, with: (1) Cash on hand at EFH Corp. and EFlH; (2) the Plan Sponsor
Cash Amount; (3) the NextEra Common Stock; and (4) the Reorganized EFH Common Stock. Distributions under
the Plan with respect to the EFH Shared Services Debtors shall be funded with Cash on hand at the EFH Shared
Services Debtors. Each distribution and issuance referred to in Article VI of the Plan shall be governed by the terms
and conditions set forth herein applicable to such distribution or issuance and by the terms and conditions of the
instruments or other documents evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance The issuance of certain securities in connection with
the Plan, including the Reorganized TCEH Common Stock and the Reorganized EFH Common Stock, will be
exempt from SEC registration to the fullest extent permitted by law.

1. Cash on Hand at the TCEH Debtors.

TCEH shall use Cash on hand at the TCEH Debtors to fund distributions to certain Holders of Claims
against the TCEH Debtors in accordance with the Plan.

2. New Reorganized TCEH Debt.

Before the Reorganized TCEH Conversion, OpCo shall enter into the New Reorganized TCEH Debt
Documents and incur the New Reorganized TCEH Debt, provided however, that if the Taxable Separation is
effectuated pursuant to the terms and conditions set forth in Article IV.B.2, OpCo shall enter into the New
Reorganized TCEH Debt Documents and incur the New Reorganized TCEH Debt on the TCEH Effective Date.
Confirmation shall constitute approval of the New Reorganized TCEH Debt Documents (including the transactions
contemplated thereby, and all actions to be undertaken, undertakings to be made, and obligations to be incurred by

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Reorganized TCEH in connection therewith), and authorization for Reorganized TCEH to enter into and execute the
Reorganized TCEH Debt Documents subject to such modifications as Reorganized TCEH may deem to be
reasonably necessary to consummate the Reorganized TCEH Debt Documents

OpCo will distribute the Cash proceeds of the New Reorganized TCEH Debt (or, at the TCEH Supporting
First Lien Creditors’ election, all or a portion of such New Reorganized TCEH Debt to TCEH), and TCEH shall use
such proceeds (or such New Reorganized TCEH Debt) to fund distributions to certain Holders of Claims against the
TCEH Debtors in accordance with the Plan.

3. Reorganized TCEH Common Stock.

Reorganized TCEH shall be authorized to issue 450,000,000 shares of Reorganized TCEH Common Stock,
subject to dilution only by the Reorganized TCEH Debtor Management Incentive Plan. Reorganized TCEH shall
issue all securities instruments certificates and other documents required to be issued for the Reorganized TCEH
Common Stock in respect of Reorganized TCEH or its subsidiaries All of the shares of Reorganized TCEH
Common Stock issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and non-assessable

Certain Holders of Reorganized TCEH Common Stock shall be parties to the Reorganized TCEH
Registration Rights Agreement.

4. Reorganized TCEH Sub Preferred Stock.

If the Spin-Off is effectuated pursuant to the terms and conditions set forth in Article IV.B.2, the
Reorganized TCEH Debtors shall enter into the Spin-Off Preferred Stock Sale. Under the Spin-Off Preferred Stock
Sale, the Preferred Stock Entity will be authorized to issue a certain number of shares of Reorganized TCEH Sub
Preferred Stock, the terms of which shall be consistent with the description of the preferred stock contained in the
IRS Submissions previously filed by the Debtors (unless otherwise consented to by the Debtors the Plan Sponsor,
and the TCEH Supporting First Lien Creditors (such consent not to be unreasonably withheld, delayed, or
conditioned)). The Preferred Stock Entity shall issue all securities instruments certificates and other documents
required to be issued for the Reorganized TCEH Sub Preferred Stock in respect of Reorganized TCEH or its
subsidiaries All of the shares of Reorganized TCEH Sub Preferred Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable

Reorganized TCEH will distribute the Cash proceeds fi“om the sale of the Reorganized TCEH Sub
Preferred Stock to TCEH prior to the Reorganized TCEH Conversion, and TCEH shall use such proceeds to fund
distributions to certain Holders of Allowed Claims against the TCEH Debtors in accordance with the Plan.

5. Reorganized EFH Common Stock.

On the EFH Effective Date, Reorganized EFH shall be authorized to issue the Reorganized EFH Common
Stock, which (a) Reorganized EFH Class A Common Stock constituting the EFH Creditor Recovery Pool shall be
converted into a number of shares of Next Era Class A Common Stock equal to the NextEra Class A Common Stock
Investment in accordance with the Merger Agreement and (b) Reorganized EFH Class B Common Stock
constituting the EFlH Unsecured Creditor Recovery Pool shall be converted into a number of shares of NextEra
Class B Common Stock equal to the NextEra Class B Common Stock Investment in accordance with the Merger
Agreement.

Reorganized EFH shall issue all securities instruments certificates and other documents required to be
issued with respect to the Reorganized EFH Common Stock constituting the EFH Creditor Recovery Pool and
constituting a portion of the EFlH Unsecured Creditor Recovery Pool in respect of Reorganized EFH or its
subsidiaries All of the shares of Reorganized EFH Common Stock issued pursuant to the Plan shall be duly
authorized, validly issued, fully paid, and non-assessable

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6. NextEra Common Stock,

On the EFH Effective Date, in accordance with the Merger Agreement, the Plan Sponsor shall make the
NextEra Common Stock Investment and Shall be authorized to issue the NextEra Class A Common Stock
constituting the NextEra Class A Common Stock Investment and shall be authorized to issue the NextEra Class B
Common Stock Investment constituting the NextEra Class B Common Stock; provided however, that the NextEra
Common Stock constituting the NextEra Common Stock Investment shall be issued directly by the Plan Sponsor to
the Exchange Agent to the extent required by the Merger Agreement. The Plan Sponsor shall issue all securities
instruments certificates and other documents required to be issued with respect to the NextEra Common Stock
constituting the NextEra Common Stock Investment in respect of the Plan Sponsor or its subsidiaries All of the
shares of NextEra Common Stock issued in connection with the Plan shall be duly authorized, validly issued, fully
paid, and non-assessable

7. Cash on Hand at EFH Corp. and EFlH.

Reorganized EFH and Reorganized EFIH shall use Cash on hand at EFH Corp. and EFIH to fund
distributions to certain Holders of Allowed Claims against the EFH Debtors and the EFIH Debtors in accordance
with the Plan.

8. Plan Sponsor Cash Amount,

The EFH Debtors and the EFIH Debtors shall use the Plan Sponsor Cash Amount to fund distributions to
certain Holders of Claims against the EFH Debtors and the EFIH Debtors in accordance with the Plan.

9. Cash on Hand at EFH Shared Services Debtors.

Any Cash on hand at the EFH Shared Services Debtors as of the TCEH Effective Date shall be used to fund
distributions to Holders of Allowed Claims against the EFH Shared Services Debtors in accordance with the terms
of the Plan. Any Cash on hand at the EFH Shared Services Debtors that remains on hand after payment in full of all
Allowed Claims against the EFH Shared Services Debtors pursuant to the Plan shall be transferred to Reorganized
TCEH,

D. Intercompany Account Settlement

The Debtors and the Reorganized Debtors, as applicable, including, in the case of any Conflict Matter
between any Debtors each Debtor acting at the direction of its respective Disinterested Director or Manager and
without the consent of any other Debtor, subject to the consent of the Plan Sponsor and the TCEH Supporting First
Lien Creditors as applicable (such consent not to be unreasonably withheld), shall be entitled to transfer hmds
between and among themselves as they determine to be necessary or advisable to enable the Reorganized Debtors to
satisfy their obligations under the Plan; provided however, that (l) the TCEH Debtors shall not transfer funds to a
Debtor that is not a TCEH Debtor, and (2) the EFH Debtors and EFIH Debtors shall not transfer funds to a Debtor
that is not an EFH Debtor or an EFlH Debtor, respectively, except as otherwise provided elsewhere in the Plan.
Except as set forth herein, any changes in intercompany account balances resulting from such transfers will be
accounted for and settled in accordance with the Reorganized Debtors’ historical intercompany account settlement
practices and shall not violate the terms of the Plan.

E. Competitive Tax Sharing Agreement.
On the TCEH Effective Date, the Competitive Tax Sharing Agreement shall automatically terminate as to

the parties and all Claims and Causes of Action arising thereunder or in any way related thereto as to the parties
shall be forever fully discharged, canceled, and released

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F. Oncor Tax Sharing Agreement.

On the EFH Effective Date, the Oncor Tax Sharing Agreement will be assumed by Reorganized EFH, as
such agreement may be amended or assigned in a manner agreed by Oncor, Reorganized EFH, and the Plan
Sponsor.

G. Corporate Existence.

Except as otherwise provided in the Plan, including as set forth in Article 1V.B.11, each Debtor shall
continue to exist after the Effective Date as a separate corporate Entity, limited liability company, partnership, or
other form, as the case may be, with all the powers of a corporation, limited liability company, partnership, or other
form, as the case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is
incorporated or formed and pursuant to the respective certificate of incorporation and by-laws (or other formation
documents) in effect before the Effective Date, except to the extent such certificate of incorporation and by-laws (or
other formation documents) are amended under the Plan or otherwise (consistent with the Merger Agreement, as
applicable), and to the extent such documents are amended, such documents are deemed to be amended pursuant to
the Plan and require no further action or approval (other than any requisite filings required under applicable state or
federal law). The Reorganized TCEH Debtors will continue to fund the Nuclear Decommissioning Obligations in
the ordinary course of business after the TCEH Effective Date.

H. Vesting of Assets in the Reorganized Debtors.

Except as otherwise provided in the Plan, on the Effective Date, all property in each Estate, all Causes of
Action, and any property acquired by any of the Debtors pursuant to the Plan shall vest in each applicable
Reorganized Debtor, free and clear of all Liens Claims charges Interests or other encumbrances Except as
otherwise provided in the Plan, on and after the Effective Date, each of the Reorganized Debtors may operate their
business and may use, acquire, or dispose of property and compromise or settle any Claims Interests or Causes of
Action without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules

1. Cancelation of Existing Securities and A greements.

Except as otherwise provided in the Plan (including Article III.B.19 and 111.B.20), on and after the
Effective Date, all notes instruments certificates agreements indentures mortgages security documents and other
documents evidencing Claims or Interests including Other Secured Claims TCEH First Lien Secured Claims EFIH
First Lien Note Claims EFIH Second Lien Note Claims EFCH 2037 Note Claims TCEH Second Lien Note
Claims TCEH Unsecured Note Claims PCRB Claims EFIH Unsecured Note Claims EFH Legacy Note Claims
EFH LBO Note Primary Claims EFH LBO Note Guaranty Claims EFH Unexchanged Note Claims EFH Swap
Claims EFH Series N Note Claims and DIP Claims shall be deemed canceled, surrendered, and discharged without
any need for further action or approval of the Bankruptcy Court or a Holder to take further action with respect to any
note(s) or security and the obligations of the Debtors or Reorganized Debtors, as applicable, thereunder or in any
way related thereto shall be deemed satisfied in full and discharged, and the Indenture Trustees the TCEH First Lien
Agent, and the DIP Agents shall be released from all duties thereunder; provided however, that notwithstanding
Confirmation or Consummation, any such indenture or agreement that governs the rights of the Holder of a Claim
shall continue in effect solely for purposes of: (1) allowing Holders of Allowed Claims to receive distributions
under the Plan; (2) allowing the Indenture Trustees the TCEH First Lien Agent, and the DIP Agents to make the
distributions in accordance With the Plan (if any), as applicable; (3) preserving any rights of the DIP Agents the
TCEH First Lien Agent, or the Indenture Trustees to payment of fees expenses and indemnification obligations as
against any money or property distributable to the Holders under the relevant indenture, the TCEH Credit
Agreement, the TCEH First Lien Intercreditor Agreement, or DIP Agreement, including any rights to priority of
payment and/or to exercise charging liens; (4) allowing the Indenture Trustees TCEH First Lien Agent, and DIP
Agents to enforce any obligations owed to each of them under the Plan; and (5) allowing the Indenture Trustees
TCEH First Lien Agent, and DIP Agents to appear in the Chapter 11 Cases or any proceeding in which they are or
may become a party; provided ptrther, however, that the preceding proviso shall not affect the discharge of Claims
or Interests pursuant to the Bankruptcy Code, the Confinnation Order, or the Plan, or result in any expense or
liability to the Debtors or Reorganized Debtors, as applicable, For the avoidance of doubt, the TCEH First Lien

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Intercreditor Agreement, the TCEH Credit Agreement, and the TCEH First Lien Note Indenture remain in effect
solely to the extent necessary to preserve the TCEH First Lien Creditor Allocation Disputes and the TCEH First
Lien Creditor Deposit L/C Collateral Allocation Dispute, and any (a) claims or Causes of Action by the TCEH First
Lien Notes Trustee, TCEH First Lien Agent, or Holders of TCEH First Lien Claims against other Holders of TCEH
First Lien Claims the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee arising in connection with the
TCEH First Lien Creditor Allocation Disputes or (b) claims or Causes of Action by any Holder of Allowed Class
C3 Claims against any other Holder of Allowed Class C3 Claims (other than the TCEH First Lien Agent, except in
the TCEH First Lien Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of which no
monetary recovery is sought) in the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute (or any
claims Causes of Action or defenses of any other party to such dispute); provided further, however, that except as
expressly set forth in the Plan, after the Effective Date, the Debtors and the Reorganized Debtors shall not be
obligated to pay any fees or expenses under either the TCEH First Lien Intercreditor Agreement, the TCEH First
Lien Note Indenture, or the TCEH Credit Agreement arising in connection with the TCEH First Lien Creditor
Allocation Disputes or the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute, and all related
Claims shall be released and discharged consistent with Article VIII.A of the Plan.

.]. Corporate Action.

On the Effective Date, as applicable, all actions contemplated under the Plan with respect to the applicable
Debtor or Reorganized Debtor, as applicable, shall be deemed authorized and approved in all respects including:
(l) implementation of the Restructuring Transactions, including execution of the Transaction Agreements and
consummation of the Merger; (2) selection of the directors and officers for the Reorganized Debtors; (3) on the
TCEH Effective Date, as applicable, adoption of, entry into, and assumption and/or assignment of the New
Employee Agreements/Arrangements and the Employment Agreements; (4) adoption of the Reorganized TCEH
Debtor Management Incentive Plan; (5) incurrence of the New Reorganized TCEH Debt and distribution of such
New Reorganized TCEH Debt or the net proceeds if any; (6) issuance and distribution of the Reorganized TCEH
Common Stock; (7) implementation of the Taxable Separation (including any issuance of stock or securities
thereunder); (8) (i) the Spin-Off Preferred Stock Sale (if any); (ii) issuance and distribution of the common stock of
the Preferred Stock Entity (if any); and (iii) issuance of the Reorganized TCEH Sub Preferred Stock (if any) (9)
issuance and distribution of the Reorganized EFH Common Stock (including its exchange for NextEra Common
Stock); (10) issuance and distribution of the NextEra Common Stock pursuant to the Merger; (11) issuance and
distribution of the common stock of the Preferred Stock Entity; and (12) all other actions contemplated under the
Plan (whether to occur before, on, or after the Effective Date). All matters provided for herein involving the
corporate structure of the Debtors or the Reorganized Debtors as applicable, and any corporate action required by
the Debtors or the Reorganized Debtors in connection with the Plan shall be deemed to have occurred and shall be in
effect as of the Effective Date, without any requirement of further action by the Bankruptcy Court, the Debtors, the
Reorganized Debtors or their respective security holders directors managers or officers On or before the
Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors shall be authorized and, as
applicable, directed to issue, execute, and deliver the agreements documents securities and instruments and take
such actions contemplated under the Plan (or necessary or desirable to effect the transactions contemplated under
the Plan) in the name of and on behalf of the Debtors or the Reorganized'Debtors as applicable, including the New
Reorganized TCEH Debt Documents the Reorganized TCEH Common Stock, the common stock of the Preferred
Stock Entity, the Reorganized TCEH Sub Preferred Stock, the Reorganized EFH Common Stock, the NextEra
Common Stock, the Taxable Separation TRA Rights (if any), the Spin-off TRA Rights (if any), and the Merger
Agreement, as applicable, and any and all other agreements documents securities and instruments relating to the
foregoing, and all such documents shall be deemed ratified. The authorizations and approvals contemplated by this
Article 1V.J shall be effective notwithstanding any requirements under non-bankruptcy law.

K New Organizational Documents

The New Organizational Documents for Reorganized TCEH or any of its subsidiaries shall be consistent
with the Tax Matters Agreement and in form and substance reasonably acceptable to TCEH and the TCEH
Supporting First Lien Creditors

The New Organizational Documents for Merger Sub and Reorganized EFIH shall be consistent with the
Tax Matters Agreement and in form and substance reasonably acceptable to EFH Corp. and the Plan Sponsor.

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On the Effective Date, each of the Reorganized Debtors will file its New Organizational Documents with
the applicable Secretaries of State and/or other applicable authorities in its respective state of incorporation or
formation in accordance with the applicable laws of the respective state of incorporation or formation. Pursuant to
section 1123(a)(6) of the Bankruptcy Code, the New Organizational Documents will prohibit the issuance of non-
voting equity securities After the Effective Date, the Reorganized Debtors may amend and restate their respective
New Organizational Documents and other constituent documents as permitted by the laws of their respective state of
incorporation and its respective New Organizational Documents

L. Directors and Oj‘icers of the Reorganized Debtors.

As of the Effective Date, the term of the current members of the board of directors of the applicable
Debtors shall expire, and the initial boards of directors including the New Boards as applicable, and the officers of
each of the Reorganized Debtors shall be appointed in accordance with the respective New Organizational
Documents Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in the Plan
Supplement the identity and affiliations of any person proposed to serve on the initial board of directors or be an
officer of each of the Reorganized Debtors. To the extent any such director or officer of the Reorganized Debtors is
an “insider” under the Bankruptcy Code, the Debtors also will disclose the nature of any compensation to be paid to
such director or officer. With respect to the TCEH Debtors and EFH Shared Services Debtors each such director
and officer shall serve from and after the TCEH Effective Date pursuant to the terms of the New Organizational
Documents the New Employee Agreements/Arrangements the Employment Agreements (assumed and assigned to
Reorganized TCEH in accordance with the Plan and the Plan Supplement), and other constituent documents of the
Reorganized TCEH Debtors and Reorganized EFH Shared Services Debtors.

M. Section 1146 Exempiion.

Pursuant to, and to the fullest extent permitted by, section 1146 of the Bankruptcy Code, any transfers of
property pursuant to, in contemplation of, or in connection with, the Plan, including (1) the Restructuring
Transactions; (2) the New Reorganized TCEH Debt; (3) the Reorganized TCEH Common Stock; (4) the
Reorganized TCEH Preferred Stock (if any); (5) the common stock of the Preferred Stock Entity (if any); (6) the
Reorganized TCEH Sub Preferred Stock (if any) (7) the Reorganized EFH Common Stock (including the exchange
for NextEra Common Stock pursuant to and in accordance with the Merger Agreement); (8) the common stock of
the Preferred Stock Entity; (9) the Reorganized TCEH Sub Preferred Stock; (10) the NextEra Common Stock issued
in connection with the Plan Sponsor Investment; (11) the Spin-Off TRA Rights (if any); (12) the Taxable Separation
TRA Rights (if any); (13) the assignment or surrender of any lease or sublease; and (14) the delivery of any deed or
other instrument or transfer order, in furtherance of, or in connection with the Plan, including any deeds bills of
sale, or assignments executed in connection with any disposition or transfer of assets contemplated under the Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, stamp act, real estate transfer, mortgage recording tax, or other similar tax, and upon entry of the Confirmation
Order, the appropriate state or local governmental officials or agents shall forgo the collection of any such tax or
governmental assessment and accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax, recordation fee, or governmental assessment

N. Director, Ojicer, Manager, and Employee Liability Insurance

l. TCEH Debtors and EFH Shared Services Debtors Director, Officer, Manager, and Employee Liability
Insurance

On or before the Effective Date, the TCEH Debtors and EFH Shared Services Debtors on behalf of the
Reorganized TCEH Debtors and the Reorganized EFH Shared Services Debtors, respectively, will obtain sufficient
liability insurance policy coverage for the six-year period following the Effective Date for the benefit of the TCEH
Debtors’ and EFH Shared Services Debtors’ respective current and former directors managers officers and
employees on terms no less favorable to the directors managers officers and employees than the TCEH Debtors’
and EFH Shared Services Debtors’ respective existing director, officer, manager, and employee coverage and With
an available aggregate limit of liability upon the Effective Date of no less than the aggregate limit of liability under
the existing director, officer, manager, and employee coverage upon placement; provided however, that the costs of
such policies shall be reasonably allocated among the TCEH Debtors and the EFH Shared Services Debtors in a

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manner reasonably acceptable to the TCEH Debtors and EFH Shared Services Debtors and the TCEH Supporting
First Lien Creditors After the Effective Date, none of the TCEH Debtors, Reorganized TCEH Debtors, EFH Shared
Services Debtors, or Reorganized EFH Shared Services Debtors shall terminate or otherwise reduce the coverage
under any director, officer7 manager, and employee insurance policies (including the “tail policy”) in effect on the
Effective Date, with respect to conduct occurring prior thereto, and all officers directors managers and employees
of the TCEH Debtors or EFH Shared Services Debtors, as applicable, who served in such capacity at any time
before the Effective Date shall be entitled to the full benefits of any such policy for the full term of such policy
regardless of whether such officers directors managers or employees remain in such positions after the Effective
Date.

2. EFH Debtors and EFIH Debtors Director, Officer, Manager, and Employee Liability Insurance.

On or before the Effective Date, the EFH Debtors and EFIH Debtors on behalf of the Reorganized EFH
Debtors and Reorganized EFIH, shall obtain liability insurance policy coverage for the benefit of the EFH Debtors’
and EFIH Debtors’ respective current and former directors managers officers and employees in accordance with
the terms of the Merger Agreement, and shall thereafter maintain such insurance policy coverage to the extent
provided by, and subject to the limitations of, the Merger Agreement.

O. Reorganized TCEH Debtor Management Incentive Plan.

The Reorganized TCEH Debtor Management Incentive Plan is hereby approved in its entirety and shall be
implemented on the TCEH Effective Date by the applicable Reorganized Debtors without any further action by the
Reorganized TCEH Board or the Bankruptcy Court.

P. Employee Obligations

Except (i) as otherwise provided in the Plan or the Plan Supplement and (ii) with respect to the EFH
Non-Qualified Benefit Plans, which shall be terminated on the TCEH Effective Date pursuant to the EFH
Confirmation Order as obligations of the EFH Debtors (any Allowed Claims arising from the termination of such
EFH Non-Qualified Benefits Plans shall be treated pursuant to Article III.B.8 of the Plan), the (x) Reorganized
TCEH Debtors shall honor the Debtors’ written contracts agreements policies, programs and plans for, among
other things compensation, reimbursement, indemnity, change of control, health care benefits disability benefits
deferred compensation benefits travel benefits vacation and sick leave benefits savings severance benefits
retirement benefits welfare benefits relocation programs life insurance and accidental death and dismemberment
insurance, including written contracts agreements policies programs and plans for bonuses and other incentives or
compensation for the directors officers and employees of any of the Debtors who served in such capacity at any
time (including the compensation programs approved by the Bankruptcy Court pursuant to the 2015 Compensation
Order and the 2016 Compensation Order) and (y) except as may be expressly set forth in the Merger Agreement,
none of` the EFH Debtors, the Reorganized EFH Debtors the EFlH Debtors the Reorganized EFIH Debtors Oncor,
the Plan Sponsor, or any Affiliate of the Plan Sponsor shall have any liability for the matters set forth in the
foregoing clause (x). Any of the above-listed contracts agreements policies programs and plans that is an
executory contract, pursuant to sections 365 and 1123 of the Bankruptcy Code, shall be deemed assumed as of the
TCEH Effective Date and, to the extent that any EFIH Debtor or EFH Debtor is a party to such executory contract,
assigned to the Reorganized TCEH Debtors.

Q, Preservation of Causes of Action

In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII of the Plan, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue any and all Causes of Action
belonging to their Estates whether arising before or after the Petition Date, including any actions specifically
enumerated in the Plan Supplement, and the Reorganized Debtors’ rights to commence, prosecute, or settle such
Causes of Action shall be preserved notwithstanding the occurrence of the applicable Effective Date, other than: (i)
the Causes of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan,
including in Article VIII, which shall be deemed released and waived by the Debtors and Reorganized Debtors as of
the Effective Date; (ii) all Causes of Action that arise under sections 544, 547, 548, and 549 of the Bankruptcy Code

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and state Haudulent conveyance law; and (iii) the Causes of Action released by the Debtors pursuant to the
Settlement Agreement.

The Reorganized Debtors may pursue such Causes of Action, as appropriate in accordance with the best
interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the Plan, the
Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action
against it. Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled herein or in a Bankruptcy Court order, the Reorganized Debtors expressly reserve all
Causes of Action, for later adjudication, and, therefore no preclusion doctrine including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise), or laches
shall apply to such Causes of Action upon, after, or as a consequence of Confirmation or Consummation. ~

The Reorganized Debtors reserve and shall retain the Causes of Action notwithstanding the rejection of any
Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In accordance with
section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any Entity shall
vest in the Reorganized Debtors. The Reorganized Debtors shall have the exclusive right, authority, and discretion
to determine and to initiate file prosecute enforce abandon, settle compromise release withdraw, or litigate to
judgment any such Causes of Action and to decline to do any of the foregoing without the consent or approval of
any third party or further notice to or action, order, or approval of the Bankruptcy Court.

R. Payment of Certain Fees.
1. Payment of Fees of Certain Creditors of the EFIH Debtors.

Without any further notice to or action, order, or approval of the Bankruptcy Court, the EFH Plan
Administrator Board shall pay from the EFH/EFIH Distribution Account on the EFH Effective Date any reasonable
and documented unpaid fees and expenses incurred on or before the EFH Effective Date by professionals payable
under the Merger Agreement.

The EFH Plan Administrator Board shall pay from the EFH/EFIH Distribution Account the reasonable and
documented fees and expenses allowed under the EFIH Unsecured Note Indentures and the EFH Notes Indentures;
provided however, that such fees and expenses shall be subject to approval by the Fee Committee, with respect to
the reasonableness of such documented fees and expenses in their reasonable discretion, and the Bankruptcy Court;
provided further, however, that such fees and expenses shall be paid on the EFH Effective Date or as soon as
reasonably practicable thereafter following Fee Committee and Bankruptcy Court approval thereof; provided
further, that, for the avoidance of doubt, such fees and expenses shall not be included in the amount of any Allowed
Claims under the EFlH Unsecured Notes Indentures or the EFH Notes Indentures

Without any further notice to or action, order, or approval of the Bankruptcy Court, the EFH Plan
Administrator Board shall pay from the EFH/EFIH Distribution Account the reasonable and documented fees and
expenses of the Auditor in conducting the Post-Closing Report and as otherwise provided in the Merger Agreement.

All amounts distributed and paid pursuant to this Article IV.R.l. shall not be subject to disgorgement,
setoff, recoupment, reduction, or reallocation of any kind.

2. Payment of F ees of Certain Creditors of the TCEH Debtors.

Without any further notice to or action, order, or approval of the Bankruptcy Court, the Reorganized TCEH
Debtors shall pay on the TCEH Effective Date any reasonable and documented unpaid fees and expenses incurred
on or before the TCEH Effective Date by professionals (a) payable under (1) the TCEH DlP Order (which fees and
expenses shall be paid by Reorganized TCEH), and (2) the Cash Collateral Order (which fees and expenses shall be
paid by TCEH or Reorganized TCEH), including any applicable transaction, success or similar fees for which the
applicable Debtors have agreed to be obligated, and (b) retained by any individual member of the TCEH First Lien
Ad Hoc Committee that is a TCEH Supporting First Lien Creditor. Reorganized TCEH shall indemnify (a) the

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TCEH First Lien Agent for any reasonable and documented fees and expenses (including the reasonable and
documented fees and expenses of its counsel and agents) incurred after the TCEH Effective Date solely in
connection with the implementation of the Plan, including but not limited to, making distributions pursuant to and in
accordance with the Plan, and any disputes arising in connection therewith; and (b) any member or members of the
TCEH First Lien Ad Hoc Committee for any reasonable and documented fees and expenses (including the
reasonable and documented fees and expenses of its counsel and agents) incurred after the TCEH Effective Date
solely in connection with the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute.

All amounts distributed and paid pursuant to this Article IV.R.2 shall not be subject to disgorgement,
setoff, recoupment, reduction, or reallocation of any kind.

S. Treatment ofCertain Claims of the PBGC and Pension Plan.

Nothing in the Chapter 11 Cases the Disclosure Statement, the Plan, the Confirmation Order, or any other
document filed in the Chapter 11 Cases shall be construed to discharge release limit, or relieve any individual from
any claim by the PBGC or the Pension Plans for breach of any fiduciary duty under ERISA, including prohibited
transactions with respect to the Pension Plans subject to any and all applicable rights and defenses of such parties
which are expressly preserved. The PBGC and the Pension Plans shall not be enjoined or precluded from enforcing
such fiduciary duty or related liability by any of the provisions of the Disclosure Statement, Plan, Confirmation Order,
Bankruptcy Code or other document filed in the Chapter 11 Cases For the avoidance of doubt, the Reorganized
Debtors shall not be released from any liability or obligation under ERISA, the Intemal Revenue Code, and any other
applicable law relating to or arising from the Pension Plans

T. Spin-Oj T ax Receivable Agreement.

If the Spin-Off is effectuated pursuant to the terms and conditions set forth in Article IV.B.2, at the election
of the TCEH Supporting First Lien Creditors on the TCEH Effective Date and before the Distribution, Reorganized
TCEH shall enter into the Spin-Off Tax Receivable Agreement, under which Reorganized TCEH shall agree to make
payments in respect of its (or its subsidiaries’) specified tax items to or for the benefit of the TCEH First Lien
Creditors (or their assigns). In addition, and notwithstanding the foregoing, Reorganized TCEH may enter into one or
more tax receivable agreements or other similar arrangements after the Distribution. Only Holders of Allowed TCEH
First Lien Secured Claims that timely return a TRA lnforrnation Form shall be entitled to receive beneficial interests
in the Spin-Off TRA Rights (if any). Holders of Allowed TCEH First Lien Secured Claims that fail to timely return a
properly completed TRA Inforrnation Form shall not receive any beneficial interests in the Spin-Off TRA Rights (if
any) or any entitlement to any other distribution or consideration on account of or in connection with the Spin-Off
Tax Receivable Agreement.

U. Taxable Separation T ax Reoeivable Agreement.

If the Spin-Off is not effectuated pursuant to the terms and conditions set forth in Article IV.B.2, at the
election of the TCEH Supporting First Lien Creditors on the TCEH Effective Date before the Distribution,
Reorganized TCEH shall enter into the Taxable Separation Tax Receivable Agreement, under which Reorganized
TCEH shall agree to make payments in respect of Reorganized TCEH’s (or its subsidiaries’) specified tax items to or
for the benefit of the TCEH First Lien Creditors (or their assigns). In addition, and notwithstanding the foregoing,
Reorganized TCEH (or one or more of its subsidiaries) may enter into one or more tax receivable agreements or other
similar arrangements after the TCEH Effective Date. Only Holders of Allowed TCEH First Lien Secured Claims that
timely return a properly completed TRA Infonnation Forrn shall be entitled to receive beneficial interests in the
Taxable Separation TRA Rights (if any). Holders of Allowed TCEH First Lien Secured Claims that fail to timely
return a TRA Inforrnation Form shall not receive any beneficial interests in the Taxable Separation TRA Rights (if
any) or any entitlement to any other distribution or consideration on account of or in connection with the Taxable
Separation Tax Receivable Agreement.

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ARTICLE V.
TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A. Assumption and Rejeciion of Executory Contracts and Unexpired Leases.
1. Rejection of EFH Debtor and EFIH Debtor Executory Contracts and Unexpired Leases

On the EFH Effective Date except as otherwise provided herein or in the Confirmation Order, all
Executory Contracts or Unexpired Leases of the EFH Debtors or the EFIH Debtors, not previously assumed or
rejected pursuant to an order of the Bankruptcy Court, including the TCEH Confirmation Order or the EFH
Confirmation Order, will be deemed to be Rejected Executory Contracts or Unexpired Leases in accordance with
the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code other than those Executory
Contracts or Unexpired Leases that are: (1) identified on the EFH/EFIH Assumed Executory Contract and
Unexpired Lease List; (2) the subject of a motion to assume Executory Contracts or Unexpired Leases that is
pending on the Confirmation Date; or (3) subject to a motion to reject an Executory Contract or Unexpired Lease
pursuant to which the requested effective date of such rejection is after the Effective Date; provided that each of (1),
(2) and (3) must be in form and substance acceptable to the Plan Sponsor. Entry of the EFH Confirmation Order by
the Bankruptcy Court shall constitute approval of such rejections and the assignments and/or assumptions of the
Executory Contracts or Unexpired Leases listed on the EFH/EFIH Assumed Executory Contract and Unexpired
Lease List pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions to assume Executory
Contracts or Unexpired Leases of the EFH Debtors or EFIH Debtors pending on the EFH Effective Date shall be
subject to approval by the Bankruptcy Court on or after the Effective Date by a Final Order. Each Executory
Contract and Unexpired Lease assumed pursuant to this Article V.A.l or by any order of the Bankruptcy Court,
which has not been assigned to a third party before the Confirmation Date, shall revest in and be fully enforceable
by Reorganized EFH or Reorganize EFIH, as applicable or their successors in accordance with its terms except as
such terms are modified by the Plan or any order of the Bankruptcy Court authorizing and providing for its
assumption under applicable federal law. The Plan Sponsor, Reorganized EFH, and Reorganized EFH~I, as
applicable reserve the right to alter, amend, modify, or supplement the EFH/EFlH Assumed Executory Contract and
Unexpired Lease List and the schedules of Executory Contracts and Unexpired Leases with respect to EFH,
Reorganized EFH, EFIH, and Reorganized EFIH at any time through and including 45 days after the Effective Date,
without incurrence of any penalty or changing the priority or security of any Claim as a result of such treatment
change For the avoidance of doubt, and notwithstanding anything herein to the contrary, the Tax Matters
Agreement, the Transition Services Agreement, and the Separation Agreement, to the extent in the form attached to
the Merger Agreement or as amended or modified in accordance with their respective terms and with the consent of
the Plan Sponsor, shall be EFH/EFIH Assumed Executory Contracts or Unexpired Leases

2. Assumption of TCEH Debtor Executory Contracts and Unexpired Leases

On the TCEH Effective Date, except as otherwise provided herein, all TCEH Executory Contracts or
Unexpired Leases of the TCEH Debtors, not previously assumed or rejected pursuant to an order of the Bankruptcy
Court, will be deemed to be TCEH Assumed Executory Contracts or Unexpired Leases in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those Executory Contracts
or Unexpired Leases that: (1) previously were assumed or rejected by the Debtors; (2) are identified on the TCEH
Rejected Executory Contract and Unexpired Lease List; (3) are the subject of a motion to reject TCEH Executory
Contracts or Unexpired Leases that is pending on the Confirmation Date; or (4) are subject to a motion to reject a
TCEH Executory Contract or Unexpired Lease pursuant to which the requested effective date of such rejection is
after the Effective Date; provided that each of (2), (3) and (4) must be in form and substance reasonably acceptable
to the TCEH Supporting First Lien Creditors, Entry of the Confirmation Order by the Bankruptcy Court shall
constitute approval of such assignments and/or assumptions and the rejection of the Executory Contracts or
Unexpired Leases listed on the Rejected Executory Contract and Unexpired Lease List pursuant to sections 365(a)
and 1123 of the Bankruptcy Code. Any motions to assume Executory Contracts or Unexpired Leases pending on
the Effective Date shall be subject to approval by the Bankruptcy Court on or after the Effective Date by a Final
Order. Each Executory Contract and Unexpired Lease assumed pursuant to this Article V.A.2 or by any order of the
Bankruptcy Court, which has not been assigned to a third party before the Confirmation Date shall revest in and be
fully enforceable by the Reorganized TCEH Debtors in accordance with its terms except as such terms are modified
by the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption under applicable

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federal law. Notwithstanding anything this Article V,A.Z to the contrary, the Employment Agreements the New
Employee Agreements/Arrangements and the Executive Severance Policy shall be deemed to be entered into or
assumed and/or assigned (as applicable) to Reorganized TCEH on the TCEH Effective Date, and Reorganized
TCEH shall be responsible for any cure costs arising nom or related to the assumption of such Employment
Agreement or Executive Severance Policy; provided that, for the avoidance of doubt, in the event any party to an
Employment Agreement and the Reorganized EFH Debtors or Reorganized EFIH Debtors mutually agree that such
party’s Employment Agreement shall be assumed by Reorganized EFH or Reorganized EFIH and not assigned to
Reorganized TCEH, the consent of the Plan Sponsor shall be required with respect to such assumption and the
Reorganized EFH Debtors and Reorganized EFIH Debtors, as applicable shall be responsible for any cure costs
arising from or related to the assumption of such Employment Agreements Additionally, notwithstanding anything
to the contrary in the Plan, the Plan Supplement, the Executive Severance Policy, or any Employment Agreement,
the occurrence of the TCEH Effective Date shall be deemed to constitute a “change in control” under the Executive
Severance Policy and each Employment Agreement. On the TCEH Effective Date, Reorganized TCEH shall
execute a written agreement (in a form reasonably acceptable to the TCEH Supporting First Lien Creditors) with
each employee who is party to an Employment Agreement acknowledging that the transactions consummated upon
the occurrence of the TCEH Effective Date shall constitute a “change in control” under such employee’s
Employment Agreement. The Debtors or the Reorganized Debtors as applicable, with the reasonable consent of the
Plan Sponsor and the TCEH Supporting First Lien Creditors reserve the right to alter, amend, modify, or
supplement the schedules of Executory Contracts and Unexpired Leases with respect to such Debtors and
Reorganized Debtors at any time through and including 45 days after the Effective Date, without incurrence of any
penalty or changing the priority or security of any Claim as a result of such treatment change For the avoidance of
doubt, and notwithstanding anything herein to the contrary, the Tax Matters Agreement, Transition Services
Agreement, Separation Agreement, and Amended and Restated Split Participant Agreement shall be TCEH
Assumed Executory Contracts or Unexpired Leases

B. Claims Based on Rejection of Executory Contracts or Unexpired Leases

Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases pursuant to the Plan or the
Confirmation Order, if any, must be Filed within 30 days after the later of: (1) the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; and (2) the effective date of such
rejection. Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed
within such time will be automatically disallowed, forever barred from assertion, and shall not be enforceable
against the Debtors or the Reorganized Debtors, the Estates or their property without the need for any
objection by the Reorganized Debtors or further notice to, or action, order, or approval of the Bankruptcy
Court or any other Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired
Lease shall be deemed fully satisfied, released, and discharged, notwithstanding anything in the Schedules or
a Proof of Claim to the contrary. All Allowed Claims arising from the rejection of the Debtors’ Executory
Contracts or Unexpired Leases shall be classified as General Unsecured Claims against the applicable Debtor and
shall be treated in accordance with the Plan, unless a different security or priority is otherwise asserted in such Proof
of Claim and Allowed in accordance with Article VII of the Plan.

C. Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

Any monetary defaults under each Assumed Executory Contract or Unexpired Lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective
Date, subject to the limitation described below, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree ln the event of a dispute regarding (1) the amount of any payments to cure
such a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate assurance of future
performance” (Within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or
Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the cure payments required by
section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order resolving the dispute
and approving the assumption. At least 14 days before the applicable Confirmation Hearing, the Debtors Will
provide for notices of proposed assumption and proposed cure amounts to be sent to applicable third parties and for
procedures for objecting thereto and resolution of disputes by the Bankruptcy Court. Any objection by a
counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related cure amount must be

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Filed, served, and actually received by the Debtors at least seven (7) days before the applicable Confirmation
Hearing. Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the proposed
assumption or cure amount will be deemed to have consented to such assumption or proposed cure amount.

Assumption of any Executory Contract or Unexpired Lease shall result in the full release and satisfaction of
any Claims or defaults whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults arising under any Assumed
Executory Contract or Unexpired Lease at any time before the effective date of assumption Any Proofs of Claim
Filed with respect to an Assumed Executory Contract or Unexpired Lease shall be deemed disallowed and
expunged, without further notice to or action, order, or approval of the Bankruptcy Court.

D. Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed by the Executory Contract or Unexpired Lease counterparty
or counterparties to the Debtors or the Reorganized Debtors, as applicable under such Executory Contracts or
Unexpired Leases

E. Indemnifi`cation Obligations
1. Indemnification Obligations of the TCEH Debtors and EFH Shared Services Debtors.

Notwithstanding anything in the Plan to the contrary, each Indemnification Obligation of any TCEH Debtor
or EFH Shared Services Debtor shall be assumed by the applicable TCEH Debtor or EFH Shared Services Debtor,
effective as of the Effective Date, pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise Each
such Indemnification Obligation shall remain in full force and effect, shall not be modified, reduced, discharged,
impaired, or otherwise affected in any Way, and shall survive Unimpaired and unaffected, irrespective of when such
obligation arose.

The TCEH Debtors, Reorganized TCEH, EFH Shared Services Debtors, and Reorganized EFH Shared
Services Debtors shall assume the Indemnification Obligations for the current and former directors officers
managers employees and other professionals of the TCEH Debtors and EFH Shared Services Debtors, as
applicable, in their capacities as such; provided that the TCEH Debtors, Reorganized TCEH, EFH Shared Services
Debtors, and Reorganized EFH Shared Services Debtors shall not assume and shall not have any liability for or any
obligations in respect of, any Indemnification Obligations for the current and former directors officers managers
employees and other professionals of the EFH Debtors or EFlH Debtors in their capacities as such, and the EFH
Debtors, Reorganized EFH, EFlH Debtors and Reorganized EFlH shall not assume and shall not have any liability
for or any obligations in respect of, any Indemnification Obligations for the current and former directors officers
managers employees and other professionals of the TCEH Debtors or the EFH Shared Services Debtors in their
capacities as such.

Notwithstanding the foregoing, nothing shall impair the ability of the Reorganized TCEH Debtors and
Reorganized EFH Shared Services Debtors, as applicable to modify indemnification obligations (whether in the
bylaws certificates or incorporate or formation, limited liability company agreements other organizational or
formation documents board resolutions indemnification agreements employment contracts or otherwise) for acts
or omissions arising after the Effective Date.

2. Indemnification Obligations of the EFH Debtors and EFlH Debtors.

Notwithstanding anything in the Plan to the contrary, from and after the Effective Date each
Indemnification Obligation of any EFH Debtor or EFIH Debtor shall be treated in accordance with Section [6.8] of
the Merger Agreement.

Notwithstanding the foregoing, nothing shall impair the ability of Reorganized EFH or Reorganized EFIH,

as applicable to modify indemnification obligations (whether in the bylaws certificates or incorporate or formation,

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limited liability company agreements other organizational or formation documents board resolutions
indemnification agreements employment contracts or otherwise) for acts or omissions arising after the Effective
Date.

F. Insurance Policies

Each of the Debtors’ Insurance Policies are treated as Executory Contracts under the Plan. Unless
otherwise provided in the Plan, on the TCEH Effective Date the TCEH Debtors and EFH Shared Services Debtors
as applicable shall be deemed to have assumed all insurance policies and any agreements documents and
instruments relating to coverage of all insured Claims and such Insurance Policies shall not be impaired in any Way
by the Plan or the Confirmation Order, but rather will remain valid and enforceable in accordance with their terms

Notwithstanding Article V.A.l of the Plan, except to the extent that the Plan Sponsor elects in its sole
discretion, to list an Insurance Policy (or Insurance Policies) on the EFH/EFlH Rejected Executory Contract and
Unexpired Lease List, on the EFH Effective Date, the EFH Debtors and EFlH Debtors, as applicable, shall be
deemed to have assumed all insurance policies and any agreements documents and instruments relating to coverage
of all insured Claims against the EFH Debtors or EFlH Debtors as applicable, and such Insurance Policies shall not
be impaired in any way by the Plan or the Confirmation Order, but rather will remain valid and enforceable against
the Reorganized EFH Debtors or Reorganized EFlH Debtors, as applicable, in accordance with their terms

G. Modificaiions, Amendments, Supplements, Restaiements, or Other Agreements

Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications amendments supplements or restatements thereto or thereof, if any, including all
easements licenses permits rights privileges immunities options rights of first refusal, and any other interests
unless any of the foregoing agreements have been previously rejected or repudiated or is rejected or repudiated
under the Plan.

Modifications, amendments supplements and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount of any
Claims that may arise in connection therewith.

H. Reservation of Rights

Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Rejected
Executory Contract and Unexpired Lease List or the Assumed Executory Contract and Unexpired Lease List, nor
anything contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors has any liability thereunder. If
there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of assumption or
rejection, the Debtors or the Reorganized Debtors, as applicable shall have 30 days following entry of a Final Order
resolving such dispute to alter its treatment of such contract or lease

I. Nonoccurrence of Effective Date.

In the event that the Effective Date does not occur with respect to a Debtor, the Bankruptcy Court shall
retain jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases
with respect to such Debtor pursuant to section 365(d)(4) of the Bankruptcy Code unless such deadline(s) have
expired.

J. Contracts and Leases Entered Into Aji‘er the Peiition Date.
Contracts and leases entered into after the Petition Date by any Debtor, including any Assumed Executory

Contracts or Unexpired Leases will be performed by the applicable Debtor or the applicable Reorganized Debtor
liable thereunder in the ordinary course of their business Accordingly, any such contracts and leases (including any

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Assumed Executory Contracts or Unexpired Leases) that have not been rejected as of the date of the Confirmation
Date shall survive and remain unaffected by entry of the Confirmation Order.

ARTICLE VI.
PROVISIONS GOVERNING DISTRIBUTIONS

A. Timing and Calculation ofAmounts to Be Distributed.

Unless otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Allowed
Interest in the applicable Class In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of such act
may be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims or Disputed Interests distributions on account of
any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII of
the Plan. Except as otherwise provided in the Plan, Holders of Claims and Interests shall not be entitled to interest,
dividends or accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date. For the avoidance of doubt, distributions to Holders of Allowed
Class C3 Claims shall be made in accordance with Article III.B.29 of the Plan, notwithstanding the pendency of the
TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute.

With respect to Holders of Class C5 Claims that are Allowed as of the TCEH Effective Date the amount of
the Effective Date distribution will be calculated as if each Disputed Class C5 Claim were an Allowed Class C5
Claim equal to the lesser of (a) the asserted amount of such Claim and (b) the amount estimated by the Bankruptcy
Court in accordance with Article VII.C of the Plan. On each Periodic Distribution Date, the Disbursing Agent shall
make additional Pro Rata distributions to Holders of Allowed Class C5 Claims until such Claims have received the
maximum recovery available to Holders of Class C5 Claims under the Plan.

Before the TCEH Effective Date, the TCEH Debtors shall create in consultation with the TCEH
Committee a list of Disputed Class C5 Claims that shall be Allowed Class C5 Claims as of the TCEH Effective
Date. Following the creation of such list, the TCEH Debtors shall, as soon as reasonably practicable thereafter
submit, to the Bankruptcy Court an order, in form and substance reasonably acceptable to the TCEH Committee,
allowing such Claims; provided however, that entry of such order shall not in any way impede delay, or otherwise
interfere with the occurrence of the TCEH Effective Date.

Notwithstanding anything to the contrary in the Plan, including provisions providing for distributions to
occur on the Effective Date or as soon as reasonably practicable after the Effective Date, no distributions shall be
made to Holders of Claims against the EFH Debtors or the EFlH Debtors, except certain distributions to take place
on the EFH Effective Date as set forth in Article 1V.B.9(b) and 1V.B.9(c) of the Plan, until: (a) all Claims against
the EFH Debtors and the EFIH Debtors excluding any Makewhole Claim that is either an EFlH First Lien Note
Claim or an EFlH Second Lien Note Claim, have been resolved by Final Order pursuant to Article VII of the Plan,
(b) all Professional Fee Claims have been paid from the EFH Professional Fee Escrow Account and the EFlH
Professional Fee Escrow Account and any amounts remaining in such accounts have been refunded to the
EFH/EFlH Distribution Account, in accordance with Article 11.A.2(e), (c) the fees and expenses provided for in
Article 1V.R.1 and Article VI.C.l of the Plan have been paid in full in Cash, and (d) the Post-Closing Audit has
concluded according to the terms of the Merger Agreement and all payments to or from the EFH/EFlH Distribution
Account based on the results of the Post-Closing Audit have been made

Any Makewhole Claim that is either an EFlH First Lien Note Claim or an EFIH Second Lien Note Claim
and which is first Allowed after the EFH Effective Date shall be paid in full, in Cash, by Reorganized EFlH in
accordance with Article 111.B.19 or 111.B.20, as applicable and such Cash shall not be subtracted from the
EFH/EFlH Distribution Account. Any Makewhole Claim against an EFH Debtor or an EFlH Debtor that is not
either an EFlH First Lien Note Claim or an EFIH Second Lien Note Claim that becomes Allowed, whether before
on, or after the EFH Effective Date shall receive treatment set forth in its respective class set forth in Article III.B of

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the Plan, and none of (i) the Plan Sponsor; (ii) Merger Sub; (iii) the EFH Debtors; (iv) the Reorganized EFH
Debtors; (v) EFIH; (vi) Reorganized EFIH; (vii) any other entity acquired, directly or indirectly, by the Plan Sponsor
pursuant to the terms of, or as a result of, the Plan, the Merger Agreement, or any related agreement, or (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), such Entity and its current and former Affiliates
and such Entities’ and their current and former Affiliates’ current and former directors managers officers equity
holders (regardless of whether such interests are held directly or indirectly), predecessors successors and assigns
subsidiaries and each of their respective current and former equity holders officers directors managers principals
members employees agents advisory board members financial advisors partners attomeys accountants
investment bankers consultants, representatives and other professionals each in their capacity as such, shall have
or incur any liability whatsoever in connection With or as a result of such Makewhole Claim being Allowed.

B. Rights and Powers ofEFH Plan Administrator Board

The EFH Plan Administrator Board shall be authorized to direct the Disbursing Agent to make distributions
from the EFH/EFlH Distribution Account to Holders of Allowed Claims and Allowed Interests against the EFH
Debtors and the EFlH Debtors on the EFH Effective Date, or as soon as reasonably practicable thereafter, in
accordance with the Plan and to exercise such other powers as may be vested in the EFH Plan Administrator Board
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the EFH Plan Administrator Board to be
necessary and proper to implement the provisions of the Plan. The EFH Plan Administrator Board shall not be
required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court.

The EFH Plan Administrator Board or its professionals on behalf of the EFH Plan Administrator Board
shall keep an accounting of distributions made from, and funds contributed to, the EFH/EFlH Distribution Account
that sets forth whether such distributions or contributions as applicable were made for the benefit of the EFH
Debtors or their creditors on the one hand, or the EFlH Debtors on the other hand

C. Disbursing Agent.

All distributions under the Plan shall be made to Holders of Allowed Claims and Allowed Interests by the
Disbursing Agent (including at the direction of the EFH Plan Administrator Board, as applicable) on the applicable
Effective Date, or as soon as reasonably practicable thereafter, in accordance with the Plan. The Disbursing Agent
shall not be required to give any bond or surety or other security for the performance of its duties unless otherwise
ordered by the Bankruptcy Court.

D. Rights and Powers of Disbursing Agent.
1. Powers of the Disbursing Agent.

The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements
instruments and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby, including making distributions from the EFH/EFlH Distribution Account at the direction of
the EFH Plan Administrator Board; (c) employ professionals to represent it with respect to its responsibilities and
(d) exercise such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant
to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the
Plan.

2. Expenses Incurred On or After the Effective Date.

Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent in performing its duties under the Plan on or after the Effective Date (including
taxes) and any reasonable compensation and expense reimbursement claims (including reasonable attorney fees and
expenses) made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors. Reorganized TCEH and
the Reorganized EFH Shared Services Debtors shall only be obligated to pay the reasonable fees and expenses
incurred by the Disbursing Agent for distributions related to Claims against the TCEH Debtors and the EFH Shared

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Services Debtors and the Reorganized EFH Debtors and Reorganized EFIH Debtors shall only be obligated to pay
the reasonable fees and expenses incurred by the Disbursing Agent for distributions related to Claims against the
EFH Debtors and EFlH Debtors.

E. Delivery of Distributions and Undeliverable or Unclaimed Distributions
1. Record Date for Distribution.

On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall be authorized and entitled to recognize only those record Holders listed on the Claims Register as
of the close of business on the Distribution Record Date. The record Holder for the TCEH Credit Agreement
Claims solely for purposes of the Distribution Record Date shall be the TCEH First Lien Administrative Agent.

2. Delivery of Distributions in General.

Except as otherwise provided herein, the Reorganized Debtors shall make distributions to Holders of
Allowed Claims and Allowed Interests as of the Distribution Record Date at the address for each such Holder as
indicated on the Debtors’ records as of the date of any such distribution; provided however, that the Distribution
Record Date shall not apply to publicly-traded Securities The manner of such distributions shall be determined at
the discretion of the Reorganized Debtors, and the address for each Holder of an Allowed Claim or Allowed Interest
shall be deemed to be the address set forth in any Proof of Claim or Interest Filed by that Holder.

3. Delivery of Distributions on DIP Claims

All distributions on account of DIP Claims shall be made to the applicable DIP Agent, who shall be
deemed to be the Holder of such DIP Claims as applicable for purposes of distributions to be made hereunder. As
soon as practicable following compliance With the requirements set forth in this Article VI, the applicable DIP
Agent shall arrange to deliver or direct the delivery of such distributions to or on behalf of the Holders of DIP
Claims in accordance with the terms of the DIP Facilities as applicable subject to any modifications to such
distributions in accordance with the terms of the Plan; provided however, that the DlP Agents shall retain all rights
as administrative agents under the DIP Facilities in connection with the delivery of distributions to DIP Lenders
The DlP Agents shall not have any liability to any person with respect to distributions made or directed to be made
by the DIP Agents

4. Delivery of Distributions on TCEH First Lien Claims

To the extent that the TCEH First Lien Creditor Plan Distribution Allocation Order provides that any of the
TCEH First Lien Creditor Distributions are Collateral (as that term is used in the TCEH First Lien Intercreditor
Agreement) or proceeds of Collateral (as that term is used in the TCEH First Lien Intercreditor Agreement), then
such distributions shall be made to the TCEH First Lien Collateral Agent for further distribution to the Secured Debt
Representatives (as defined in the TCEH First Lien Intercreditor Agreement) pursuant to and in accordance With the
Plan and the TCEH First Lien Creditor Plan Distribution Allocation Order, and the Secured Debt Representatives (as
defined in the TCEH First Lien Intercreditor Agreement) shall in turn make such distributions to the Holders of
Allowed Class C3 Claims pursuant to and in accordance with the Plan and the TCEH First Lien Creditor Plan
Distribution Allocation Order. To the extent that the TCEH First Lien Creditor Plan Distribution Allocation Order
provides that any of the TCEH First Lien Creditor Distributions are not Collateral (as that term is used in the TCEH
First Lien Intercreditor Agreement) or proceeds of Collateral (as that term is used in the TCEH First Lien
Intercreditor Agreement), then such distributions shall be made to the Secured Debt Representatives (as defined in
the TCEH First Lien Intercreditor Agreement) for further distribution directly to the Holders of Allowed Class C3
Claims pursuant to and in accordance with the Plan. If the TCEH First Lien Creditor Plan Distribution Allocation
Order has not been entered as of the TCEH Effective Date a reserve will be established in the manner described in
Article 111.B.29. For the avoidance of doubt, distributions to Holders of Allowed Class C3 Claims shall be made in
accordance with Article III.B.29 of the Plan, notwithstanding the pendency of the TCEH First Lien Creditor Deposit
L/C Collateral Allocation Dispute. THE TCEH FIRST LIEN AGENT AND THE TCEH FIRST LIEN NOTES
TRUSTEE SHALL NOT HAVE ANY LIABILITY TO ANY PERSON WITH RESPECT TO

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DISTRIBUTIONS MADE OR DIRECTED TO BE MADE BY SUCH TCEH FIRST LIEN AGENT OR
TCEH FIRST LIEN NOTES TRUSTEE PURSUANT TO AND IN ACCORDANCE WITH THE PLAN.

5. No Fractional Distributions

No fractional shares of Reorganized TCEH Common Stock, Reorganized EFH Common Stock, or NextEra
Common Stock shall be distributed and no Cash shall be distributed in lieu of such fractional amounts except7
solely With respect to distributions to Holders of Allowed Claims against EFH Debtors and EFIH Debtors, as
provided in the Merger Agreement. When any distribution pursuant to the Plan on account of an applicable Allowed
Claim would otherwise result in the issuance of a number of shares of Reorganized TCEH Common Stock or
Reorganized EFH Common Stock, that is not a whole number, the actual distribution of shares of Reorganized
TCEH Common Stock or Reorganized EFH Common Stock shall be rounded as follows: (a) fractions of one-half
(1/2) or greater shall be rounded to the next higher whole number and G)) fractions of less than one-half (‘/2) shall be
rounded to the next lower whole number with no further payment therefor. The total number of authorized shares of
Reorganized TCEH Common Stock or Reorganized EFH Common Stock to be distributed to Holders of Allowed
Claims shall be adjusted as necessary to account for the foregoing rounding.

6. Minimum Distribution.

No Cash payment of less than $50.00 shall be made to a Holder of an Allowed Claim on account of such
Allowed Claim.

7. Undeliverable Distributions and Unclaimed Property.

In the event that any distribution to any Holder is returned as undeliverable no distribution to such Holder
shall be made unless and until the Disbursing Agent has determined the then-current address of such Holder, at
which time such distribution shall be made to such Holder without interest; provided however, that such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of
one year from the applicable Distribution Date. After such date all unclaimed property or interests in property shall
revert to the applicable Reorganized Debtor(s) automatically and without need for a further order by the Bankruptcy
Court (notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property laws to the
contrary), and the claim of any Holder to such property shall be fully discharged, released, and forever barred

8. Delivery of Distributions on PCRB Claims

All distributions on account of PCRB Claims are subject to the PCRB Trustee’s charging lien and priority
of payment rights Accordingly, before the distribution of any Cash to Holders of Allowed PCRB Claims pursuant
to Article III.B.30 of the Plan, the Disbursing Agent will distribute (solely from the distribution of Cash to Holders
of Allowed PCRB Claims as set forth in Article III.B.3O of the Plan) to the PCRB Trustee the amount of Cash that is
necessary to pay in full (in accordance with the amount provided by the PCRB Trustee in a written notice to the
Disbursing Agent) (a) the fees and expenses of the PCRB Trustee (including professional and other advisory fees
and expenses) that are not otherwise paid under the Plan and (b) any reserve for fees and expenses as requested by
the PCRB Trustee (including any reserve required in the event of an appeal relating to the PCRB Trustee’s fees and
expenses otherwise payable under this Plan). The Disbursing Agent shall distribute Pro Rata the remainder of the
Cash that is distributable on account of the PCRB Claims pursuant to Article 111.B.30 of the Plan to the Holders of
the PCRB Claims pursuant to the Plan. The Disbursing Agent also shall distribute Pro Rata to the Holders of the
PCRB Claims any unused portion of any reserve required by the PCRB Trustee upon the PCRB’s release of such
reserve to the Disbursing Agent.

F. Manner of Payment

Unless as otherwise set forth herein, all distributions of Cash, the Reorganized TCEH Common Stock, and
the Reorganized EFH Common Stock to the Holders of Allowed Claims under the Plan shall be made by the
Disbursing Agent on behalf of the Reorganized Debtors the Plan Sponsor, and Merger Sub, At the option of the
Disbursing Agent, any Cash payment to be made under the Plan may be made by check or wire transfer or as

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otherwise required or provided in applicable agreements All Cash distributions to be made hereunder to the DIP
Agents on account of the DIP Claims shall be made by wire transfer.

G. SEC Regisiration/Exemption.

Each of the Reorganized TCEH Common Stock, New Reorganized TCEH Debt, Reorganized TCEH Sub
Preferred Stock, Reorganized EFH Common Stock, and NextEra Common Stock, Spin-Off TRA Rights (if any), and
Taxable TRA Rights (if any) are or may be “securities” as defined in Section 2(a)(1) of the Securities Act, section
101 of the Bankruptcy Code and applicable state securities laws

Pursuant to section 1145 of the Bankruptcy Code, the issuance of (1) the Reorganized TCEH Common
Stock and (2) the Reorganized EFH Common Stock are exempt from, among other things the registration
requirements of Section 5 of the Securities Act and any other applicable U.S. state or local law requiring registration
before the offering, issuance distribution, or sale of such securities Each of the Reorganized TCEH Common Stock
and the Reorganized EFH Common Stock (a) is not a “restricted security” as defined in Rule 144(a)(3) under the
Securities Act, and (b) is freely tradable and transferable by any initial recipient thereof that (i) at the time of
transfer, is not an “affiliate” of the Reorganized TCEH, Reorganized EFH, Reorganized EFIH, the Plan Sponsor, or
Merger Sub, as the case may be as defined in Rule 144(a)(1) under the Securities Act and has not been such an
“affiliate” within 90 days of such transfer, and (ii) is not an entity that is an “underwriter” as defined in subsection
(b) of section 1145 of the Bankruptcy Code.

The NextEra Common Stock issued in exchange for Reorganized EFH Common Stock may be issued
without registration under the Securities Act in reliance upon the exemption set forth in section 1145(a)(1) of the
Bankruptcy Code for the offer or sale under a chapter 11 plan of a security of a successor to the debtor if such
securities are offered or sold in exchange for a claim against, or an interest in, such debtor. The EFH Debtors and
EFIH Debtors, with the support of the Plan Sponsor, will seek to obtain a ruling from the Bankruptcy Court in the
Confirmation Order that the section 1145(a)(1) exemption applies to the NextEra Common Stock,

The New Reorganized TCEH Debt, the Reorganized TCEH Sub Preferred Stock, and the Spin-Off TRA
Rights (if any) or Taxable TRA Rights (if any) will be issued without registration under the Securities Act in
reliance on the exemptions from the registration requirements of the Securities Act provided by section 4(a)(2) of
the Securities Act (and/or Regulation D promulgated thereunder) and Regulation S under the Securities Act and
each Will be “restricted securities” subject to resale restrictions and may be resold, exchanged, assigned or otherwise
transferred only pursuant to registration, or an applicable exemption from, or in a transaction not subject to,
registration under the Securities Act and other applicable law. The Spin-Off TRA Rights (if any) or Taxable TRA
Rights (if any) will only be issued to (i) “qualified institutional buyers” (as defined in Rule 144A of the Securities
Act), (ii) “accredited investors” (as defined in Rule 501(a) of the Securities Act) and (iii) non-U.S. persons (as
defined in Regulation S under the Securities Act) who are acquiring the Spin-Off TRA Rights (if any) or Taxable
TRA Rights (if any) in an offshore transaction in compliance with Regulation S under the Securities Act, in each
case who deliver a valid and completed TRA Information Form. The Spin-Off TRA Rights (if any) or Taxable TRA
Rights (if any) will be subject to additional transfer restrictions set forth in the Tax Receivable Agreement.

Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of any of the
Reorganized TCEH Common Stock, New Reorganized TCEH Debt, Reorganized TCEH Sub Preferred Stock,
Reorganized EFH Common Stock, and NextEra Common Stock through the facilities of the DTC, the Reorganized
Debtors need not provide any further evidence other than the Plan or the Confirmation Order with respect to the
treatment of the Reorganized TCEH Common Stock, New Reorganized TCEH Debt, Reorganized TCEH Sub
Preferred Stock, Reorganized EFH Common Stock, and NextEra Common Stock under applicable securities laws

The DTC shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of
a legal opinion regarding whether any of the Reorganized TCEH Common Stock, New Reorganized TCEH Debt,
Reorganized TCEH Sub Preferred Stock, Reorganized EFH Common Stock, and NextEra Common Stock, as
applicable are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository
servlces.

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Notwithstanding anything to the contrary in the Plan, no entity (including, for the avoidance of doubt, the
DTC) may require a legal opinion regarding the validity of any transaction contemplated by the Plan, including, for
the avoidance of doubt, whether the Reorganized TCEH Common Stock, New Reorganized TCEH Debt,
Reorganized TCEH Sub Preferred Stock, Reorganized EFH Common Stock, and NextEra Common Stock are
exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository services

H. Compliance with T ax Requirements.

In connection with the Plan, the applicable Reorganized Debtor(s) shall comply With all tax withholding
and reporting requirements imposed on them by any Govemmental Unit with respect to distributions pursuant to the
Plan. Notwithstanding any provision herein to the contrary, the Reorganized Debtors and the Disbursing Agent, as
applicable shall be authorized to take all actions necessary to comply with such withholding and reporting
requirements including liquidating a portion of the distribution to be made under the Plan to generate sufficient
funds to pay applicable withholding taxes withholding distributions pending receipt of information necessary to
facilitate such distributions and establishing any other mechanisms they believe are reasonable and appropriate to
comply with such requirements The Reorganized Debtors reserve the right to allocate all distributions made under
the Plan in compliance with all applicable wage garnishments alimony, child support, and other spousal awards
liens and encumbrances

1. No Postpetition or Default Interest on Claims

Unless otherwise specifically provided for in the Plan or the Confirmation Order, and notwithstanding any
documents that govern the Debtors’ prepetition funded indebtedness to the contrary, (1) postpetition and/or default
interest shall not accrue or be paid on any Claims and (2) no Holder of a Claim shall be entitled to: (a) interest
accruing on or after the Petition Date on any such Claim; or (b) interest at the contract default rate as applicable

J. Setojs' and Recoupment.

The Debtors and Reorganized Debtors, as applicable may, but shall not be required to, setoff against or
recoup any payments or distributions to be made pursuant to the Plan in respect of any Claims of any nature
whatsoever that the Debtors or the Reorganized Debtors may have against the claimant, but neither the failure to do
so nor the allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Reorganized
Debtors of any such claim it may have against the Holder of such Claim.

K. No Double Payment of Claims

To the extent that a Claim is Allowed against more than one Debtor’s Estate there shall be only a single
recovery on account of that Allowed Claim, but the Holder of an Allowed Claim against more than one Debtor may
recover distributions from all co-obligor Debtors’ Estates until the Holder has received payment in full on the
Allowed Claims. No Holder of an Allowed Claim shall be entitled to receive more than payment in full of its
Allowed Claim, and each Claim shall be administered and treated in the manner provided by the Plan only until
payment in full on that Allowed Claim.

L. Claims Paid or Payable by Third Parties.
1. Claims Paid by Third Parties

The Debtors or the Reorganized Debtors, as applicable shall reduce a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment on account of such
Claim from a party that is not a Debtor or a Reorganized Debtor (other than the Disbursing Agent). Subject to the
last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on account of such Claim
and receives payment from a party that is not a Debtor or a Reorganized Debtor on account of such Claim, such
Holder shall, within 14 days of receipt thereof, repay or return the distribution to the applicable Reorganized Debtor,
to the extent the Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds

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the amount of such Claim as of the date of any such distribution under the Plan. The failure of such Holder to
timely repay or return such distribution shall result in the Holder owing the applicable Reorganized Debtor
annualized interest at the Federal Judgment Rate on such amount owed for each Business Day after the 14-day
period specified above until the amount is repaid

2. Claims Payable by Third Parties

No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

3. Applicability of Insurance Policies

Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance With the provisions of any applicable insurance policy. Except as otherwise expressly provided in the
Plan, nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors
or any Entity may hold against any other Entity, including insurers under any policies of insurance nor shall
anything contained herein (a) constitute or be deemed a waiver by such insurers of any rights or defenses including
coverage defenses held by such insurers or (b) establish, determine or otherwise imply any liability or obligation,
including any coverage obligation, of any insurer.

ARTICLE VII.
PROCEDURES FOR RESOLVING CONTINGENT,
UNLIQUIDATED, AND DISPUTED CLAIMS

A. Allowance ofClaims.

Except as otherwise set forth in the Plan, after the Effective Date each of the Reorganized Debtors shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim immediately before the
Effective Date. This Article VII of the Plan shall not apply to the DIP Claims TCEH First Lien Claims TCEH
Second Lien Note Claims or TCEH Unsecured Note Claims which Claims shall be Allowed in full and shall not be
subject to any avoidance reductions set off, offset, recharacterization, subordination (whether equitable
contractual, or otherwise), counterclaims cross-claims defenses disallowance impairment, objection, or any other
challenges under any applicable law or regulation by any person or entity.

Except as specifically provided as Allowed Claims pursuant to Article III.B of the Plan or otherwise
objected to by the Debtors in the Chapter 11 Cases the Plan shall serve as the Debtors’ objection to all other EFHI
First Lien Note Claims EFlH Second Lien Note Claims EFlH Unsecured Note Claims EFH LBO Note Claims
and EFH Legacy Note Claims under the respective indentures If the Bankruptcy Court sustains the Debtors’
objection to these Claims the Confirmation Order shall disallow such Claims The Holders of such Claims may
respond to the Debtors’ objection to such Claims by filing an objection to the Plan.

B. Claims Administration Responsibilities.

Except as otherwise specifically provided in the Plan, after the Effective Date, the applicable Reorganized
Debtor(s) shall have the sole authority: (1) to File withdraw, or litigate to judgment, objections to Claims; (2) to
settle or compromise any Disputed Claim Without any further notice to or action, order, or approval by the
Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

Except with respect to Claims and Causes of Action released by the Debtors pursuant to the releases and
exculpations contained in the Plan, including in Article VIII, if one or more Entities have sought and obtained

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standing to prosecute a Cause of Action on behalf of one or more of the Debtors’ Estates and such Entities are
prosecuting such Causes of Actions as of the Effective Date then such Entities will have the sole authority, solely
with respect to such Causes of Action, to File withdraw, litigate to judgment, settle compromise or take any other
actions in respect of such Causes of Action.

C. Estimation ofClaims.

Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, with the consent
of the Plan Sponsor with respect to any Disputed Claim against any EFH Debtor or any EFlH Debtor, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or
unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including during the litigation of any
objection to any Claim or during the appeal relating to such objection. Notwithstanding any provision to the
contrary in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject to appeal or
has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars unless otherwise ordered
by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim,
that estimated amount shall constitute a maximum limitation on such Claim for all purposes under the Plan
(including for purposes of distributions), and the relevant Reorganized Debtor may elect to pursue any supplemental
proceedings to object to any ultimate distribution on such Claim.

If the TCEH Debtors determine in their reasonable discretion and in consultation with the TCEH
Committee that (1) one or more Disputed Class C5 Claims are capable of estimation by the Bankruptcy Court, (2)
estimation will materially improve TCEH Effective Date distributions to Holders of Allowed Class C5 Claims and
(3) estimation is otherwise in the best interests of the Estates the TCEH Debtors shall file one or more motions to
estimate such Disputed Class C5 Claims which motion or motions shall be filed and noticed to be heard (on regular
notice to all parties in interest) by the Bankruptcy Court before the TCEH Effective Date (or such other date as
determined by the Bankruptcy Court).

D. Adjustment to Claims without Objection.

Any Claim that has been paid or satisfied, or any Claim that has been amended or superseded, may be
adjusted or expunged on the Claims Register by the Reorganized Debtors without a Claims objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

E. T ime to File Objections to Claims or Interests
Any objections to Claims or Interests shall be Filed on or before the Claims Objection Deadline
F. Disallowance of Claims

Any Claims held by Entities from which the Bankruptcy Court has determined that property is recoverable
under section 542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer that the Bankruptcy
Court has determined is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the
Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code and Holders of
such Claims may not receive any distributions on account of such Claims until such time as such Causes of Action
against that Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and the full
amount of such obligation to the Debtors has been paid or turned over in full. All Proofs of Claim Filed on account
of an Indemnification Obligation shall be deemed satisfied and expunged from the Claims Register as of the
Effective Date to the extent such Indemnification Obligation is assumed (or honored or reaffirmed as the case may
be) pursuant to the Plan, without any further notice to or action, order, or approval of the Bankruptcy Court. All
Proofs of Claim Filed on account of an employee benefit shall be deemed satisfied and expunged from the Claims
Register as of the Effective Date to the extent the Reorganized Entities elect to honor such employee benefit,
without any further notice to or action, order, or approval of the Bankruptcy Court.

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Except as provided herein or otherwise agreed, any and all Proofs of Claim Filed after the Bar Date
shall be deemed disallowed and expunged as of the Effective Date without any further notice to or action,
order, or approval of the Bankruptcy Court, and Holders of such Claims may not receive any distributions
on account of such Claims unless on or before the Confirmation Hearing such late Claim has been deemed
timely Filed by a Final Order.

G. Amendments to Proofs of Claim.

On or after the Effective Date, a Proof of Claim or Interest may not be Filed or amended without the prior
authorization of the Bankruptcy Court or the Reorganized Debtors and any such new or amended Proof of Claim or
Interest Filed shall be deemed disallowed in full and expunged without any further action,

H. Reimbursement or Contribution.

If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance such Claim shall be forever disallowed and expunged notwithstanding section 502@) of
the Bankruptcy Code, unless before the Confirmation Date; (1) such Claim has been adjudicated as non-contingent;
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered before the Confirmation Date determining such Claim as no longer contingent

1. No Distributions PendingAllowance.

Except as otherwise set forth herein, if an objection to a Claim or portion thereof is Filed as set forth in
Article VII.A and VlI.B of the Plan, no payment or distribution provided under the Plan shall be made on account of
such Disputed Claim or portion thereof unless and until such Disputed Claim becomes an Allowed Claim.

l Distributions A fter A llowance.

To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be
made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. Except as otherwise set
forth in the Plan, as soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing
any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the Holder of such Claim the
distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date less any previous
distribution (if any) that was made on account of the undisputed portion of such Claim, without any interest,
dividends or accruals to be paid on account of such Claim unless required under such order or judgment of the
Bankruptcy Court.

ARTICLE VIII.
SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A. Discharge of Claims and Terrnination of Interests

Pursuant to section 1141(d) of the Bankruptcy Code and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions
rights and treatment that are provided in the Plan shall be in complete satisfaction, discharge and release effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests including demands liabilities and Causes of Action that arose before the Effective Date any liability
(including Withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
the Debtors before the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all

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debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the
Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502
of the Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event
of default” by the Debtors or Affiliates with respect to any Claim or Interest that existed immediately before or on
account of the Filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective
Date The Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests subject
to the Effective Date occurring

B. Release of Liens.

Except as otherwise specifically provided in the Plan or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of
the portion of the Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims
that the Debtors elect to Reinstate in accordance with Article III.B.I (subject to the consent of the Plan
Sponsor), III.B.17 (subject to the consent of the Plan Sponsor), III.B.27, or III.B.37 of the Plan (and, with
respect to any Allowed Other Secured Claims Against the TCEH Debtors asserted by the Taxing Units or the
Texas Comptroller which the TCEH Debtors shall Reinstate on the TCEH Effective Date until such Allowed
Other Secured Claims are satisfied in the full Allowed amount), all mortgages deeds of trust, Liens pledges
or other security interests against any property of the Estates shall be fully released and discharged, and all
of the right, title and interest of any Holder of such mortgages deeds of trust, Liens pledges or other
security interests shall revert to the Reorganized Debtors and their successors and assigns in each case,
without any further approval or order of the Bankruptcy Court and without any action or Filing being
required to be made by the Debtors.

C. Releases by the Debtors.

In addition to any release provided in the Settlement Order, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, on and after the Effective Date, each Released Party
is deemed released and discharged by the Debtors, the Reorganized Debtors, and their Estates from any and
all Claims and Causes of Action, including Claims and Causes of Action identified, claimed, or released in the
Standing Motions the Litigation Letters, or the Disinterested Directors Settlement, as well as all other Claims
and Causes of Action, whether known or unknown, including any derivative claims asserted on behalf of the
Debtors, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the Holder of any Claim or Interest,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors (including the
management, ownership or operation thereof), the Debtors’ in--or out-of-court restructuring efforts
intercompany transactions (including dividends paid), transactions pursuant and/or related to the Master
Separation Agreement dated December 12, 2001, the TCEH Credit Agreement, the TCEH First Lien Notes
the Cash Collateral Order (and any payments or transfers in connection therewith), the TCEH First Lien
Intercreditor Agreement, the Liability Management Program, the Tax Sharing Agreements the 2007
Acquisition, the Management Agreement, the 2009 amendment to the TCEH Credit Agreement, the 2011
Amend and Extend Transactions, the 2005 Oncor Transfer, the 2013 Revolver Extension, the Luminant
Makewhole Settlement, the Tax and Interest Makewhole Agreements the TCEH Intercompany Notes the
Shared Services any preference or avoidance claim pursuant to sections 544, 547, 548, and 549 of the
Bankruptcy Code, the formulation, preparation, dissemination, negotiation, or Filing of the Terminated
Restructuring Support Agreement, the Plan Support Agreement, the New EFH/EFlH Plan Support
Agreement, the EFH/EFlH Committee Settlement, the EFIH First Lien Settlement, the Original Confirmed
Plan, or any Restructuring Transaction, contract, instrument, release, or other agreement or document
(including providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any Released Party on
the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection with
the Plan Support Agreement, the EFH/EFlH Committee Settlement, the Terminated Restructuring Support
Agreement, the Disclosure Statement, the Plan, the Transaction Agreements the DIP Facilities the Chapter
11 Cases the filing of the Chapter 11 Cases the pursuit of Confirmation, the pursuit of Consummation, the

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administration and implementation of the Plan, including the issuance or distribution of Securities pursuant
to the Plan, or the distribution of property under the Plan, the Transaction Agreements or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth above do not release any post-Effective Date obligations of
any party or Entity under the Plan, any Restructuring Transaction, or any document, instrument, Or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan.
Notwithstanding anything to the contrary in the foregoing, and for the avoidance of doubt, the TCEH
Settlement Claim shall be treated, released, and discharged on the EFH Effective Date. Notwithstanding
anything to the contrary in the foregoing, the claims and Causes of Action set forth in Section 6.12 of the
Parent Disclosure Letter delivered in connection with the Merger Agreement shall not be released; provided
however, that such Claims and Causes of Action shall be subject to treatment pursuant to the Plan and shall
be discharged as set forth in Article VIII.A hereof. For the avoidance of doubt, (i) the TCEH Debtors,
Reorganized TCEH Debtors EFH Shared Services Debtors, and Reorganized EFH Shared Services Debtors
shall provide the release set forth in this Article VIII.C as of the TCEH Effective Date; and (ii) the EFH
Debtors, Reorganized EFH Debtors, EFIH Debtors, and Reorganized EFIH Debtors shall provide the release
set forth in this Article VIII.C as of the EFH Effective Date; provided that any and all Intercompany Claims
(other than the TCEH Settlement Claim) held by or held against the TCEH Debtors, Reorganized TCEH
Debtors, EFH Shared Services Debtors, Reorganized EFH Shared Services Debtors, or any non-Debtor
Affiliate to be transferred to the Reorganized TCEH Debtors, including EFH Properties, shall be released as
of the TCEH Effective Date.

D. Releases by Holders of Claims and Interests.

As of the Effective Date, each Releasing Party is deemed to have released and discharged each
Debtor, Reorganized Debtor, and Released Party from any and all Claims and Causes of Action, including
Claims and Causes of Action identified, claimed, or released in the Standing Motions, the Litigation Letters,
or the Disinterested Directors Settlement, as well as all other Claims and Causes of Action, whether known Or
unknown, including any derivative claims asserted on behalf of the Debtors, that such Entity would have
been legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, the Debtors (including the management, ownership or operation thereof),
the Debtors’ in- or out-of-court restructuring efforts intercompany transactions (including dividends paid),
transactions pursuant and/or related to the Master Separation Agreement dated December 12, 2001, the
TCEH Credit Agreement, the TCEH First Lien Notes the Cash Collateral Order (and any payments or
transfers in connection therewith), the TCEH First Lien Intercreditor Agreement, the Liability Management
Program, the Tax Sharing Agreements the 2007 Acquisition, the Management Agreement, the 2009
amendment to the TCEH Credit Agreement, the 2011 Amend and Extend Transactions the 2005 Oncor
Transfer, the 2013 Revolver Extension, the Luminant Makewhole Settlement, the Tax and Interest
Makewhole Agreements the TCEH Intercompany Notes the Shared Services any preference or avoidance
claim pursuant to sections 544, 547, 548, and 549 of the Bankruptcy Code, the formulation, preparation,
dissemination, negotiation, or Filing of the Terminated Restructuring Support Agreement, the Plan Support
Agreement, the New EFH/EFlH Plan Support Agreement, the EFH/EFlH Committee Settlement, the EFIH
First Lien Settlement, the Original Confirmed Plan, or any Restructuring Transaction, contract, instrument,
release, or other agreement or document (including providing any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement contemplated by the Plan or
the reliance by any Released Party on the Plan or the Confirmation Order in lieu of` such legal opinion)
created or entered into in connection with the Plan Support Agreement, the New EFH/EFlH Plan Support
Agreement, the EFH/EFlH Committee Settlement, the Terminated Restructuring Support Agreement, the
Disclosure Statement, the Plan, the Transaction Agreements the DIP Facilities the Chapter 11 Cases the
filing of the Chapter 11 Cases the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of Securities pursuant to the Plan, or
the distribution of property under the Plan, the Transaction Agreements or any other related agreement, or
upon any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary in the
foregoing, the releases set forth above do not release (i) any claims or Causes of Action by the Holders of
TCEH First Lien Claims the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee against one or

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more Holders of TCEH First Lien Claims the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee
arising from or in connection with the TCEH First Lien Creditor Allocation Disputes (ii) any post-Effective
Date obligations of any party or Entity under the Plan, (iii) any Restructuring Transaction, (iv) any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, (v) claims or Causes of Action asserted by any Holder of Allowed Class C3 Claims
against one or more Holders of Allowed Class C3 Claims (other than the TCEH First Lien Agent, except in
the TCEH First Lien Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of
which no monetary recovery is sought) solely with respect to the TCEH First Lien Creditor Deposit L/C
Collateral Allocation Dispute [or (vi) the claims and Causes of Action set forth in Section 6.12 of the Parent
Disclosure Letter delivered in connection with the Merger Agreement shall not be released; provided
however, that such Claims and Causes of Action set forth in Section 6.12 of the Parent Disclosure Letter
delivered in connection with the Merger Agreement shall be subject to treatment pursuant to the Plan and
shall be discharged as set forth in Article VIII.A hereon Notwithstanding anything to the contrary in the
foregoing, the releases set forth above do not release any claims or Causes of Action against the Plan Sponsor
relating to the Debtors’ pursuit of regulatory approvals under the Original Confirmed Plan or claims or
Causes of Action that may be brought by the Plan Sponsor against another party who brings a claim or
Cause of Action against the Plan Sponsor in connection with the Debtors’ pursuit of regulatory approvals
under the Original Confirmed Plan. Notwithstanding anything to the contrary in the foregoing, and for the
avoidance of doubt, the TCEH Settlement Claim shall be treated, released, and discharged on the EFH
Effective Date. For the avoidance of doubt, (i) the Releasing Parties shall provide the release set forth in this
Article VIII.D for all Claims and Causes of Action that relate to the TCEH Debtors Reorganized TCEH
Debtors EFH Shared Services Debtors, Reorganized EFH Shared Services Debtors, or any non-Debtor
Affiliate to be transferred to the Reorganized TCEH Debtors, including EFH Properties, as of the TCEH
Effective Date; and (ii) the Releasing Parties shall provide the release set forth in this Article VIII.D for all
Claims and Causes of Action that relate to the EFH Debtors, Reorganized EFH Debtors, EFlH Debtors, or
Reorganized EFIH Debtors as of the EFH Effective Date; provided that any and all Intercompany Claims
(other than the TCEH Settlement Claim) held by or held against the TCEH Debtors, Reorganized TCEH
Debtors, EFH Shared Services Debtors, Reorganized EFH Shared Services Debtors, or any non-Debtor
Affiliate to be transferred to the Reorganized TCEH Debtors, including EFH Properties, shall be released as
of the TCEH Effective Date.

E. Exculpation.

Except as otherwise specifically provided in the Plan (including Article III.B.19, III.B.20, and
III.B.22), no Exculpated Party shall have or incur liability for, and each Exculpated Party is hereby released
and exculpated from, any Cause of Action for any claim related to any act or omission in connection with,
relating to, or arising out of, the Chapter 11 Cases the formulation, preparation, dissemination, negotiation,
Filing, or termination of the Terminated Restructuring Support Agreement and related prepetition
transactions the Disclosure Statement, the Plan, the Plan Support Agreement, the New EFH/EFlH Plan
Support Agreement, the EFH/EFlH Committee Settlement, the Original Confirmed Plan, the Transaction
Agreements or any Restructuring Transaction, contract, instrument, release or other agreement or
document (including providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance by any
Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
in connection with the Disclosure Statement, the Plan, the Original Confirmed Plan, the Plan Support
Agreement, the New EFH/EFlH Plan Support Agreement, the EFH/EFlH Committee Settlement, the
Transaction Agreements or the DIP Facilities the Filing of the Chapter 11 Cases the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including
the issuance of Securities pursuant to the Plan, or the distribution of property under the Plan, the
Transaction Agreements or any other related agreement, except for claims related to any act or omission
that is determined in a final order to have constituted actual fraud, willful misconduct, or gross negligence
but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan. The Exculpated Parties have and upon completion of
the Plan shall be deemed to have participated in good faith and in compliance with the applicable laws with
regard to the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore are not,
and on account of such distributions shall not be liable at any time for the violation of any applicable law,

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rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan. For the avoidance of doubt, notwithstanding anything to the contrary in the
foregoing, the exculpation set forth above does not exculpate any (i) claims or Causes of Action by the
Holders of TCEH First Lien Claims the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee
against one or more Holders of TCEH First Lien Claims the TCEH First Lien Agent, or the TCEH First
Lien Notes Trustee arising from or in connection with the TCEH First Lien Creditor Allocation Disputes or
(ii) claims or Causes of Action asserted by any Holder of Allowed Class C3 Claims against one or more
Holders of Allowed Class C3 Claims (other than the TCEH First Lien Agent, except in the TCEH First Lien
Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of which no monetary
recovery is sought) solely with respect to the TCEH First Lien Creditor Deposit L/C Collateral Allocation
Dispute. For the avoidance of doubt, (i) the Exculpated Parties that include or are related to the TCEH
Debtors, Reorganized TCEH Debtors, EFH Shared Services Debtors and Reorganized EFH Shared Services
Debtors shall receive the exculpation set forth in this Article VIII.E as of the TCEH Effective Date; and (ii)
the Exculpated Parties that include or are related to the EFH Debtors, Reorganized EFH Debtors, EFIH
Debtors, and Reorganized EFIH Debtors shall receive the exculpation set forth in this Article VIII.E as of the
EFH Effective Date.

F. Injunction.

In addition to any injunction provided in the Settlement Order, except as otherwise expressly
provided in the Plan or for obligations issued or required to be paid pursuant to the Plan or the Confirmation
Order, all Entities that have held, hold, or may hold Claims or Interests that have been released pursuant to
Article VIII.C or Article VIII.D of the Plan, shall be discharged pursuant to Article VIII.A of the Plan, or are
subject to exculpation pursuant to Article VIII.E of the Plan, are permanently enjoined, from and after the
Effective Date, from taking any of the following actions against, as applicable, the Debtors, the Reorganized
Debtors, or the Released Parties: (i) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims or interests
(ii) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree or
order against such Entities on account of or in connection with or with respect to any such claims or interests;
(iii) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the
property or the estates of such Entities on account of or in connection with or with respect to any such claims
or interests; (iv) asserting any right of setoff, subrogation, or recoupment of` any kind against any obligation
due from such Entities or against the property of such Entities on account of or in connection with or with
respect to any such claims or interests unless such Entity has timely asserted such setoff right in a document
Filed with the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication of a
claim or interest or otherwise that such Entity asserts has or intends to preserve any right of setoff pursuant
to applicable law or otherwise; and (v) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims or interests
released or settled pursuant to the Plan. For the avoidance of doubt, notwithstanding anything to the
contrary in the foregoing, the injunction set forth above does not enjoin (a) the TCEH First Lien Creditor
Allocation Disputes or any claims or Causes of Action by the Holders of TCEH First Lien Claims the TCEH
First Lien Agent, or the TCEH First Lien Notes Trustee against one or more Holders of TCEH First Lien
Claims the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee arising from or in connection
with the TCEH First Lien Creditor Allocation Disputes or (b) the TCEH First Lien Creditor Deposit L/C
Collateral Allocation Dispute or claims or Causes of Action asserted in the Marathon Delaware Action (in
accordance with and as that term is defined in the Stipulation and Consent Order Regarding Limited Objection
of Marathon Asset Management, LP to Confirmation of Debtors’ Fifth Amended Plan of Reorganization, dated
November 10, 2015 [Docket No. 6932]) by any Holder of Allowed Class C3 Claims against one or more
Holders of Allowed Class C3 Claims (other than the TCEH First Lien Agent, except in the TCEH First Lien
Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of which no monetary
recovery is sought) solely with respect to the TCEH First Lien Creditor Deposit L/C Collateral Allocation
Dispute. Notwithstanding anything to the contrary in the foregoing, the Plan shall not enjoin any party from
pursuing the claims and Causes of Action set forth in Section 6.12 of the Parent Disclosure Letter delivered in
connection with the Merger Agreement; provided however, that such Claims and Causes of Action shall be
subject to treatment pursuant to the Plan and shall be discharged as set forth in Article VIII.A hereof.

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G. Liabilities to, and Rights of, Governmental Units.

Nothing in the Plan or the Confirmation Order shall release discharge or preclude the enforcement
of: (i) any liability to a Govemmental Unit that is not a Claim; (ii) any Claim of a Govemmental Unit arising on or
after the Effective Date, other than taxes determined under the prompt determination procedure in section 505 of the
Bankruptcy Code to the extent applicable; (iii) any liability to a Governmental Unit on the part of any Entity other
than the Debtors or Reorganized Debtors; or (iv) any valid right of setoff or recoupment by any Govemmental Unit.

H. Environmental Law Matters

Nothing in the Plan or the Confirmation Order shall release discharge or preclude the enforcement of (or
preclude release defeat, or limit the defense under non-bankruptcy law of): (i) any liability under Environmental
Law to a Govemmental Unit that is not a Claim; (ii) any Claim under Environmental Law of a Govemmental Unit
arising on or after the Effective Date; (iii) any liability under Environmental Law to a Govemmental Unit on the part
of any Entity to the extent of such Entity’s liability under non-bankruptcy law on account of its status as owner or
operator of such property after the Effective Date; (iv) any liability to a Governmental Unit on the part of any Entity
other than the Debtors or Reorganized Debtors; or (v) any valid right of setoff or recoupment by any Governmental
Unit. All parties’ rights and defenses under Environmental Law with respect to (i) through (v) above are fully
preserved For the avoidance of doubt, the United States is not a Releasing Party under the Plan.

Nothing in the Plan or the Confirmation Order shall enjoin or otherwise bar any Governmental Unit from
asserting or enforcing, outside this Court, any liability described in the preceding paragraph Nothing in the Plan or
the Confirmation Order authorizes: (i) the transfer or assignment of any governmental license permit, registration,
authorization, or approval, or (ii) the discontinuation of any obligation thereunder, without compliance with all
applicable legal requirements under Environmental Law. The Bankruptcy Court retains jurisdiction, but not
exclusive jurisdiction, to determine whether environmental liabilities asserted by any Governmental Unit are
discharged or otherwise barred by the Confirmation Order or the Plan, or the Bankruptcy Code.

For the avoidance of doubt, all Claims under Environmental Law arising before the Effective Date
including penalty claims for days of violation prior to the Effective Date, shall be subject to Article VIII of the Plan
and treated in accordance with the Plan in all respects and the Bankruptcy Court shall retain jurisdiction as provided
in Article XI of the Plan in relation to the allowance or disallowance of any Claim under Environmental Law arising
before the Effective Date.

Without limiting the Bankruptcy Court’s jurisdiction as set forth above nothing in the Plan or the
Confirmation Order shall divest or limit the jurisdiction of other tribunals over the Environmental Action, and upon
the Effective Date of the Plan, the Environmental Action shall survive the Chapter 11 Cases and may be adjudicated
in the court or tribunal in which such Environmental Action is currently pending; provided further, however, any
judgment for a Claim in the Environmental Action arising before the Effective Date shall be treated in accordance
with the Plan in all respects; provided further, however, that nothing in the Plan shall preclude release defeat, or
limit any grounds for asserting or opposing an alleged defense or affirmative defense under non-bankruptcy law in
the Environmental Action based on any change in ownership, and all such grounds for asserting or opposing such
defenses and affirmative defenses under non-bankruptcy law are expressly preserved With respect to the
Environmental Action, this Article VIII.H does not alter any rights or defenses under non-bankruptcy law arising as
a result of any changes of ownership provided in the Plan or the Confirmation Order. The Governmental Units
reserve all rights as to Whether there are any such rights or defenses

1 Protections Against Discriminatory Treatment

Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities including Govemmental Units shall not discriminate against the Reorganized Debtors or deny, revoke
suspend, or refuse to renew a license permit, charter, franchise or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11

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Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases

J. Recoupment.

In no event shall any Holder of Claims or Interests be entitled to recoup any Claim against any claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors on or before the Confirmation
Date, notwithstanding any indication in any Proof of Claim or Proof of Interest or otherwise that such Holder
asserts has or intends to preserve any right of recoupment

K. Document Retention.

On and after the Effective Date the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

ARTICLE IX.
CONDITIONS PRECEDENT TO CONFIRMATION
AND CONSUMMATION OF THE PLAN

A. Conditions Precedent to Confirmation of a Plan as to the TCEH Debtors and EFH Shared Services
Debtors.

It shall be a condition to Confirmation of the Plan with respect to the TCEH Debtors and the EFH Shared
Services Debtors that the following shall have been satisfied or waived pursuant to the provisions of Article IX.E of
the Plan;

1. the Bankruptcy Court shall have entered the TCEH Disclosure Statement Order and the TCEH
Confirmation Order in a manner consistent in all material respects with the Plan and Settlement Order and in form
and substance reasonably satisfactory to the TCEH Debtors EFH Shared Services Debtors, and the TCEH
Supporting First Lien Creditors (and, solely to the extent that the Spin-Off Conditions have been satisfied or would
be satisfied by entry of the TCEH Confirmation Order, the Plan Sponsor); and

2. the Settlement Order shall remain in full force and effect; and
3. the TCEH Confirmation Order shall, among other things:

(a) authorize the TCEH Debtors the EFH Shared Services Debtors, the Reorganized
TCEH Debtors, and the Reorganized EFH Shared Services Debtors to take all actions
necessary to enter into, implement, and consummate the applicable contracts
instruments releases leases indentures and other agreements or documents created in
connection with the Plan;

(b) decree that the provisions of the TCEH Confinnation Order and the provisions of the
Plan applicable to the TCEH Debtors and the EFH Shared Services Debtors are
nonseverable and mutually dependent;

(c) authorize the TCEH Debtors to consummate either or both of the Spin-Off or the
Taxable Separation, in each case subject to satisfaction of all applicable conditions to
consummation;

(d) authorize the TCEH Debtors the EFH Shared Services Debtors the Reorganized
TCEH Debtors, and the Reorganized EFH Shared Services Debtors, as
applicable/necessary, to: (i) implement the applicable Restructuring Transactions

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(ii) issue and distribute the New Reorganized TCEH Debt, the Reorganized TCEH
Common Stock, the common stock of the Preferred Stock Entity, the Reorganized
TCEH Sub Preferred Stock, each pursuant to the exemption from registration under the
Securities Act provided by section 1145 of the Bankruptcy Code or other exemption
from such registration or pursuant to one or more registration statements (iii) make all
distributions and issuances as required under the Plan, including Cash, the New
Reorganized TCEH Debt, the Reorganized TCEH Common Stock, the common stock
of the Preferred Stock Entity, and the Reorganized TCEH Sub Preferred Stock; and
(iv) enter into any agreements transactions and sales of property as set forth in the
Plan Supplement; and

(e) provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
surrender of any lease or sublease and the delivery of any deed or other instrument or
transfer order in furtherance of, or in connection with, any transfers of property
pursuant to the Plan as it relates to the TCEH Debtors and EFH Shared Services
Debtors including any deeds mortgages security interest filings bills of sale or
assignments executed in connection With any disposition or transfer of assets
contemplated under the Plan as it relates to the TCEH Debtors and EFH Shared
Services Debtors shall not be subject to any document recording tax, stamp tax,
conveyance fee intangibles or similar tax, mortgage tax, stamp act, real estate transfer
tax, mortgage recording tax, or other similar tax, and upon entry of the TCEH
Confirmation Order, the appropriate state or local governmental officials or agents
shall forgo the collection of any such tax or governmental assessment and accept for
filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee or governmental assessment

B. Conditions Precedent to Confirmation of a Plan as to the EFH Debtors and EFlH Debtors.

It shall be a condition to Confirmation of the Plan with respect to the EFH Debtors and EFlH Debtors that
the following shall have been satisfied or waived pursuant to the provisions of Article IX.E of the Plan;

1. the Bankruptcy Court shall have entered the EFH Disclosure Statement Order and the EFH
Confirmation Order in a manner consistent in all material respects with the Plan, the Settlement Order, and the
Merger Agreement, and in form and substance reasonably satisfactory to the EFH Debtors, the EFlH Debtors, and
the Plan Sponsor;

2. the Settlement Order shall remain in full force and effect; and
3. the EFH Confirmation Order shall, among other things

(a) authorize the EFH Debtors the Reorganized EFH Debtors, the EFIH Debtors and the
Reorganized EFlH Debtors to take all actions necessary to enter into, implement, and
consummate the contracts instruments releases leases indentures and other agreements or
documents created in connection with the Plan, including the Restructuring Transactions and
the Transaction Agreements

(b) decree that the provisions of the EFH Confirrnation Order and the Plan are nonseverable and
mutually dependent;

(c) authorize the EFH Debtors the Reorganized EFH Debtors, the EFlH Debtors and the
Reorganized EFlH Debtors, as applicable/necessary, to: (i) implement the Restructuring
Transactions (ii) issue and distribute the Reorganized EFH Common Stock pursuant to the
exemption from registration under the Securities Act provided by section 1145 of the
Bankruptcy Code or other exemption from such registration or pursuant to one or more
registration statements (iii) make all distributions and issuances as required under the Plan,

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including Cash and the Reorganized EFH Common Stock; and (iv) enter into any agreements
transactions and sales of property as set forth in the Plan Supplement;

(d) provide that, pursuant to section 1146 of the Bankruptcy Code the assignment or surrender of
any lease or sublease and the delivery of any deed or other instrument or transfer order in
furtherance of, or in connection with, any transfers of property pursuant to the Plan, including
any deeds mortgages security interest filings bills of sale or assignments executed in
connection with any disposition or transfer of assets contemplated under the Plan shall not be
subject to any document recording tax, stamp tax, conveyance fee intangibles or similar tax,
mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other similar tax,
and upon entry of the EFH Confirmation Order, the appropriate state or local governmental
officials or agents shall forgo the collection of any such tax or governmental assessment and
accept for filing and recordation any of the foregoing instruments or other documents without
the payment of any such tax, recordation fee or governmental assessment; and

(e) provide that, from and after the EFH Effective Date the Reorganized EFH Debtors and
Reorganized EFIH Debtors shall have no liabilities other than those liabilities expressly set
forth in the Plan.

C. Conditions Precedent to the TCEH Ejj"ective Date.

It shall be a condition to the TCEH Effective Date that the following conditions shall have been satisfied or
Waived pursuant to the provisions of Article IX.E of the Plan;

1. the TCEH Confirmation Order shall have been duly entered in form and substance reasonably
acceptable to the TCEH Debtors EFH Shared Services Debtors and the TCEH Supporting First Lien Creditors

2. the Settlement Order shall remain in full force and effect;

3, the final version of the Plan, the Plan Supplement, and all of the schedules documents and exhibits
contained therein (including the New Employee Agreements/Arrangements and the Employment Agreements), in
each case solely with respect to the TCEH Debtors and EFH Shared Services Debtors, shall have been Filed in a
manner consistent in all material respects with the Plan, the Transaction Agreements (as applicable to the TCEH
Debtors and EFH Shared Services Debtors), the Plan Support Agreement, and the Settlement Order, and shall be in
form and substance reasonably acceptable to the TCEH Debtors the EFH Shared Services Debtors and the TCEH
Supporting First Lien Creditors

4. all Allowed Professional Fee Claims with respect to the TCEH Debtors and EFH Shared Services
Debtors approved by the Bankruptcy Court shall have been paid in full or amounts sufficient to pay such Allowed
Professional Fee Claims after the TCEH Effective Date have been placed in the TCEH Professional Fee Escrow
Account pending approval of the Professional Fee Claims by the Bankruptcy Court;

5. the TCEH Debtors and the EFH Shared Services Debtors shall have obtained all authorizations
consents regulatory approvals including from the FERC, NRC, and FCC, as applicable rulings or documents that
are necessary to the Restructuring Transactions pertaining to the TCEH Debtors and the EFH Shared Services
Debtors, including the Spin-Off or the Taxable Separation, as applicable and shall remain in full force and effect,
and the RCT shall have approved the substitute bond with respect to the TCEH Debtors’ mining reclamation
obligations

6. all conditions to the completion of the transactions contemplated by the Tax Matters Agreement and
the Taxable Separation Tax Receivable Agreement or the Spin-Off Tax Receivable Agreement, as applicable shall
have been satisfied or shall have been waived by the party entitled to waive them, and the transactions
contemplated by the Transition Services Agreement, the Tax Matters Agreement, the Separation Agreement, the
Amended and Restated Split Participant Agreement, and the Taxable Separation Tax Receivable Agreement or
Spin-Off Tax Receivable Agreement, as applicable shall be completed substantially simultaneously on the TCEH

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Effective Date, and, other than in respect of the Spin-Off Tax Receivable Agreement or Taxable Separation Tax
Receivable Agreement, as applicable shall be in form and substance reasonably acceptable to the Plan Sponsor;

7. any waiting period applicable to the Spin-Off or the Taxable Separation under the HSR Act or similar
law or statute shall have been terminated or shall have expired; and

8. solely as a condition to the TCEH Effective Date if the Spin-Off is to be effectuated pursuant to the
terms and conditions set forth in Article IV.B.2:

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(a)

(b)

(C)

(d)

(C)

(f)

(g)

the Approval Order shall have been duly entered and remain in full force and effect and
shall be a Final Order;

the Debtors shall have obtained the Fundamental Opinions (other than any aspects of
the Fundamental Opinions that relate to the effect of the Merger, which opinions may
be obtained following the TCEH Effective Date and shall be a condition to the EFH
Effective Date, not the TCEH Effective Date), and such opinions have not been
withdrawn, rescinded, or amended;

the facts presented and the representations made in the IRS Submissions are true
correct, and complete in all material respects as of the TCEH Effective Date;

except as otherwise provided in the Plan, the Private Letter Ruling, or the Plan Support
Agreement, the Debtors shall not have taken any action to change the entity
classification for U.S. tax purposes of any Debtor entity, by changing their legal form
or otherwise Without the consent of the Plan Sponsor, TCEH, and the TCEH
Supporting First Lien Creditors provided however, that the consent of TCEH and the
TCEH Supporting First Lien Creditors shall not be required with respect to any such
action with respect to any Debtor entity other than TCEH, the Reorganized EFH
Shared Services Debtors, Reorganized TCEH, the Preferred Stock Entity, or any of
their respective subsidiaries if such action does not directly affect the Contribution, the
Spin-Off Preferred Stock Sale the Reorganized TCEH Conversion7 or the Distribution
and does not prevent or delay EFH Corp. from obtaining the Private Letter Ruling or
adversely affect the Spin-Off Intended Tax Treatment;

(i) no Debtor shall have taken any action that results in an ownership change of EFH
Corp. within the meaning of Section 382(g) of the Intemal Revenue Code (including
by treating the equity interests of EFH Corp. as becoming worthless within the
meaning of Section 382(g)(4)(D) of the Intemal Revenue Code); and (ii) Texas
Holdings shall not have (A) taken any action that results in an ownership change of
EFH Corp. within the meaning of Section 382(g) of the Intemal Revenue Code
(including by treating the equity interests of EFH Corp. as becoming worthless within
the meaning of Section 382(g)(4)(D) of the lntemal Revenue Code and thereby
resulting in an ownership change of EFH Corp. within the meaning of Section 382(g)
of the Intemal Revenue Code); (B) knowingly permitted any person (other than Texas
Holdings) to own directly, indirectly or constructively (by operation of Section 318 as
modified by Section 382(1)(3)(A) of the Intemal Revenue Code) 50% or more of the
equity interests of EFH Corp. during the three-year period ending on the Effective
Date; or (C) changed its taxable year to be other than the calendar year;

the Private Letter Ruling remains in full force and effect and has not been revoked or
withdrawn; and

the TCEH Supporting First Lien Creditors shall have been given the right to participate

with respect to the process of obtaining the Supplemental Ruling, including by (i)
commenting on written submissions (ii) having participation in in-person conferences

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(iii) having participation in scheduled, substantive telephone conferences with the IRS
and (iv) being updated promptly regarding any unscheduled communications with the
IRS, provided, however, that the TCEH Supporting First Lien Creditors shall work in
good faith with counsel for the Debtors to determine the appropriate level of
participation by any other persons in any particular meeting or conference

For the avoidance of doubt, consummation of the Spin-Off or Taxable Separation and the occurrence of the
TCEH Effective Date shall be conditioned solely on the conditions precedent to the TCEH Effective Date
enumerated in this Article IX.C, and the TCEH Effective Date may occur prior to the EFH Effective Date.

D. Conditions Precedent to the EFH Eyj"ective Date,

lt shall be a condition to the EFH Effective Date that the following conditions shall have been satisfied or
waived pursuant to the provisions of Article IX.E of the Plan;

1. the EFH Confirmation Order shall (a) have been duly entered in form and substance acceptable to the
EFH Debtors EFlH Debtors and the Plan Sponsor, (b) reasonably acceptable to the other EFH/EFlH Plan
Supporters and (c) shall be consistent in all material respects with the TCEH Confirmation Order;

2. the Settlement Order shall remain in full force and effect;

3. the Plan Sponsor, Reorganized TCEH, and EFH Corp., as applicable shall have obtained all tax
opinions (including those with respect to the Fundamental Opinions) contemplated by the Merger Agreement;

4. the TCEH Effective Date shall have occurred, including the assumption and assignment of the
Employment Agreements to Reorganized TCEH;

5. the final version of the Plan, the Plan Supplement, and all of the schedules documents, and exhibits
contained therein shall have been Filed in a manner consistent in all material respects with the Plan, the Transaction
Agreements the New EFH/EFlH Plan Support Agreement, the Plan Support Agreement, and the Settlement Order,
and shall be in form and substance reasonably acceptable to the EFH Debtors, EFIH Debtors, and the EFH/EFlH
Plan Supporters;

6. the EFH Professional Fee Escrow Account and EFIH Professional Fee Escrow Amount shall have
been funded in accordance with Article II.A.2;

7. (i) no Debtor shall have taken any action that results in an ownership change of EFH Corp. within the
meaning of Section 382(g) of the Intemal Revenue Code (including by treating the equity interests of EFH Corp. as
becoming worthless within the meaning of Section 382(g)(4)(D) of the Internal Revenue Code); and (ii) Texas
Holdings shall not have (A) taken any action that results in an ownership change of EFH Corp. within the meaning
of Section 382(g) of the Intemal Revenue Code (including by treating the equity interests of EFH Corp. as becoming
worthless within the meaning of Section 382(g)(4)(D) of the lnternal Revenue Code and thereby resulting in an
ownership change of EFH Corp. within the meaning of Section 382(g) of the Internal Revenue Code); (B)
knowingly permitted any person (other than Texas Holdings) to own directly, indirectly or constructively (by
operation of Section 318 as modified by Section 382(1)(3)(A) of the Internal Revenue Code) 50% or more of the
equity interests of EFH Corp. during the three-year period ending on the Effective Date; or (C) changed its taxable
year to be other than the calendar year;

8. the EFH Debtors and EFlH Debtors shall have obtained all authorizations consents regulatory
approvals rulings or documents that are necessary to implement and effectuate the Restructuring Transactions
with respect to the EFH Debtors including the Merger, and the transactions contemplated thereby, including from
the FERC, PUC, and FCC, as applicable consistent in all material respects with the terms and conditions set forth
in the Merger Agreement;

9. all conditions to the completion of the transactions contemplated by the Merger Agreement shall have

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been satisfied or shall have been waived by the party entitled to waive them, and the transactions contemplated by
the Transaction Agreements shall be completed;

10. all EFIH First Lien Note Claims and EFlH Second Lien Note Claims that are Makewhole Claims
shall be Disallowed Makewhole Claims

11. except as otherwise expressly provided in the Plan, all Claims against the EFH Debtors and/or the
EFlH Debtors seeking postpetition interest on any Claim at a rate in excess of the Federal Judgment Rate shall have
been disallowed by order of the Bankruptcy Court, and such order shall have not been stayed or reversed or
remanded on appeal;

12. the Restructuring Transactions (including, for the avoidance of doubt, all conditions to and
transactions contemplated by the Merger Agreement), shall have been consummated in form and manner
reasonably acceptable to the EFH Debtors, the EFlH Debtors and the Plan Sponsor, and consistent in all material
respects with the Plan and the Transaction Agreements provided however, that implementation or consummation
of the Minority Interest Acquisition shall not be a condition to the EFH Effective Date;

13. immediately prior to consummation of the Merger, all assets of Reorganized EFH and each subsidiary
of Reorganized EFH shall be free and clear of all liens claims encumbrances and other interests and Reorganized
EFH and each subsidiary of Reorganized EFH shall have no liabilities except for (a) up to $10 million for
postpetition claims and liabilities arising in the ordinary course of business [(and liens and encumbrances securing
any such ordinary course liabilities)] of the EFH Debtors’ or EFlH Debtors’ postpetition business that shall be fully
paid and discharged as and when due in the ordinary course of business pursuant to the Plan and (b) obligations
owed to the Plan Sponsor (or any pre-Merger Affiliate of the Plan Sponsor) expressly contemplated by the Merger
Agreement;

14. the requirements in the Merger Agreement with respect to the Supplemental Rulings including with
respect to IRS communications related to such Supplemental Rulings shall have been satisfied;

15. if the Spin-Off is consummated the Private Letter Ruling remains in full force and effect and has not
been revoked or withdrawn; and

16. the consummation of the Merger shall not be in violation of the provisions of the Tax Matters
Agreement.

E. Waiver ofConditions.

Except with respect to Article IX.C.4, the conditions to Confirmation with respect to the TCEH Debtors
and the EFH Shared Services Debtors and the TCEH Effective Date set forth in this Article IX may be Waived by
the TCEH Debtors and the EFH Shared Services Debtors including, in the case of any Conflict Matter between any
Debtors each Debtor acting at the direction of its respective Disinterested Director or Manager and without the
consent of any other Debtor, with the consent of the TCEH Supporting First Lien Creditors (such consent not to be
unreasonably withheld); provided that in the event the condition to Consummation set forth in Article IX.C.8 is not
satisfied, the TCEH Debtors may nevertheless consummate the Taxable Separation and the TCEH Effective Date
may occur so long as the other conditions to Confirmation and Consummation have been satisfied or waived in
accordance with this Article IX.E; provided further that in no event shall either of the conditions set forth in Article
1X.C.6 or IX.C.8 be waived without the consent of the Plan Sponsor.

The conditions to Confirmation with respect to the EFH Debtors and the EFlH Debtors and the EFH
Effective Date set forth in Articles IX.B.l through 1X.B.3, IX.D.l(a), IX.D.l(b), IX.D2 through 1X.D.5, lX.D.12,
and 1X.D.14 through IX.D.16 may be waived subject to the consent of each of (a) the EFH Debtors (b) the EFlH
Debtors and (c) the Plan Sponsor, including, in the case of any Conflict Matter between any Debtors each Debtor
acting at the direction of its respective Disinterested Director or Manager and without the consent of any other
Debtor; provided that the conditions precedent to the EFH Effective Date set forth in Article IX.D.l(c) and IX.D.16
shall not be waived without the consent of Reorganized TCEH, The conditions to the EFH Effective Date set forth

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in Articles IX.D.7, 1X.D.8, lX.D.lO, IX.D.ll, and IX.D.13 may be waived by the Plan Sponsor in its sole and
absolute discretion. The conditions to the EFH Effective Date set forth in Articles IX.D.6 and 1X.D.9 may not be
waived pursuant to this Article IX.E, but may only be waived pursuant to waiver rights expressly provided therein, if
any.

F. Eyj"ect of F ailure ofConditions.

Unless extended by the Debtors including, in the case of any Conflict Matter between any Debtors each
Debtor acting at the direction of its respective Disinterested Director or Manager and without the consent of any
other Debtor, if the Effective Date does not occur before one year following Confirmation, with respect to a
particular Debtor7 then, as to such particular Debtor; (1) the Plan shall be null and void in all respects (2) any
settlement or compromise embodied in the Plan, assumption or rejection of Executory Contracts or Unexpired
Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null
and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims Interests or
Causes of Action; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an
admission, acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity. Notwithstanding
the foregoing, for the avoidance of doubt, (i) the Settlement embodied in the Settlement Agreement shall remain in
full force and effect and the failure of Confirmation or Consummation to occur with respect to any or all Debtors
shall not affect the Settlement or any provisions of the Settlement Agreement and (ii) if the Spin-Off is effectuated
the Approval Order shall remain in full force and effect and the failure of Confirmation or Consummation to occur
with respect to any Debtor (other than a TCEH Debtor) shall not affect the Approval Order or the Tax Matters
Agreement.

G. Certain IRS Matters

The Plan provides (a) that as a condition precedent to the TCEH Effective Date in the event of a Spin-Off,
the Private Letter Ruling obtained by the Debtors is in full force and effect and shall not have been revoked or
withdrawn and (b) as a condition precedent to the EFH Effective Date that the requirements in the Merger
Agreement with respect to the Supplemental Rulings shall have been satisfied

Nothing in the Plan (or subsequently amended Plan) or the Confirmation Order shall be deemed to waive
the right of the IRS to object to confirmation of a subsequently amended Plan or alternative chapter 11 plan to the
extent the U.S. would be entitled to object to confirmation under applicable law, including to the extent that the
Debtors choose to go forward with a chapter ll plan that is premised on a taxable separation of TCEH from EFH
Corp. and not a tax-free reorganization within the meaning of Section 368(a)(1)(G) of the Intemal Revenue
Code. Specifically, the Debtors may not oppose the U.S.’s objection on the grounds of failure to file an earlier
objection, equitable mootness laches estoppel, or a similar theory. The U.S. may move for a stay of the Effective
Date in conjunction with its objection, and the Debtors’ right to object to any such motion are preserved

Nothing in the Plan (or subsequently amended Plan) or Confirrnation Order shall affect the rights of the
IRS or United States to assess or collect a tax arising on or after the Confirmation Date against Reorganized EFH,
any member of its consolidated group, and/or any successor entities as permitted under applicable law.

ARTICLE X.
MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A. Modijication and Amendments.

Subject to the Plan Support Agreement, the New EFH/EFlH Plan Support Agreement, the Merger
Agreement and the Plan Sponsor’s consent (as described below), each of the Debtors including, in the case of any
Conflict Matter between any Debtors each Debtor acting at the direction of its respective Disinterested Director or
Manager and without the consent of any other Debtor, reserves the right to modify the Plan, one or more times
before Confirmation, whether such modification is material or immaterial, and to seek Confirmation consistent with
the Bankruptcy Code. Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019, each of the Debtors including, in the case of any Conflict Matter between any

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Debtors, each of the Debtors acting at the direction of its respective Disinterested Director or Manager and without
the consent of any other Debtor, expressly reserves its respective rights to alter, amend or modify the Plan, one or
more times after Confinnation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to so
alter, amend or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
Disclosure Statement, or the Confirmation Order, including with respect to such modifications Any alteration,
amendment, or modification to the Plan shall be in accordance with the Plan Support Agreement and the New
EFH/EFlH Plan Support Agreement and in form and substance reasonably acceptable to (i) the Plan Sponsor (both
with respect to (a) the Plan of the EFH Debtors and EFlH Debtors, it being understood that it shall be reasonable for
the Plan Sponsor to deem unacceptable any alteration, amendment, or modification that (1) results in the imposition
or reinstatement of any Claim against or Interest in the Reorganized EFH Debtors the Reorganized EFIH Debtors,
the Plan Sponsor, or any Affiliate of the Plan Sponsor or (2) alters any consent right in favor of the Reorganized
EFH Debtors, the Reorganized EFlH Debtors the Plan Sponsor, or any Affiliate of the Plan Sponsor, and (b) the
Plan of the TCEH Debtors and EFH Shared Services Debtors but only to the extent that such alteration, amendment,
or modification affects the rights or liabilities of the Reorganized EFH Debtors, the Reorganized EFlH Debtors the
Plan Sponsor, or any Affiliate of the Plan Sponsor), (ii) the TCEH Supporting First Lien Creditors (both with respect
to (a) the Plan of the TCEH Debtors and EFH Shared Services Debtors and (b) the Plan of the EFH Debtors and
EFlH Debtors, but only to the extent that such alteration, amendment, or modification affects the rights or liabilities
of Reorganized TCEH)), and (iii) the DIP Agents (and solely with respect to the repayment of the DIP Facilities
acceptable to the DIP Agents). The Debtors may not amend the Plan in a manner inconsistent with the EFH/EFlH
Committee Settlement without the prior consent of the EFH/EFlH Committee and the EFH Notes Trustee

B. Eyj"ect of Confirmation on Modijications.

Entry of a Confinnation Order shall mean that each alteration, amendment, or modification to the Plan
since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or resolicitation under Bankruptcy Rule 3019; provided however, that each alteration,
amendment, or modification shall be made in accordance with Article X.A of the Plan.

C. Revocation or Withdrawal ofPIan.

1. Revocation or Withdrawal of the Plan with Respect to the TCEH Debtors and EFH Shared Services
Debtors.

Subject to the Plan Support Agreement, the New EFH/EFlH Plan Support Agreement, and the Merger
Agreement, each of the TCEH Debtors and EFH Shared Services Debtors including, in the case of any Conflict
Matter between any Debtors, each TCEH Debtor or EFH Shared Services Debtor acting at the direction of its
respective Disinterested Director or Manager and without the consent of any other Debtor, reserves the right to
revoke or withdraw the Plan as it applies to the TCEH Debtors and EFH Shared Services Debtors before the
Confirmation Date and to File subsequent plans for any reason, including to the extent the Debtors receive a higher
or otherwise better offer than what is provided for in the Plan, or if pursuing Confirmation of the Plan would be
inconsistent with any Debtor’s fiduciary duties provided however, that the Debtors shall not seek to revoke or
withdraw the Plan with respect to the TCEH Debtors without the consent of the TCEH Supporting First Lien
Creditors (such consent not to be unreasonably withheld); provided further, however, that the Debtors may withdraw
support of the Plan with respect to the TCEH Debtors without any party’s consent.

2. Revocation or Withdrawal of the Plan with Respect to the EFH Debtors and EFIH Debtors.

Each EFH Debtor and EFlH Debtor reserves the right to revoke or withdraw the Plan as it applies to the
EFH Debtors and the EFIH Debtors only to the extent permitted by the terms of the New EFH/EFlH Plan Support
Agreement and the Merger Agreement.

3. Consequence of Withdrawal of the Plan.

If any of the Debtors revoke or withdraw the Plan, or if Confirmation or Consummation does not occur,

then: (1) the Plan shall be null and void in all respects as to such Debtors; (2) any settlement or compromise

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embodied in the Plan (other than the Settlement embodied in the Settlement Agreement), assumption or rejection of
Executory Contracts or Unexpired Leases effected under the Plan, and any document or agreement executed
pursuant to the Plan, shall be deemed null and void as to such Debtors; and (3) nothing contained in the Plan shall:
(a) constitute a waiver or release of any Claims Interests or Causes of Action as to such Debtors; (b) prejudice in
any manner the rights of such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity. Notwithstanding the foregoing and for the avoidance of
doubt, (i) the Settlement embodied in the Settlement Agreement shall remain in full force and effect and the failure
of Confirmation or Consummation to occur With respect to any or all Debtors shall not affect the Settlement or any
provisions of the Settlement Agreement and (ii) if the Spin-Off is effectuated the Approval Order (and the
agreements authorized thereby) shall remain in full force and effect and the failure of Confirmation or
Consummation to occur with respect to any Debtor (other than a TCEH Debtor) shall not affect the Approval Order
or the Tax Matters Agreement.

ARTICLE XI.
RETENTION OF JURISDICTION

Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date on and after
the Effective Date the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code to the extent
provided under applicable law, including jurisdiction to:

1. allow, disallow, determine liquidate classify, estimate or establish the priority, Secured or unsecured
status or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the Secured or unsecured status priority,
amount, or allowance of Claims or Interests;

2. hear and determine matters related to the DIP Facilities and the D[P Orders;

3. decide and resolve all matters related to the granting and denying, in whole or in part, of any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
the Bankruptcy Code or the Plan;

4. resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine and if necessary, liquidate any Claims arising therefrom, including Cure Claims pursuant
to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; (c) the Reorganized Debtors’ amending, modifying, or supplementing, after the
Effective Date pursuant to Article V of the Plan, any Executory Contracts or Unexpired Leases to the Assumed
Executory Contracts and Unexpired Lease List, Rejected Executory Contracts and Unexpired Lease List, or
otherwise and (d) any dispute regarding whether a contract or lease is or was executory or expired;

5 . adjudicate decide or resolve any motions adversary proceedings contested or litigated matters and
any other matters and grant or deny any applications involving a Debtor that may be pending on the
Effective Date;

6. adjudicate decide or resolve any and all matters related to section 1141 of the Bankruptcy Code

7. enter and implement such orders as may be necessary to execute implement, or consummate the Plan
and all contracts instruments releases indentures and other agreements or documents created in connection with
the Plan or the Disclosure Statement, including injunctions or other actions as may be necessary to restrain
interference by an Entity with Consummation or enforcement of the Plan;

8. enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

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9. adjudicate decide or resolve any and all matters related to the Restructuring Transactions including
the Tax Matters Agreement;

10. grant any consensual request to extend the deadline for assuming or rejecting Unexpired Leases
pursuant to section 365(d)(4) of the Bankruptcy Code;

11. resolve any cases controversies suits disputes Causes of Action, or any other matters that may arise
in connection with the Consummation, interpretation, or enforcement of the Plan, the Disclosure Statement, the
Confirmation Order, or the Restructuring Transactions or any Entity’s obligations incurred in connection with the
foregoing, including disputes arising under agreements documents or instruments executed in connection with the
Plan, the Disclosure Statement, the Confirmation Order, or the Restructuring Transactions

12. resolve any cases controversies suits disputes or Causes of Action with respect to the releases
injunctions and other provisions contained in Article VIII of the Plan and enter such orders as may be necessary to
implement such releases injunctions and other provisions

13. resolve any cases controversies suits disputes or Causes of Action relating to the distribution or the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim for
amounts not timely repaid pursuant to Article VI.L.l of the Plan;

14. enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified stayed reversed revoked or vacated;

15. enter an order or decree concluding or closing the Chapter 11 Cases

16. adjudicate any and all disputes arising from or relating to distributions under the Plan, including the
TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute;

17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

18. hear and determine matters concerning state local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code, including any request made under section 505 of the Bankruptcy Code for
the expedited determination of any unpaid liability of a Debtor for any tax incurred during the administration of the
Chapter 11 Cases including any tax liability arising from or relating to the Restructuring Transactions for tax
periods ending after the Petition Date and through the closing of the Chapter 11 Cases

19. except as otherwise limited herein, recover all assets of the Debtors and property of the Estates
wherever located;

20. enforce all orders previously entered by the Bankruptcy Court; and
21. hear any other matter not inconsistent with the Bankruptcy Code.

ARTICLE XII.
MISCELLANEOUS PROVISIONS

A. Immediate Binding Eject.

Subject to Article IX.C and Article IX.D of the Plan, as applicable and notwithstanding Bankruptcy Rules
3020(e), 6004(h), or 7062 or otherwise upon the occurrence of the Effective Date, the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon the applicable Debtors the Reorganized Debtors,
and any and all applicable Holders of Claims or Interests (irrespective of whether such Claims or Interests are
deemed to have accepted the Plan), all Entities that are parties to or are subject to the settlements compromises
releases discharges exculpations and injunctions described in the Plan, each Entity acquiring property under the

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Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors. Nothing in
the Plan or the Confirmation Order affects the DIP Lenders’ rights or interests provided under the DIP Facilities the
DIP Agreements or the DIP Orders, including with respect to (1) any waivers or releases contained therein or (2)
the DIP Agents’ rights to exercise event of default remedies (including after the Confirmation Date and before the
Effective Date), until the DIP Claims are satisfied in full.

B. Additional Documents

On or before the Effective Date the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary or advisable to effectuate and further evidence the terms and conditions of the
Plan, in accordance with the Merger Agreement and the New EFH/EFlH Plan Support Agreement. The Debtors or
the Reorganized Debtors as applicable and all Holders of Claims and Interests receiving distributions pursuant to
the Plan and all other parties in interest shall, from time to time prepare execute and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the
Plan.

C. Payment ofStatutory Fees.

All fees payable pursuant to section 1930(a) of the Judicial Code including fees and expenses payable to
the U.S. Trustee as determined by the Bankruptcy Court at a hearing pursuant to section 1128 of the Bankruptcy
Code, will be paid by each of the applicable Reorganized Debtors (or the Disbursing Agent on behalf of each of the
applicable Reorganized Debtors) for each quarter (including any fraction thereof) until the applicable Chapter 11
Case of such Reorganized Debtors is converted dismissed or closed whichever occurs first. All such fees due and
payable prior to the Effective Date shall be paid by the Debtors on the Effective Date. After the Effective Date the
Disbursing Agent or the applicable Reorganized Debtor shall pay any and all such fees when due and payable and
shall file with the Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee until the
earliest of the date on which the applicable Chapter 11 Case of the Reorganized Debtors is converted dismissed or
closed

D. Statutory Committee and Cessation of F ee and Expense Payment

On the TCEH Effective Date any statutory committee appointed in the Chapter 11 Cases with respect to
the TCEH Debtors (including the TCEH Committee) and on the EFH Effective Date, any statutory committee
appointed in the Chapter 11 Cases with respect to the EFH Debtors or the EFIH Debtors (including the EFH/EFlH
Committee) shall dissolve provided however, that (a) following the Effective Date, the EFH/EFlH Committee and
the TCEH Committee shall continue in existence and have standing and a right to be heard for the following limited
purposes (i) Claims and/or applications and any relief related thereto, for compensation by professionals and
requests for allowance of Administrative Claims for substantial contribution pursuant to section 503(b)(3)(D) of the
Bankruptcy Code; and (ii) appeals of the Confirmation Order as to which the EFH/EFlH Committee or TCEH
Committee, as applicable is a party; and (b) following the TCEH Effective Date the TCEH Committee shall
continue in existence and have standing and a right to be heard for the purpose of (i) the sale of the EFH Debtors and
EFlH Debtors’ indirect interest in Oncor and confirmation of the Plan related to the EFH Debtors and EFlH Debtors
and (ii) estimating, objecting to, allowing, or setting reserves with respect to any Disputed Claims that could have a
material impact on the timing and amount of distributions to Holders of Allowed Claims in Class C4 or Class C5;
provided that the Debtors and Reorganized Debtors shall not be liable or otherwise responsible for paying any fees
or expenses incurred by the members of or advisors to the TCEH Committee after the TCEH Effective Date in
connection with any such activities in this subclause (b) in excess of $200,000, in the aggregate Upon dissolution
of the EFH/EFlH Committee and TCEH Committee, the members thereof and their respective officers employees
counsel, advisors and agents shall be released and discharged from all rights and duties from or related to the
Chapter 11 Cases The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred
by the members of or advisors to any statutory committees after the Effective Date, except for the limited purposes
identified above

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E. Reservaiion of Rights

Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the Plan,
or the taking of any action by any Debtor or other Entity with respect to the Plan, the Disclosure Statement, or the
Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor or any other
Entity with respect to the Holders of Claims or Interests prior to the Effective Date.

F Successors and Assigns.

The rights benefits and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor, assign, affiliate officer, director, manager,
agent, representative attorney, beneficiaries or guardian, if any, of each Entity.

G. Consent Rights in Taxable Separation.

Notwithstanding anything to the contrary herein, in the event the Taxable Separation is pursued no party
(other than (i) the TCEH Debtors, including the TCEH Debtors acting at the direction of the applicable Disinterested
Directors and Managers with respect to Conflict Matters (ii) the TCEH Supporting First Lien Creditors or (iii) the
TCEH DIP Agent) shall have any consent, consultation, approval, or similar rights with respect to: (i) any document
referenced in this Plan (including any Plan Supplement document) with respect to the Plan of the TCEH Debtors,
that does not affect in any respect any EFH Debtor, any EFlH Debtor, Oncor, the Plan Sponsor, or any Affiliate of
the Plan Sponsor and to which none of the EFH Debtor or EFIH Debtor or Oncor is a party; (ii) the satisfaction or
waiver of any of the conditions to Confirmation or Consummation as to the TCEH Debtors; or (iii) any other issue
or matter for which seeking or obtaining the consent of the applicable party would be reasonably likely to impede or
delay consummation of the Taxable Separation and/or Consummation as to the TCEH Debtors.

H. Notices.

All notices requests and demands to be effective shall be in writing (including by facsimile transmission)
and unless otherwise expressly provided herein, shall be deemed to have been duly given or made when actually
delivered or, in the case of notice by facsimile transmission, when received and telephonically confirmed addressed
as follows

1. if to the Debtors, to:

Energy Future Holdings Corp.

1601 Bryan Street,

Dallas Texas 75201

Attention: Stacey Dore', Andrew Wright, and Cecily Gooch

Email address: stacey.dore@energyfutureholdings.com,
andrew.wright@energyfutureholdings.com, and cecily.gooch@energyfutureholdings.com

with copies to:

Kirkland & Ellis LLP

601 Lexington Avenue

New York, New York 10022

Facsimile; (212) 446-4900

Attention: Edward O. Sassower, P.C.

E-mail addresses edward.sassower@kirkland.com
__and__

Kirkland & Ellis LLP
300 North LaSalle

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Chicago, Illinois 60654

Facsimile: (312) 862-2200

Attention: James H.M. Sprayregen, P.C., Marc Kieselstein, P.C., Chad J. Husnick, and Steven N.
Serajeddini

E-mail addresses james.sprayregen@kirkland.com, marc.kieselstein@kirkland.com,
chad.husnick@kirkland.com, and steven.serajeddini@kirkland.com

__and__

Proskauer Rose LLP

Three First National Plaza

70 W. Madison Street, Suite 3800

Chicago, Illinois 60602

Facsimile: (312) 962-3551

Attention: JeffJ. Marwil, Mark. K. Thomas, and Peter J. Young

E-mail addresses jmarwil@proskauer.com, mthomas@proskauer.com, and
pyoung@proskauer.com

--and--

Cravath Swaine and Moore LLP
Worldwide Plaza

825 Eighth Avenue

New York, New York 10019
Facsimile: (212) 474-3700

Attention: Philip Gelston

E-mail address pgelston@cravath.com

--and--

Jenner & Block LLP

919 Third Avenue

New York, New York 10022
Facsimile: (212) 891-1699
Attention: Richard Levin

E-mail address: rlevin@jenner.com

__and__

Munger, Tolles & Olson LLP

355 South Grand Avenue 35th Floor

Los Angeles, California 90071

Facsimile: (213) 683-4022

Attention: Thomas B. Walper and Seth Goldman

E-mail addresses thomas.walper@mto.com and seth.goldman@mto.com

2. if to the TCEH DIP Agent, to:

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White & Case LLP

1155 Avenue of the Americas

New York, New York 10005

Attention: Eric Leicht, Andrew Ambruoso, and Robert Morrison
E-mail addresses eleicht@whitecase.com, aambruoso@whitecase.com,
rmorrison@whitecase.com

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3. if to the EFlH First Lien DIP Agent, to:

Shearman & Sterling LLP

599 Lexington Avenue

New York, New York 10022

Attention: Fredric Sosnick and Ned S. Schodek

E-mail addresses fsosnick@shearman.com and ned.schodek@shearman.com

4. if to the Plan Sponsor, to:

Chadboume & Parke LLP

1301 Avenue of the Americas

New York, NY 10021

Attention: Howard Seife and Eric Daucher

E-mail addresses hseife@chadboume.com and edaucher@chadboume.com

__and__

Landis Rath & Cobb LLP

919 Market Street, Suite 1800

Wilmington, Delaware 19801

Attention: Adam G. Landis and Matthew B. McGuire

E-mail addresses landis@lrclaw.com and mcguire@lrclaw.com

5. if to the TCEH Supporting First Lien Creditors, to:

Paul, Weiss, R.ifkind, Wharton & Garrison LLP

1285 Avenue of the Americas

New York, New York 10019

Attention: Alan W. Kornberg, Brian S. Hermann, and Jacob A. Adlerstein
E-mail addresses akornberg@paulweiss.com, bhermann@paulweisscom, and
jadlerstein@paulweiss.com

6. if to the TCEH Committee, to:

Morrison & Foerster LLP

250 West 55th Street

New York, New York 10019

Attention: Brett H. Miller, James M. Peck, Lorenzo Marinuzzi, and Todd M. Goren
E-mail addresses: brettmiller@mofo.com, jpeck@mofo.com, lmarinuzzi@mofo.com, and
tgoren@mofo.com

After the Effective Date, the Reorganized Debtors have authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to
receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date the Reorganized Debtors are
authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have Filed such renewed requests

1. Term oflnjunctions or Stays.

Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirrnation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained
in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their tenns

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J. Entire Agreement.

Except as otherwise indicated the Plan supersedes all previous and contemporaneous negotiations
promises covenants agreements understandings and representations on such subjects all of which have become
merged and integrated into the Plan.

K. Exhibits.

All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://www.efhcaseinfo.com or the Bankruptcy Court’s
website at www.deb.uscourts.gov.

L_ Nonseverability of Plan Provisions.

If, before Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid
void or unenforceable the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable consistent with the original purpose of the term or
provision held to be invalid void or unenforceable and such term or provision shall then be applicable as altered or
interpreted provided that in no event shall the Plan Sponsor be required to consummate any of the transactions
contemplated to be consummated at the Merger Closing unless the conditions to the Plan Sponsor’s consummation
of such transactions shall have been satisfied or waived in accordance with the Merger Agreement. Notwithstanding
any such holding, alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected impaired or invalidated by such holding, alteration, or
interpretation, The Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is: (1) valid and
enforceable pursuant to its terms (2) integral to the Plan and may not be deleted or modified without the Debtors’ or
Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent Notwithstanding
anything in this Plan to the contrary, the Plan may be confirmed and consummated as to the TCEH Debtors and the
EFH Shared Services Debtors separate from, and independent of, any confirmation or consummation of this Plan as
to any of the EFH Debtors or EFlH Debtors.

M. Votes Solicited in Good Faith.

Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective Affiliates agents representatives members principals shareholders
officers directors managers employees advisors and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance sale and purchase of Securities offered and sold
under the Plan and any previous plan, and therefore neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law (including the Securities Act), rule or
regulation governing the solicitation of votes on the Plan or the offer, issuance sale or purchase of the Securities
offered and sold under the Plan and any previous plan.

N. Waiver or Estoppel.

Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
Secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed before the Confirmation
Date.

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O. Conflicts.

Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement, the
Plan Supplement, the Merger Agreement, or any agreement or order (other than the Confirmation Order) referenced
in the Plan (or any exhibits schedules appendices supplements or amendments to any of the foregoing), conflict
with or are in any way inconsistent with any provision of the Plan, the Plan shall govern and control; provided
however, with respect to any conflict or inconsistency between the Plan and the Confirmation Order, the
Confirmation Order shall govem; provided further, however, that in no event shall the Plan Sponsor be required to
consummate any of the transactions contemplated to be consummated at the Merger Closing unless the conditions to
the Plan Sponsor’s consummation of such transactions shall have been satisfied or waived in accordance with the
Merger Agreement.

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Respectfiilly submitted

ENERGY FUTURE HOLDINGS CORP.

TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC
4CHANGE ENERGY COMPANY

4CHANGE ENERGY HOLDINGS LLC

BIG BROWN 3 POWER COMPANY LLC

BIG BROWN LIGNITE COMPANY LLC

BIG BROWN POWER COMPANY LLC

BRIGHTEN El\H-ERGY LLC

BRIGHTEN HOLDINGS LLC

COLLIN POWER COMPANY LLC

DALLAS POWER &, LIGHT COl\/IPANY, INC.
DECORDOVA II POWER COMPANY LLC
DECORDOVA POWER COMPANY LLC

EAGLE MOUNTAIN POWER COMPANY LLC
EBASCO SERVICES OF CANADA LIMITED

EEC HOLDINGS, INC.

EECI, INC.

EFH AUSTRALIA (NO. 2)HOLD1NGS COMPANY
EFH CG HOLDINGS COMPANY LP

EFH CG MANAGEMENT COl\/[PANY LLC

EFH CORPORATE SERVICES COMPANY

EFlH FINANCE (NO. 2)HOLD1NGS COl\/[PANY
EFlH FINANCE INC.

EFH FS HOLDINGS COMPANY

ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC
ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC
EFH RENEWABLES COMPANY LLC

GENERATION DEVELOPMENT COMPANY LLC
GENERATION MT COMPANY LLC

GENERATION SVC COMPANY

LAKE CREEK 3 POWER COMPANY LLC

LONE STAR ENERGY COMPANY, INC.

LONE STAR PIPELINE COMPANY, INC.

LSGT GAS COMPANY LLC

LSGT SACROC, INC.

LUMINANT BIG BROWN MINING COMPANY LLC
LUMINANT ENERGY COMPANY LLC

LUMINANT ENERGY TRADING CALIFORNIA COMPANY
LUMINANT ET SERVICES COMPANY

LUM]NANT GENERATION COMPANY LLC
LUMINANT HOLDlNG COMPANY LLC

LUM]NANT NHNERAL DEVELOPMENT COMPANY LLC
LUMINANT NHNH\IG COMPANY LLC

LUl\/HNANT RENEWABLES COMPANY LLC
MARTIN LAKE 4 POWER COl\/[PANY LLC
MONTICELLO 4 POWER COMPANY LLC

MORGAN CREEK 7 POWER COMPANY LLC

NCA DEVELOPMENT COMPANY LLC

NCA RESOURCES DEVELOPMENT COMPANY LLC
OAK GROVE MANAGEMENT COMPANY LLC

OAK GROVE MINING COl\/[PANY LLC

 

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OAK GROVE POWER COl\/[PANY LLC
SANDOW POWER COMPANY LLC
SOUTHWESTERN ELECTRIC SERVICE COMPANY, INC.
TCEH FINANCE, INC.

TEXAS ELECTRIC SERVICE COMPANY, INC.
TEXAS ENERGY INDUSTRIES COMPANY, INC.
TEXAS POWER & LIGHT COMPANY, INC.
TEXAS UTILITIES COMPANY, INC.

TEXAS UTEITIES ELECTRIC COMPANY, INC.
TRADINGHOUSE 3 & 4 POWER COMPANY LLC
TRADINGHOUSE POWER COMPANY LLC

TXU ELECTRIC COMPANY, INC.

TXU ENERGY RECEIVABLES COl\/lPANY LLC
TXU ENERGY RETAIL COMPANY LLC

TXU ENERGY SOLUTIONS COMPANY LLC
TXU RECEIVABLES COMPANY

TXU RETAIL SERVICES COMPANY

TXU SEM COl\/[PANY

VALLEY NG POWER COMPANY LLC

VALLEY POWER COl\/[PANY LLC

By: /s/Anthonv Horton
Name: Anthony Horton

Title: Senior Vice President and Treasurer of EFH Corp., EFIH,
EFCH, and TCEH

 

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Prepared by:

KIRKLAND & ELLIS LLP

Edward O. Sassower, P.C. (admitted pro hac vice)
Stephen E. Hessler (admitted pro hac vice)

Brian E. Schartz (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022

(212) 446-4800 (telephone)

__and__

lames H.M. Sprayregen, P.C. (admitted pro hac vice)
Marc Kieselstein, P.C. (admitted pro hac vice)

Chad J. Husnick (admitted pro hac vice)

Steven N. Seraj eddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

(312) 862-2000 (telephone)

_..a_nd_..

RICHARDS, LAYTON & FINGER, P.A.
Mark D. Collins (No. 2981)

Daniel J. DeFranceschi (No. 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

(302) 651-7700 (telephone)

Counsel to the Debtors and Debtors in Possession
__and__

PROSKAUER ROSE LLP

leff J. Marwil (admitted pro hac vice)
Mark K. Thomas (admitted pro hac vice)
Peter J. Young (admitted pro hac vice)
Three First National Plaza

70 W. Madison Street, Suite 3800
Chicago, Illinois 60602

(312) 962-3550 (telephone)

Co-Counsel to the Debtor Energy Future Holdings Corp.
--and--

CRAVATH, SWAINE AND MOORE LLP
Phillip Gelston (admitted pro hac vice)
Worldwide Plaza

825 Eighth Avenue

New York, New York 10019

(212) 474-1978 (telephone)

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JENNER & BLOCK LLP

Richard Levin (admitted pro hac vice)
919 Third Avenue

New York, New York 10022

(212) 891-1600 (telephone)

Co-Counsel to the Debtor Energy Future Intermediate Holding Company LLC

--and--

MUNGER, TOLLES & OLSON LLP
Thomas B. Walper (admitted pro hac vice)
Todd J. Rosen (admitted pro hac vice)
Seth Goldman (admitted pro hac vice)

355 South Grand Avenue 35th Floor

Los Angeles Califomia 90071

(213) 683-9100 (telephone)

Co-Counsel to the TCEH Debtors

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EXHIBIT A
TCEH’s Debtor Subsidiaries

4Change Energy Company

4Change Energy Holdings LLC

Big Brown 3 Power Company LLC

Big Brown Lignite Company LLC

Big Brown Power Company LLC

Collin Power Company LLC

DeCordova Power Company LLC
DeCordova 11 Power Company LLC

Eagle Mountain Power Company LLC
Generation MT Company LLC

Generation SVC Company

Lake Creek 3 Power Company LLC
Luminant Big Brown Mining Company LLC
Luminant Energy Company LLC

Luminant Energy Trading California Company
Luminant ET Services Company

Luminant Generation Company LLC
Luminant Holding Company LLC

Luminant Mineral Development Company LLC
Luminant Mining Company LLC

Luminant Renewables Company LLC
Martin Lake 4 Power Company LLC
Monticello 4 Power Company LLC

Morgan Creek 7 Power Company LLC
NCA Resources Development Company LLC
Oak Grove Management Company LLC
Oak Grove Mining Company LLC

Oak Grove Power Company LLC

Sandow Power Company LLC

TCEH Finance Inc.

Tradinghouse 3 & 4 Power Company LLC
Tradinghouse Power Company LLC

TXU Energy Receivables Company LLC
TXU Energy Retail Company LLC

TXU Energy Solutions Company LLC

TXU Retail Services Company

TXU SEM Company

Valley NG Power Company LLC

Valley Power Company LLC

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